     Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 1 of 77



 1   ROB BONTA
     Attorney General of California
 2   JENNIFER G. PERKELL
     Supervising Deputy Attorney General
 3   JOSHUA N. SONDHEIMER
     Deputy Attorney General
 4   State Bar No. 152000
      455 Golden Gate Avenue, Suite 11000
 5    San Francisco, CA 94102-7004
      Telephone: (415) 510-4420
 6    Fax: (415) 703-5480
      E-mail: Joshua.Sondheimer@doj.ca.gov
 7   Attorneys for Defendants Mary Watanabe, in her
     official capacity as Director of the California
 8   Department of Managed Health Care and the
     California Department of Managed Health Care
 9

10                            IN THE UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                          OAKLAND DIVISION

13

14
     GRACE SMITH and RUSSELL                                  4:21-cv-07872-HSG
15   RAWLINGS, on behalf of themselves and
     all others similarly situated, and                       DEFENDANTS DMHC AND DIRECTOR
16   CALIFORNIA FOUNDATION FOR                                WATANABE’S REQUEST FOR
     INDEPENDENT LIVING CENTERS, a                            JUDICIAL NOTICE IN SUPPORT OF
17   California nonprofit corporation,                        MOTION TO DISMISS FIRST
                                                              AMENDED COMPLAINT
18                                          Plaintiffs,
                                                              Date: April 28, 2022
19                 v.                                         Time: 2:00 pm
                                                              Dept: Courtroom 2, 4th Floor
20                                                            Judge: The Honorable Haywood S. Gilliam, Jr.
     MARY WATANABE, in her capacity as
21   Director of the California Department of
     Managed Health Care; CALIFORNIA
22   DEPARTMENT OF MANAGED HEALTH
     CARE; and KAISER FOUNDATION
23   HEALTH PLAN, INC.,

24                                        Defendants.

25

26

27

28
                                                          1
                 Def.’s DMHC and Director Watanabe’s Request for Judicial Notice in Support of Motion to Dismiss
                                                                                            (4:21-cv-07872-HSG)
     Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 2 of 77



 1         Pursuant to Federal Rules of Evidence, Rule 201(d), Defendants California Department of

 2   Managed Health Care and DMHC Director Mary Watanabe (collectively DMHC) respectfully

 3   request that the Court take judicial notice of a copy of the following document, attached as

 4   Exhibit A:

 5         Kaiser Foundation Health Plan Small Group HMO 30 plan (federal health product

 6         identification number 40513CA035) Evidence of Coverage as this plan was offered

 7         during the first quarter of 2014, and transmittal cover letter dated April 17, 2015,

 8         from Diana Dooley, Secretary of the California Department of Health and Human

 9         Services (HHSA) to Tonya Dobbin, State Officer, Center for Consumer Information

10         and Insurance Oversight (an agency of the of the Centers for Medicare and Medicaid

11         Services of the United States Department of Health and Human Services).

12         The letter and attached health plan evidence of coverage are relevant to this action as they

13   identify the covered benefits provided under the health care plan selected by the California

14   Legislature as the State base-benchmark plan for minimum essential health benefits pursuant to

15   regulations issued under the Patient Protection and Affordable Care Act (ACA). The plan is

16   identified as the Legislature’s selected “base-benchmark” health plan at California Health and

17   Safety Code section 1367.005(a)(2)(A).

18         Judicial notice is appropriate where a fact is not subject to reasonable dispute because it is

19   “capable of accurate and ready determination by resort to sources whose accuracy cannot

20   reasonably be questioned.” Fed. R. Evid. 201(b)(2). Judicial notice is mandatory if a party

21   requests it and provides the Court with the necessary information. Id., rule 201(c)(2).

22         Pursuant to Rule 201, judicial notice may properly be taken of the records of State entities

23   and officials. Cachil Dehe Band of Wintin Indians v. Cal., 547 F.3d 962, 969 n.4 (9th Cir. 2008).

24   As the Kaiser Plan and HHSA Secretary’s cover letter constitute a record of a state administrative

25   agency not subject to reasonable dispute, judicial notice of the document should be granted. See

26   Ass’n of Irritated Residents v. C & R Vanderham Dairy, No. 105CV-01593 OWW SMS, 2007

27   WL 2815038, at *13 (E.D. Cal. Sept. 25, 2007) (taking judicial notice of agency letters and

28
                                                         2
                  Def.’s DMHC and Director Watanabe’s Request for Judicial Notice in Support of Motion to Dismiss
                                                                                             (4:21-cv-07872-HSG)
      Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 3 of 77



 1   noting that “letters transmitted by a government agency on agency letterhead are self

 2   authenticating”).

 3         Courts may also take judicial notice of documents that are referenced but not physically

 4   attached to a party’s complaint if they are central to plaintiff's claim and no party questions their

 5   authenticity. Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006). Judicial notice of California’s

 6   base-benchmark health plan also is appropriate on this basis. Plaintiffs repeatedly reference the

 7   Kaiser base-benchmark plan in the First Amended Complaint (FAC), and the benefits identified

 8   in the plan are central to Plaintiffs’ allegations. Plaintiffs recognize that “California selected the

 9   Kaiser Foundation Health Plan Small Group HMO 30 plan . . . [as] offered during the first quarter

10   of 2014,” and as supplemented by additional State requirements, as its EHB-benchmark plan.

11   Cal. Health & Safety Code § 1367.005(a)(2)(A); Cal. Ins. Code § 10112.27(a)(2)(A).” FAC ¶ 47.

12   Plaintiffs also acknowledge that DMHC regulations “codify the benefit design of the Kaiser

13   Small Group HMO 30 plan, as offered during the first quarter of 2014. Cal. Code Regs. tit. 28,

14   § 1300.67.005(c)(2), (d)(5).” FAC ¶ 52. Plaintiffs assert DMHC engaged in discrimination on

15   the basis of disability by “codifying” this benefit design. FAC ¶ 80. Accordingly, judicial notice

16   is appropriate under the incorporation-by-reference principle.

17         For the foregoing reasons, defendants respectfully request that the Court take judicial notice

18   of the attached cover letter and Kaiser health plan evidence of coverage, adopted by California as

19   the State “base-benchmark” plan under the ACA, attached as Exhibit A.

20
     Dated: February 4, 2022                                    Respectfully submitted,
21
                                                                ROB BONTA
22                                                              Attorney General of California
                                                                JENNIFER G. PERKELL
23                                                              Supervising Deputy Attorney General
24

25                                                              /s/ Joshua Sondheimer
                                                                JOSHUA N. SONDHEIMER
26                                                              Deputy Attorney General
                                                                Attorneys for Defendants
27
     SF2021402009
28
                                                           3
                    Def.’s DMHC and Director Watanabe’s Request for Judicial Notice in Support of Motion to Dismiss
                                                                                               (4:21-cv-07872-HSG)
Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 4 of 77




           EXHIBIT A
                        Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 5 of 77
EDMUND G. BROWN JR.                      State of California
    GOVERNOR
                                HEALTH AND HUMAN SERVICES AGENCY


                               April 17, 2015



    DIANA S. DOOLEY
      SECRETARY                Center For Consumer Information and Insurance Oversight
                               Tonya Dobbin
                               State Officer
Aging                          7501 Wisconsin Ave
                               Bethesda, MD 20814
Child Support
Services
                               Dear Ms. Dobbin:
Community Services
and Development
                               I am writing on behalf of the State of California to inform you of California’s
Developmental
Services
                               selection of its proposed Benchmark Plan for Essential Health Benefits pursuant
                               to the Notice of Benefit and Payment Parameters for 2016 Final Rule (Final Rule).
Emergency Medical              Consistent with the Final Rule, the State of California has selected the Kaiser
Services Authority
                               Foundation Health Plan Small Group HMO 30 plan (federal health product
Health Care Services           identification number 40513CA035) as the state’s base benchmark plan. Further,
                               consistent with the Final Rule, in order to supplement the base benchmark plan’s
Managed Health Care
                               lack of coverage for pediatric oral services and pediatric vision services, the State
Public Health                  of California has selected the benefits available under the State’s CHIP program
                               for pediatric oral services. For pediatric vision services, the State has selected the
Rehabilitation
                               Federal Employees Dental and Vision Insurance Program with the largest national
Social Services                enrollment as of the first quarter of 2014 as identified in the Final Rule and
                               subsequent guidance issued by the Center for Consumer Information and
State Hospitals
                               Insurance Oversight.
Statewide Health
Planning and
Development
                               Sincerely,



                               Diana S. Dooley
                               Secretary

                               Attachment: Kaiser Foundation Health Plan Small Group HMO 30 plan Evidence
                               of Coverage

                               c: Sylvia Matthews Burwell, Secretary, U.S. Department of Health and Human
                               Services
                               Andy Slavitt, Acting Administrator, Centers for Medicare and Medicaid Services




                1600 Ninth Street · Room 460 · Sacramento, CA 95814 · Telephone (916) 654-3454 · Fax (916) 654-3343
                                                Internet Address: www.chhs.ca.gov
       Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 6 of 77




April 17, 2015
Page Two




Kevin Counihan, Director & Marketplace Chief Executive Officer, healthcare.gov
Senator Kevin De Leon, Senate Pro Tempore, California State Senate
Senator Bob Huff, Senate Republican Leader, California State Senate
Assembly Member Toni Atkins, Speaker of the California State Assembly
Assembly Member Kristen Olsen, California Assembly Republican Leader
Senator Ed Hernandez, Chair, California Senate Health Committee
Senator Janet Nguyen, Vice Chair, California Senate Health Committee
Assembly Member Rob Bonta Chair, California Assembly Health Committee
Assembly Member Brian Maienschein, Vice Chair, California Assembly Health Committee
Marjorie Swartz, Consultant, Office of the California Senate President pro Tempore
Agnes Lee, Consultant, Office of the Speaker of the California State Assembly
Teri Boughton, Consultant, California Senate Health Committee
Roger Dunstan, Chief Consultant, California State Assembly Health Committee
Joe Parra, Consultant, Senate Republican Caucus
Peter Anderson, Consultant, Assembly Republican Caucus
Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 7 of 77
                        Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 8 of 77




           Kaiser Foundation Health Plan, Inc.
           Northern California Region

           A nonprofit corporation



EOC #4 -   Kaiser Permanente for Small Businesses
           Evidence of Coverage for
           SAMPLE GROUP AGREEMENT

           $30 Copayment Plan
           Group ID: 999999901 EOC Number: 4

           Note: This is a sample Evidence of Coverage (EOC) document. EOCs that are issued as part of a specific customer's
           Group Agreement will differ from this sample. For example, this EOC does not include customer-specific coverage and
           eligibility information, and the sample EOC may be updated at any time for accuracy, to comply with laws and
           regulations, or to reflect changes in how coverage is administered. The terms of any contract holder's coverage are
           governed by the Group Agreement issued to that customer by Kaiser Foundation Health Plan, Inc.




           January 1, 2014, through December 31, 2014




                                                            Member Service Contact Center
                                                            24 hours a day, seven days a week
                                                            (except closed holidays, and closed after 5 p.m. the day after
                                                            Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on
                                                            New Year's Eve)
                                                            1-800-464-4000 toll free
                                                            1-800-777-1370 or 711 (toll free TTY for the hearing/speech
                                                            impaired)
                                                            kp.org
                                         Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 9 of 77




Help in your language
Interpreter services, including sign language, are available during all hours of operation at no cost to
you. We can also provide you, your family, and friends with any special assistance needed to access
our facilities and services. In addition, you may request health plan materials translated in your
language, and may also request these materials in large text or in other formats to accommodate your
needs. For more information, call our Member Service Contact Center 24 hours a day, seven days a
week (except closed holidays, and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on
Christmas Eve, and after 5 p.m. on New Year's Eve) at 1-800-464-4000 (TTY users call 1-800-777-
1370 or 711).

Ayuda en su idioma
Se ofrecen servicios de intérprete sin costo alguno para usted durante todo el horario de atención,
incluida la lengua de señas (sign language). También podemos ofrecerles a usted y a sus familiares y
amigos todo tipo de ayuda especial que necesiten para tener acceso a nuestros centros y servicios.
Además, puede solicitar que los materiales del plan de salud se traduzcan a su idioma, y que estos
materiales sean con letra grande o en otros formatos que se acomoden a sus necesidades. Para obtener
más información llame a la Central de Llamadas de Servicio a los Miembros las 24 horas del día, los
siete días de la semana (excepto los días festivos y después de las 5 p. m. el día después de
Thanksgiving [Día de Acción de Gracias], y las vísperas de Navidad y Año Nuevo) al 1-800-788-0616
(usuarios de TTY llamen al 1-800-777-1370 o al 711).




ARBIT_ MODEL_D RV 12072 4




BENEFIT_ MODEL_D RV 140 122




CHIR_M ODEL_DRV 14012 2




COPAYCHT_M ODEL_DRV 11111 1




DEFNS_MODEL_D RV 12 1029




ELIGDEP_MODEL_DRV 120207




EOCTITLE_MOD EL_DRV 140122




FACILITY_ MODEL_D RV 12102 9




NONMED_MODEL _DRV 1 21029




RISK_ MODEL_D RV 12020 7




RULES_MODEL_D RV 82 1




RULES_COPAY_TIER_DRV 313




RULES_SE RVICE_ THRE SHOLD_D RV 705 30




THRESH _MODEL_D RV 1




TOC_MODEL _DRV 1 20530




VERSION_DE SCRIPTION 2010 SAMPLE




REASON _FO R_NEW_VE RSION




VER_RE N_DATE 01 /01/2 014




                                                                                                            GF
            Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 10 of 77



  TABLE OF CONTENTS FOR EOC #4
*** Click here and press F9 key to calculate the table of contents   2
Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 11 of 77
                    Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 12 of 77


Health Plan Benefits and Coverage Matrix
THIS MATRIX IS INTENDED TO BE USED TO HELP YOU COMPARE COVERAGE BENEFITS AND IS A
SUMMARY ONLY. THE EVIDENCE OF COVERAGE AND PLAN CONTRACT SHOULD BE CONSULTED FOR
A DETAILED DESCRIPTION OF COVERAGE BENEFITS AND LIMITATIONS.
Health Plan believes this coverage is a "grandfathered health plan" under the Patient Protection and Affordable Care Act.
If you have questions about grandfathered health plans, please call our Member Service Contact Center.
Calendar Year Out-of-Pocket Maximum for Certain Services
For Services subject to the maximum, you will not pay any more Cost Share during the calendar year if the Copayments and
 Coinsurance you pay for those Services add up to one of the following amounts:
   For self-only enrollment (a Family of one Member) ............................. $3,000 per calendar year
   For any one Member in a Family of two or more Members ................. $3,000 per calendar year
   For an entire Family of two or more Members ..................................... $6,000 per calendar year
Drug Deductible for Certain Drugs                                                                              $250 per Member per calendar year
Plan Deductible for All Other Services                                                                         None
Lifetime Maximum                                                                                               None
Professional Services (Plan Provider office visits)                                                                  You Pay
Most primary and specialty care consultations, evaluations, and treatment
 ................................................................................................................... $30 per visit
Routine physical maintenance exams, including well-woman exams ........ No charge
Well-child preventive exams (through age 23 months) .............................. No charge
Family planning counseling and consultations ........................................... No charge
Scheduled prenatal care exams ................................................................... No charge
Eye exams for refraction ............................................................................ No charge
Hearing exams ............................................................................................ No charge
Urgent care consultations, evaluations, and treatment ............................... $30 per visit
Most physical, occupational, and speech therapy ....................................... $30 per visit
Outpatient Services                                                                               You Pay
Outpatient surgery and certain other outpatient procedures ....................... $200 per procedure
Allergy injections (including allergy serum) .............................................. $5 per visit
Most immunizations (including the vaccine) ............................................. No charge
Most X-rays and laboratory tests ................................................................ $10 per encounter
Preventive X-rays, screenings, and laboratory tests as described in the
 "Benefits and Your Cost Share" section ................................................... No charge
MRI, most CT, and PET scans ................................................................... $50 per procedure
Covered individual health education counseling ........................................ No charge
Covered health education programs ........................................................... No charge
Hospitalization Services                                                                                       You Pay
Room and board, surgery, anesthesia, X-rays, laboratory tests, and drugs                                       $400 per day
Emergency Health Coverage                                                                        You Pay
Emergency Department visits .................................................................... $100 per visit
Note: This Cost Share does not apply if admitted directly to the hospital as an inpatient for covered Services (see
 "Hospitalization Services" for inpatient Cost Share).
Ambulance Services                                                                                     You Pay
Ambulance Services ................................................................................... $75 per trip




Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/1412/31/14
Date: February 13, 2015                                                                                                                            Page 1
                   Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 13 of 77


Prescription Drug Coverage                                                                             You Pay
Covered outpatient items in accord with our drug formulary guidelines at
 Plan Pharmacies or through our mail-order service:
   Most generic items ................................................................................ $10 for up to a 100-day supply
   Most brand-name items ......................................................................... $35 for up to a 100-day supply after $250 Drug
                                                                                                        Deductible for certain drugs
Durable Medical Equipment                                                                              You Pay
The durable medical equipment for home use listed in the "Benefits and
 Your Cost Share" section in accord with our durable medical equipment
 formulary guidelines (most durable medical equipment is not covered) 50% Coinsurance
Mental Health Services                                                                            You Pay
Inpatient psychiatric hospitalization ........................................................... $400 per day
Individual outpatient mental health evaluation and treatment .................... $30 per visit
Group outpatient mental health treatment .................................................. $15 per visit
Chemical Dependency Services                                                                            You Pay
Inpatient detoxification .............................................................................. $400 per day
Individual outpatient chemical dependency evaluation and treatment ....... $30 per visit
Group outpatient chemical dependency treatment ..................................... $5 per visit
Home Health Services                                                                  You Pay
Home health care (up to 100 visits per calendar year) ............................... No charge
Other                                                                                                        You Pay
Skilled Nursing Facility care (up to 100 days per benefit period) .............. No charge
The external prosthetic devices, orthotic devices, and ostomy and
 urological supplies listed in the "Benefits and Your Cost Share" section
 (most external prosthetic and orthotic devices are not covered) ............. No charge
Hospice care ............................................................................................... No charge

This is a summary of the most frequently asked-about benefits. This chart does not explain benefits, Cost Share, out-of-
pocket maximums, exclusions, or limitations, nor does it list all benefits and Cost Share amounts. For a complete
explanation, please refer to the "Benefits and Your Cost Share" and "Exclusions, Limitations, Coordination of Benefits, and
Reductions" sections.




Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/1412/31/14
Date: February 13, 2015                                                                                                                     Page 2
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 14 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
                                                                          in the "Definitions" section. You must receive all
                                                                                                                                        E
Introduction                                                              covered care from Plan Providers inside our Service
                                                                          Area, except as described in the sections listed below for    O
                                                                          the following Services:                                       C
This Evidence of Coverage describes the health care
coverage of "Kaiser Permanente for Small Businesses"                       Authorized referrals as described under "Getting a
provided under the Group Agreement (Agreement)                              Referral" in the "How to Obtain Services" section           4
between Health Plan (Kaiser Foundation Health Plan,                        Emergency ambulance Services as described under
Inc.) and your Group (the entity with which Health Plan                     "Ambulance Services" in the "Benefits and Your Cost
has entered into the Agreement). For benefits provided                      Share" section
under any other Health Plan program, refer to that plan's
evidence of coverage.                                                      Emergency Services, Post-Stabilization Care, and
                                                                            Out-of-Area Urgent Care as described in the
                                                                            "Emergency Services and Urgent Care" section
In this Evidence of Coverage, Health Plan is sometimes
referred to as "we" or "us." Members are sometimes                         Hospice care as described under "Hospice Care" in
referred to as "you." Some capitalized terms have special                   the "Benefits and Your Cost Share" section
meaning in this Evidence of Coverage; please see the
"Definitions" section for terms you should know.
                                                                          Definitions
Please read the following information so that you will
know from whom or what group of providers you
                                                                          Some terms have special meaning in this Evidence of
may get health care. It is important to familiarize
                                                                          Coverage. When we use a term with special meaning in
yourself with your coverage by reading this Evidence of
                                                                          only one section of this Evidence of Coverage, we define
Coverage completely, so that you can take full advantage
                                                                          it in that section. The terms in this "Definitions" section
of your Health Plan benefits. Also, if you have special
                                                                          have special meaning when capitalized and used in any
health care needs, please carefully read the sections that
                                                                          section of this Evidence of Coverage.
apply to you.
                                                                          Allowance: A specified credit amount that you can use
                                                                          toward the purchase price of an item. If the price of the
Term of this Evidence of Coverage                                         item(s) you select exceeds the Allowance, you will pay
                                                                          the amount in excess of the Allowance (and that payment
This Evidence of Coverage is for the period January 1,
                                                                          does not apply toward any deductible or out-of-pocket
2014, through December 31, 2014, unless amended.
                                                                          maximum).
Your Group can tell you whether this Evidence of
Coverage is still in effect and give you a current one                    Charges: "Charges" means the following:
if this Evidence of Coverage has expired or been                           For Services provided by the Medical Group or
amended.                                                                    Kaiser Foundation Hospitals, the charges in Health
                                                                            Plan's schedule of Medical Group and Kaiser
                                                                            Foundation Hospitals charges for Services provided
About Kaiser Permanente
                                                                            to Members
Kaiser Permanente provides Services directly to our                        For Services for which a provider (other than the
Members through an integrated medical care program.                         Medical Group or Kaiser Foundation Hospitals) is
Health Plan, Plan Hospitals, and the Medical Group                          compensated on a capitation basis, the charges in the
work together to provide our Members with quality care.                     schedule of charges that Kaiser Permanente
Our medical care program gives you access to all of the                     negotiates with the capitated provider
covered Services you may need, such as routine care
                                                                           For items obtained at a pharmacy owned and operated
with your own personal Plan Physician, hospital care,
                                                                            by Kaiser Permanente, the amount the pharmacy
laboratory and pharmacy Services, Emergency Services,
                                                                            would charge a Member for the item if a Member's
Urgent Care, and other benefits described in the
                                                                            benefit plan did not cover the item (this amount is an
"Benefits and Your Cost Share" section. Plus, our health
                                                                            estimate of: the cost of acquiring, storing, and
education programs offer you great ways to protect and
                                                                            dispensing drugs, the direct and indirect costs of
improve your health.
                                                                            providing Kaiser Permanente pharmacy Services to
                                                                            Members, and the pharmacy program's contribution
We provide covered Services to Members using Plan
                                                                            to the net revenue requirements of Health Plan)
Providers located in our Service Area, which is described


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 3
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 15 of 77


 For all other Services, the payments that Kaiser                        A mental health condition is an Emergency Medical
  Permanente makes for the Services or, if Kaiser                         Condition when it meets the requirements of the
  Permanente subtracts your Cost Share from its                           paragraph above, or when the condition manifests itself
  payment, the amount Kaiser Permanente would have                        by acute symptoms of sufficient severity such that either
  paid if it did not subtract your Cost Share                             of the following is true:
Coinsurance: A percentage of Charges that you must                         The person is an immediate danger to himself or
pay when you receive a covered Service as described in                      herself or to others
the "Benefits and Your Cost Share" section.                                The person is immediately unable to provide for, or
Copayment: A specific dollar amount that you must pay                       use, food, shelter, or clothing, due to the mental
when you receive a covered Service as described in the                      disorder
"Benefits and Your Cost Share" section. Note: The dollar                  Emergency Services: All of the following with respect
amount of the Copayment can be $0 (no charge).                            to an Emergency Medical Condition:
Cost Share: The amount you are required to pay for                         A medical screening exam that is within the
covered Services. For example, your Cost Share may be                       capability of the emergency department of a hospital,
a Copayment or Coinsurance. If your coverage includes a                     including ancillary services (such as imaging and
Plan Deductible and you receive Services that are subject                   laboratory Services) routinely available to the
to the Plan Deductible, your Cost Share will be Charges                     emergency department to evaluate the Emergency
if you have not met the Plan Deductible. Similarly,                         Medical Condition
if your coverage includes a Drug Deductible, and you
                                                                           Within the capabilities of the staff and facilities
receive Services that are subject to the Drug Deductible,
                                                                            available at the hospital, Medically Necessary
your Cost Share will be Charges if you have not met the
                                                                            examination and treatment required to Stabilize the
Drug Deductible.
                                                                            patient (once your condition is Stabilized, Services
Dependent: A Member who meets the eligibility                               you receive are Post Stabilization Care and not
requirements as a Dependent (for Dependent eligibility                      Emergency Services)
requirements, see "Who Is Eligible" in the "Premiums,
                                                                          Evidence of Coverage (EOC): This Evidence of
Eligibility, and Enrollment" section).
                                                                          Coverage document, which describes the health care
Drug Deductible: The amount you must pay in the                           coverage of "Kaiser Permanente for Small Businesses"
calendar year for certain drugs, supplies, and                            under Health Plan's Agreement with your Group.
supplements before we will cover those Services at the
                                                                          Family: A Subscriber and all of his or her Dependents.
applicable Copayment or Coinsurance in that calendar
year. Please refer to the "Outpatient Prescription Drugs,                 Group: The entity with which Health Plan has entered
Supplies, and Supplements" section for the Services that                  into the Agreement that includes this Evidence of
are subject to the Drug Deductible and the Drug                           Coverage.
Deductible amount.
                                                                          Health Plan: Kaiser Foundation Health Plan, Inc., a
Emergency Medical Condition: A medical condition                          California nonprofit corporation. This Evidence of
manifesting itself by acute symptoms of sufficient                        Coverage sometimes refers to Health Plan as "we" or
severity (including severe pain) such that a reasonable                   "us."
person would have believed that the absence of
                                                                          Kaiser Permanente: Kaiser Foundation Hospitals (a
immediate medical attention would result in any of the
                                                                          California nonprofit corporation), Health Plan, and the
following:
                                                                          Medical Group.
 Placing the person's health (or, with respect to a
  pregnant woman, the health of the woman or her                          Medical Group: The Permanente Medical Group, Inc., a
  unborn child) in serious jeopardy                                       for-profit professional corporation.

 Serious impairment to bodily functions                                  Medically Necessary: A Service is Medically Necessary
                                                                          if it is medically appropriate and required to prevent,
 Serious dysfunction of any bodily organ or part                         diagnose, or treat your condition or clinical symptoms in
                                                                          accord with generally accepted professional standards of
                                                                          practice that are consistent with a standard of care in the
                                                                          medical community.
                                                                          Medicare: The federal health insurance program for
                                                                          people 65 years of age or older, some people under age
                                                                          65 with certain disabilities, and people with end-stage

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 4
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 16 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
renal disease (generally those with permanent kidney                      Medical Offices, please call our Member Service Contact
                                                                                                                                       E
failure who need dialysis or a kidney transplant). In this                Center.
Evidence of Coverage, Members who are "eligible for"                                                                                   O
                                                                          Plan Optical Sales Office: An optical sales office           C
Medicare Part A or B are those who would qualify for
                                                                          owned and operated by Kaiser Permanente or another
Medicare Part A or B coverage if they applied for it.
                                                                          optical sales office that we designate. Please refer to
Members who "have" Medicare Part A or B are those
who have been granted Medicare Part A or B coverage.
                                                                          Your Guidebook for a list of Plan Optical Sales Offices      4
                                                                          in your area, except that Plan Optical Sales Offices are
Member: A person who is eligible and enrolled under                       subject to change at any time without notice. For the
this Evidence of Coverage, and for whom we have                           current locations of Plan Optical Sales Offices, please
received applicable Premiums. This Evidence of                            call our Member Service Contact Center.
Coverage sometimes refers to a Member as "you."
                                                                          Plan Optometrist: An optometrist who is a Plan
Non–Plan Hospital: A hospital other than a Plan                           Provider.
Hospital.
                                                                          Plan Pharmacy: A pharmacy owned and operated by
Non–Plan Physician: A physician other than a Plan                         Kaiser Permanente or another pharmacy that we
Physician.                                                                designate. Please refer to Your Guidebook for a list of
                                                                          Plan Pharmacies in your area, except that Plan
Non–Plan Provider: A provider other than a Plan
                                                                          Pharmacies are subject to change at any time without
Provider.
                                                                          notice. For the current locations of Plan Pharmacies,
Out-of-Area Urgent Care: Medically Necessary                              please call our Member Service Contact Center.
Services to prevent serious deterioration of your (or your
                                                                          Plan Physician: Any licensed physician who is an
unborn child's) health resulting from an unforeseen
                                                                          employee of the Medical Group, or any licensed
illness, unforeseen injury, or unforeseen complication of
                                                                          physician who contracts to provide Services to Members
an existing condition (including pregnancy) if all of the
                                                                          (but not including physicians who contract only to
following are true:
                                                                          provide referral Services).
 You are temporarily outside our Service Area
                                                                          Plan Provider: A Plan Hospital, a Plan Physician, the
 A reasonable person would have believed that your                       Medical Group, a Plan Pharmacy, or any other health
  (or your unborn child's) health would seriously                         care provider that we designate as a Plan Provider.
  deteriorate if you delayed treatment until you returned
  to our Service Area                                                     Plan Skilled Nursing Facility: A Skilled Nursing
                                                                          Facility approved by Health Plan.
Plan Deductible: The amount you must pay in the
calendar year for certain Services before we will cover                   Post-Stabilization Care: Medically Necessary Services
those Services at the applicable Copayment or                             related to your Emergency Medical Condition that you
Coinsurance in that calendar year. Please refer to the                    receive in a hospital (including the Emergency
"Benefits and Your Cost Share" section to learn whether                   Department) after your treating physician determines that
your coverage includes a Plan Deductible, the Services                    this condition is Stabilized.
that are subject to the Plan Deductible, and the Plan                     Premiums: The periodic amounts that your Group is
Deductible amount.                                                        responsible for paying for your membership under this
Plan Facility: Any facility listed on our website at                      Evidence of Coverage, except that you are responsible
kp.org/facilities for our Service Area, except that Plan                  for paying Premiums if you have Cal-COBRA coverage.
Facilities are subject to change at any time without                      Preventive Care Services: Services that do one or more
notice. For the current locations of Plan Facilities, please              of the following:
call our Member Service Contact Center.
                                                                           Protect against disease, such as in the use of
Plan Hospital: Any hospital listed on our website at                        immunizations
kp.org/facilities for our Service Area, except that Plan
                                                                           Promote health, such as counseling on tobacco use
Hospitals are subject to change at any time without
notice. For the current locations of Plan Hospitals, please                Detect disease in its earliest stages before noticeable
call our Member Service Contact Center.                                     symptoms develop, such as screening for breast
                                                                            cancer
Plan Medical Office: Any medical office listed on our
website at kp.org/facilities for our Service Area, except                 Primary Care Physicians: Generalists in internal
that Plan Medical Offices are subject to change at any                    medicine, pediatrics, and family practice, and specialists
time without notice. For the current locations of Plan                    in obstetrics/gynecology whom the Medical Group


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 5
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 17 of 77


designates as Primary Care Physicians. Please refer to                     The following ZIP codes in Mariposa County are
our website at kp.org for a directory of Primary Care                       inside our Service Area: 93601, 93623, 93653
Physicians, except that the directory is subject to change
                                                                           The following ZIP codes in Napa County are inside
without notice. For the current list of physicians that are
                                                                            our Service Area: 94503, 94508, 94515, 94558–59,
available as Primary Care Physicians, please call the
                                                                            94562, 94567, 94573–74, 94576, 94581, 94589–90,
personal physician selection department at the phone
                                                                            94599, 95476
number listed in Your Guidebook.
                                                                           The following ZIP codes in Placer County are inside
Region: A Kaiser Foundation Health Plan organization                        our Service Area: 95602–04, 95626, 95648, 95650,
or allied plan that conducts a direct-service health care                   95658, 95661, 95663, 95668, 95677–78, 95681,
program. For information about Region locations in the                      95692, 95703, 95722, 95736, 95746–47, 95765
District of Columbia and parts of Southern California,
Colorado, Georgia, Hawaii, Idaho, Maryland, Oregon,                        All ZIP codes in Sacramento County are inside our
Virginia, and Washington, please call our Member                            Service Area: 94203–09, 94211, 94229–30, 94232,
Service Contact Center.                                                     94234–37, 94239–40, 94244, 94247–50, 94252,
                                                                            94254, 94256–59, 94261–63, 94267–69, 94271,
Service Area: The ZIP codes below for each county are                       94273–74, 94277–80, 94282–91, 94293–98, 94571,
in our Service Area:                                                        95608–11, 95615, 95621, 95624, 95626, 95628,
 All ZIP codes in Alameda County are inside our                            95630, 95632, 95638–41, 95652, 95655, 95660,
  Service Area: 94501–02, 94514, 94536–46, 94550–                           95662, 95670–71, 95673, 95678, 95680, 95683,
  52, 94555, 94557, 94560, 94566, 94568, 94577–80,                          95690, 95693, 95741–42, 95757–59, 95763, 95811–
  94586–88, 94601–15, 94617–21, 94622–24, 94649,                            38, 95840–43, 95851–53, 95860, 95864–67, 95887,
  94659–62, 94666, 94701–10, 94712, 94720, 95377,                           95894, 95899
  95391                                                                    All ZIP codes in San Francisco County are inside our
 The following ZIP codes in Amador County are                              Service Area: 94102–05, 94107–12, 94114–27,
  inside our Service Area: 95640, 95669                                     94129–34, 94137, 94139–47, 94151, 94158–61,
                                                                            94163–64, 94172, 94177, 94188
 All ZIP codes in Contra Costa County are inside our
  Service Area: 94505–07, 94509, 94511, 94513–14,                          All ZIP codes in San Joaquin County are inside our
  94516–31, 94547–49, 94551, 94553, 94556, 94561,                           Service Area: 94514, 95201–13, 95215, 95219–20,
  94563–65, 94569–70, 94572, 94575, 94582–83,                               95227, 95230–31, 95234, 95236–37, 95240–42,
  94595–98, 94706–08, 94801–08, 94820, 94850                                95253, 95258, 95267, 95269, 95296–97, 95304,
                                                                            95320, 95330, 95336–37, 95361, 95366, 95376–78,
 The following ZIP codes in El Dorado County are
                                                                            95385, 95391, 95632, 95686, 95690
  inside our Service Area: 95613–14, 95619, 95623,
  95633–35, 95651, 95664, 95667, 95672, 95682,                             All ZIP codes in San Mateo County are inside our
  95762                                                                     Service Area: 94002, 94005, 94010–11, 94014–21,
                                                                            94025–28, 94030, 94037–38, 94044, 94060–66,
 The following ZIP codes in Fresno County are inside
                                                                            94070, 94074, 94080, 94083, 94128, 94303, 94401–
  our Service Area: 93242, 93602, 93606–07, 93609,
                                                                            04, 94497
  93611–13, 93616, 93618–19, 93624–27, 93630–31,
  93646, 93648–52, 93654, 93656–57, 93660, 93662,                          The following ZIP codes in Santa Clara County are
  93667–68, 93675, 93701–12, 93714–18, 93720–30,                            inside our Service Area: 94022–24, 94035, 94039–43,
  93737, 93740–41, 93744–45, 93747, 93750, 93755,                           94085–89, 94301–06, 94309, 94550, 95002, 95008–
  93760–61, 93764–65, 93771–79, 93786, 93790–94,                            09, 95011, 95013–15, 95020–21, 95026, 95030–33,
  93844, 93888                                                              95035–38, 95042, 95044, 95046, 95050–56, 95070–
                                                                            71, 95076, 95101, 95103, 95106, 95108–13, 95115–
 The following ZIP codes in Kings County are inside
                                                                            36, 95138–41, 95148, 95150–61, 95164, 95170,
  our Service Area: 93230, 93232, 93242, 93631,
                                                                            95172–73, 95190–94, 95196
  93656
                                                                           All ZIP codes in Solano County are inside our
 The following ZIP codes in Madera County are inside
                                                                            Service Area: 94510, 94512, 94533–35, 94571,
  our Service Area: 93601–02, 93604, 93614, 93623,
                                                                            94585, 94589–92, 95616, 95620, 95625, 95687–88,
  93626, 93636–39, 93643–45, 93653, 93669, 93720
                                                                            95690, 95694, 95696
 All ZIP codes in Marin County are inside our Service
                                                                           The following ZIP codes in Sonoma County are
  Area: 94901, 94903–04, 94912–15, 94920, 94924–
                                                                            inside our Service Area: 94515, 94922–23, 94926–28,
  25, 94929–30, 94933, 94937–42, 94945–50, 94956–
                                                                            94931, 94951–55, 94972, 94975, 94999, 95401–07,
  57, 94960, 94963–66, 94970–71, 94973–74, 94976–
                                                                            95409, 95416, 95419, 95421, 95425, 95430–31,
  79

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                Page 6
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 18 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   95433, 95436, 95439, 95441–42, 95444, 95446,                           Spouse: The Subscriber's legal husband or wife. For the
                                                                                                                                        E
   95448, 95450, 95452, 95462, 95465, 95471–73,                           purposes of this Evidence of Coverage, the term
   95476, 95486–87, 95492                                                 "Spouse" includes the Subscriber's registered domestic        O
 All ZIP codes in Stanislaus County are inside our                       partner who meets all of the requirements of Sections         C
  Service Area: 95230, 95304, 95307, 95313, 95316,                        297 or 299.2 of the California Family Code. If your
                                                                          Group allows enrollment of domestic partners who do
  95319, 95322–23, 95326, 95328–29, 95350–58,
                                                                          not meet all of the requirements of Sections 297 or 299.2
                                                                                                                                        4
  95360–61, 95363, 95367–68, 95380–82, 95385–87,
  95397                                                                   of the California Family Code, the term "Spouse" also
                                                                          includes the Subscriber's domestic partner who meets
 The following ZIP codes in Sutter County are inside                     your Group's eligibility requirements for domestic
  our Service Area: 95626, 95645, 95648, 95659,                           partners.
  95668, 95674, 95676, 95692, 95836–37
                                                                          Stabilize: To provide the medical treatment of the
 The following ZIP codes in Tulare County are inside                     Emergency Medical Condition that is necessary to
  our Service Area: 93238, 93261, 93618, 93631,                           assure, within reasonable medical probability, that no
  93646, 93654, 93666, 93673                                              material deterioration of the condition is likely to result
 The following ZIP codes in Yolo County are inside                       from or occur during the transfer of the person from the
  our Service Area: 95605, 95607, 95612, 95616–18,                        facility. With respect to a pregnant woman who is having
  95645, 95691, 95694–95, 95697–98, 95776, 95798–                         contractions, when there is inadequate time to safely
  99                                                                      transfer her to another hospital before delivery (or the
                                                                          transfer may pose a threat to the health or safety of the
 The following ZIP codes in Yuba County are inside
                                                                          woman or unborn child), "Stabilize" means to deliver
  our Service Area: 95692, 95903, 95961
                                                                          (including the placenta).
For each ZIP code listed for a county, our Service Area
                                                                          Subscriber: A Member who is eligible for membership
includes only the part of that ZIP code that is in that
                                                                          on his or her own behalf and not by virtue of Dependent
county. When a ZIP code spans more than one county,
                                                                          status and who meets the eligibility requirements as a
the part of that ZIP code that is in another county is not
                                                                          Subscriber (for Subscriber eligibility requirements, see
inside our Service Area unless that other county is listed
                                                                          "Who Is Eligible" in the "Premiums, Eligibility, and
above and that ZIP code is also listed for that other
                                                                          Enrollment" section).
county.
                                                                          Urgent Care: Medically Necessary Services for a
If you have a question about whether a ZIP code is in our
                                                                          condition that requires prompt medical attention but is
Service Area, please call our Member Service Contact
                                                                          not an Emergency Medical Condition.
Center.
Note: We may expand our Service Area at any time by
giving written notice to your Group. ZIP codes are
subject to change by the U.S. Postal Service.                             Premiums, Eligibility, and
Services: Health care services or items ("health care"
                                                                          Enrollment
includes both physical health care and mental health
care) and behavioral health treatment covered under                       Premiums
"Behavioral Health Treatment for Pervasive
Developmental Disorder or Autism" in the "Benefits and                    Your Group is responsible for paying Premiums, except
Your Cost Share" section.                                                 that you are responsible for paying Premiums as
                                                                          described in the "Continuation of Membership" section
Skilled Nursing Facility: A facility that provides                        if you have Cal-COBRA coverage under this Evidence of
inpatient skilled nursing care, rehabilitation services, or               Coverage. If you are responsible for any contribution to
other related health services and is licensed by the state                the Premiums that your Group pays, your Group will tell
of California. The facility's primary business must be the                you the amount and how to pay your Group (through
provision of 24-hour-a-day licensed skilled nursing care.                 payroll deduction, for example).
The term "Skilled Nursing Facility" does not include
convalescent nursing homes, rest facilities, or facilities
for the aged, if those facilities furnish primarily custodial             Who Is Eligible
care, including training in routines of daily living. A
"Skilled Nursing Facility" may also be a unit or section                  To enroll and to continue enrollment, you must meet all
within another facility (for example, a hospital) as long                 of the eligibility requirements described in this "Who Is
as it continues to meet this definition.                                  Eligible" section.


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 7
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 19 of 77


Group eligibility requirements                                                  under this Evidence of Coverage. All terms and
You must meet your Group's eligibility requirements that                        conditions in your application for enrollment in the
we have approved. Your Group is required to inform                              Northern California Region, including the Arbitration
Subscribers of its eligibility requirements, such as the                        Agreement, will continue to apply if the Subscriber
minimum number of hours that employees must work.                               does not submit a new enrollment form

Health Plan eligibility requirements                                      For more information about the service areas of the other
If you commit any of the following acts, you are not                      Regions, please call our Member Service Contact Center.
eligible to continue enrollment:
                                                                          Additional eligibility requirements
 Your behavior threatens the safety of Plan personnel
                                                                          You may be eligible to enroll and continue enrollment as
  or of any person or property at a Plan Facility
                                                                          a Subscriber if you are:
 You commit theft from Health Plan, from a Plan
                                                                           An employee of your Group
  Provider, or at a Plan Facility
                                                                           A proprietor or partner of your Group
Service Area eligibility requirements                                      Otherwise entitled to coverage under a trust
The "Definitions" section describes our Service Area and                    agreement or employment contract (unless the
how it may change.                                                          Internal Revenue Service considers you self-
                                                                            employed)
Subscribers must live or work inside our Service Area at
the time they enroll. If after enrollment the Subscriber no               If you are a Subscriber under this Evidence of Coverage
longer lives or works inside our Service Area, the                        (or if you are a subscriber under Kaiser Permanente
Subscriber can continue membership unless (1) he or she                   Senior Advantage or one of our other plans that your
lives inside or moves to the service area of another                      Group offers that requires members to have Medicare)
Region and does not work inside our Service Area, or (2)                  and if your Group allows enrollment of Dependents, the
your Group does not allow continued enrollment of                         following persons may be eligible to enroll as your
Subscribers who do not live or work inside our Service                    Dependents under this Evidence of Coverage:
Area.
                                                                           Your Spouse
Dependent children of the Subscriber or of the                             Your or your Spouse's children (including adopted
Subscriber's Spouse may live anywhere inside or outside                     children or children placed with you or your Spouse
our Service Area. Other Dependents may live anywhere,                       for adoption) who are under age 26
except that they are not eligible to enroll or to continue                 Children (not including foster children) for whom you
enrollment if they live in or move to the service area of                   or your Spouse is the court-appointed guardian (or
another Region.                                                             was when the person reached age 18) if they are
                                                                            under age 26
If you are not eligible to continue enrollment because
                                                                           Children whose parent is a Dependent under your
you live in or move to the service area of another
                                                                            family coverage (including adopted children or
Region, please contact your Group to learn about your
                                                                            children placed with your Dependent for adoption,
Group health care options:                                                  but not including foster children) if they meet all of
 Regions outside California. You may be able to                            the following requirements:
  enroll in the service area of another Region if there is                   they are not married and do not have a domestic
  an agreement between your Group and that Region,                             partner (for the purposes of this requirement only,
  but the plan, including coverage, premiums, and                              "domestic partner" means someone who is a
  eligibility requirements, might not be the same. For                         registered domestic partner in California or who is
  the purposes of this eligibility rule, the Regions                           legally recognized as a domestic partner in the
  outside California may change on January 1 of each                           state where the couple resides)
  year and are currently the District of Columbia and
                                                                                 they are under age 26
  parts of Colorado, Georgia, Hawaii, Idaho, Maryland,
  Oregon, Virginia, and Washington                                               they receive all of their support and maintenance
                                                                                   from you or your Spouse
 Southern California Region's service area. Your
                                                                                 they permanently reside with you or your Spouse
  Group may have an arrangement with us that permits
  membership in the Southern California Region, but                        Dependents who meet the Dependent eligibility
  the plan, including coverage, premiums, and                               requirements, except for the age limit, are eligible as
  eligibility requirements, might not be the same as

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                     Page 8
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 20 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   disabled dependents if they meet all of the following                        dependent, there will be no lapse in coverage. Also,
                                                                                                                                        E
   requirements:                                                                starting two years after the date that the Dependent
                                                                                reached the age limit, the Subscriber must provide us   O
    your Group permits enrollment of dependent
       children                                                                 documentation of the Dependent's incapacity and         C
                                                                                dependency annually within 60 days after we request
    they are your or your Spouse's children, your or
                                                                                it so that we can determine if the Dependent
       your Spouse's adopted children, children placed
                                                                                continues to be eligible as a disabled dependent
                                                                                                                                        4
       with you or your Spouse for adoption, or children
       for whom you or your Spouse is the legal guardian                   If the dependent is not a Member and the Subscriber
    they are incapable of self-sustaining employment                       is requesting enrollment, the Subscriber must provide
       because of a physically- or mentally-disabling                       us documentation of the dependent's incapacity and
       injury, illness, or condition that occurred before                   dependency within 60 days after we request it so that
       they reached the age limit for Dependents                            we can determine if the dependent is eligible to enroll
                                                                            as a disabled dependent. If we determine that the
    they receive 50 percent or more of their support
                                                                            dependent is eligible as a disabled dependent, the
       and maintenance from you or your Spouse                              Subscriber must provide us documentation of the
    you give us proof of their incapacity and                              Dependent's incapacity and dependency annually
       dependency within 60 days after we request it (see                   within 60 days after we request it so that we can
       "Disabled dependent certification" below in this                     determine if the Dependent continues to be eligible as
       "Additional eligibility requirements" section)                       a disabled dependent

Note: If you are a subscriber under Kaiser Permanente                     Persons barred from enrolling
Senior Advantage or one of our other plans that requires                  You cannot enroll if you have had your entitlement to
members to have Medicare, all of your dependents who                      receive Services through Health Plan terminated for
are enrolled under this or any other non-Medicare                         cause or if you have ever lost eligibility for Health Plan
evidence of coverage offered by your Group must be                        coverage for a reason described under "Health Plan
enrolled under the same non-Medicare evidence of                          eligibility requirements" in this "Who Is Eligible"
coverage. A "non-Medicare" evidence of coverage is one                    section.
that does not require members to have Medicare.
                                                                          Members with Medicare and retirees
Disabled dependent certification. One of the                              This Evidence of Coverage is not intended for retirees
requirements for a dependent to be eligible for                           and most Medicare beneficiaries. If, during the term of
membership as a disabled dependent is that the                            this Evidence of Coverage, you are (or become) eligible
Subscriber must provide us documentation of the                           for Medicare (please see "Medicare" in the "Definitions"
dependent's incapacity and dependency as follows:                         section for the meaning of "eligible for" Medicare) or
 If the Dependent is a Member, we will send the                          you retire, the following will apply:
  Subscriber a notice of the Dependent's membership                        If you are the Subscriber and you retire, membership
  termination due to loss of eligibility at least 90 days                   under this Evidence of Coverage will be terminated
  before the date coverage will end due to reaching the                     and you may be eligible to continue membership as
  age limit. The Dependent's membership will                                described in the "Continuation of Membership"
  terminate as described in our notice unless the                           section
  Subscriber provides us documentation of the
  Dependent's incapacity and dependency within 60                          If federal law requires that your Group's health care
  days of receipt of our notice and we determine that                       coverage be primary and Medicare coverage be
  the Dependent is eligible as a disabled dependent.                        secondary, your coverage under this Evidence of
  If the Subscriber provides us this documentation in                       Coverage will be the same as it would be if you had
  the specified time period and we do not make a                            not become eligible for Medicare. However, you may
  determination about eligibility before the termination                    also be eligible to enroll in Kaiser Permanente Senior
  date, coverage will continue until we make a                              Advantage through your Group if you have Medicare
  determination. If we determine that the Dependent                         Part B
  does not meet the eligibility requirements as a                          If none of the above applies to you and you are
  disabled dependent, we will notify the Subscriber that                    eligible for Medicare please ask your Group about
  the Dependent is not eligible and let the Subscriber                      your membership options
  know the membership termination date. If we
  determine that the Dependent is eligible as a disabled


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 9
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 21 of 77


Note: If you are enrolled in a Medicare plan and lose                     When You Can Enroll and When
Medicare eligibility, you may be able to enroll under this                Coverage Begins
Evidence of Coverage if permitted by your Group (please
ask your Group for details).                                              Your Group is required to inform you when you are
                                                                          eligible to enroll and what your effective date of
When Medicare is secondary. Medicare is the primary                       coverage is. If you are eligible to enroll as described
coverage except when federal law requires that your                       under "Who Is Eligible" in this "Premiums, Eligibility,
Group's health care coverage be primary and Medicare                      and Enrollment" section, enrollment is permitted as
coverage be secondary. Members who have Medicare                          described below and membership begins at the beginning
when Medicare is secondary by law are subject to the                      (12:00 a.m.) of the effective date of coverage indicated
same Premiums and receive the same benefits as                            below, except that your Group may have additional
Members who are under age 65 and do not have                              requirements that we have approved, which allow
Medicare. In addition, any such Member for whom                           enrollment in other situations.
Medicare is secondary by law and who meets the
eligibility requirements for the Kaiser Permanente Senior                 If you are eligible to be a Dependent under this Evidence
Advantage plan applicable when Medicare is secondary                      of Coverage but the subscriber in your family is enrolled
may also enroll in that plan if it is available. These                    under a Kaiser Permanente Senior Advantage evidence
Members receive the benefits and coverage described in                    of coverage offered by your Group (or an evidence of
this Evidence of Coverage and the Kaiser Permanente                       coverage for one of our other plans that your Group
Senior Advantage evidence of coverage applicable when                     offers that requires members to have Medicare), the rules
Medicare is secondary.                                                    for enrollment of Dependents in this "When You Can
                                                                          Enroll and When Coverage Begins" section apply, not
Medicare late enrollment penalties. If you become                         the rules for enrollment of dependents in the subscriber's
eligible for Medicare Part B and do not enroll, Medicare                  evidence of coverage.
may require you to pay a late enrollment penalty if you
later enroll in Medicare Part B. However, if you delay                    New employees
enrollment in Part B because you or your husband or                       When your Group informs you that you are eligible to
wife are still working and have coverage through an                       enroll as a Subscriber, you may enroll yourself and any
employer group health plan, you may not have to pay the                   eligible Dependents by submitting a Health Plan–
penalty. Also, if you are (or become) eligible for                        approved enrollment application to your Group within 31
Medicare and go without creditable prescription drug                      days.
coverage (drug coverage that is at least as good as the
standard Medicare Part D prescription drug coverage) for                  Effective date of coverage. The effective date of
a continuous period of 63 days or more, you may have to                   coverage for new employees and their eligible family
pay a late enrollment penalty if you later sign up for                    Dependents is determined by your Group.
Medicare prescription drug coverage. If you are (or
become) eligible for Medicare, your Group is responsible                  Adding new Dependents to an existing account
for informing you about whether your drug coverage
                                                                          To enroll a Dependent who first becomes eligible to
under this Evidence of Coverage is creditable
                                                                          enroll after you became a Subscriber (such as a new
prescription drug coverage at the times required by the
                                                                          Spouse, a newborn child, or a newly adopted child), you
Centers for Medicare & Medicaid Services and upon
                                                                          must submit a Health Plan–approved change of
your request.
                                                                          enrollment form to your Group within 31 days after the
                                                                          Dependent first becomes eligible.
Capacity limit. You may be ineligible to enroll in Kaiser
Permanente Senior Advantage if that plan has reached a
                                                                          Effective date of coverage. The effective date of
capacity limit that the Centers for Medicare & Medicaid
                                                                          coverage for newly acquired Dependents is as follows:
Services has approved. This limitation does not apply
if you are currently a Health Plan Member in the                           For a newborn child, coverage is effective from the
Northern California or Southern California Region who                       moment of birth. However, if you do not enroll the
is eligible for Medicare (for example, when you turn age                    newborn child within 31 days, the newborn is covered
65).                                                                        for only 31 days (including the date of birth)
                                                                           For a newly adopted child or child placed with you or
                                                                            your Spouse for adoption, coverage is effective on the
                                                                            date of adoption or the date when you or your Spouse
                                                                            have newly assumed a legal right to control health


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 10
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 22 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   care in anticipation of adoption. For purposes of this                 Special enrollment due to loss of other coverage. You
                                                                                                                                           E
   requirement, "legal right to control health care"                      may enroll as a Subscriber (along with any eligible
   means you have a signed written document (such as a                    Dependents), and existing Subscribers may add eligible           O
   health facility minor release report, a medical                        Dependents, if all of the following are true:                    C
   authorization form, or a relinquishment form) or other                  The Subscriber or at least one of the Dependents had
   evidence that shows you or your Spouse have the
   legal right to control the child's health care
                                                                            other coverage when he or she previously declined all          4
                                                                            coverage through your Group
 For all other newly acquired Dependents, the                             The loss of the other coverage is due to one of the
  effective date of coverage is determined by your                          following:
  Group
                                                                                 exhaustion of COBRA coverage
Open enrollment                                                                  termination of employer contributions for non-
You may enroll as a Subscriber (along with any eligible                            COBRA coverage
Dependents), and existing Subscribers may add eligible                           loss of eligibility for non-COBRA coverage, but
Dependents, by submitting a Health Plan–approved                                   not termination for cause or termination from an
enrollment application to your Group during your                                   individual (nongroup) plan for nonpayment. For
Group's open enrollment period. Your Group will let you                            example, this loss of eligibility may be due to legal
know when the open enrollment period begins and ends                               separation or divorce, moving out of the plan's
and the effective date of coverage.                                                service area, reaching the age limit for dependent
                                                                                   children, or the subscriber's death, termination of
Special enrollment                                                                 employment, or reduction in hours of employment
If you do not enroll when you are first eligible and later                       loss of eligibility (but not termination for cause)
want to enroll, you can enroll only during open                                    for coverage through Covered California,
enrollment unless one of the following is true:                                    Medicaid coverage (known as Medi-Cal in
 You become eligible as described in this "Special                                California), Children's Health Insurance Program
  enrollment" section                                                              coverage (known as the Healthy Families Program
                                                                                   in California), or Access for Infants and Mothers
 You did not enroll in any coverage offered by your                               Program coverage
  Group when you were first eligible and your Group
                                                                                 reaching a lifetime maximum on all benefits
  does not give us a written statement that verifies you
  signed a document that explained restrictions about
  enrolling in the future. The effective date of an                       Note: If you are enrolling yourself as a Subscriber along
  enrollment resulting from this provision is no later                    with at least one eligible Dependent, only one of you
  than the first day of the month following the date                      must meet the requirements stated above.
  your Group receives a Health Plan–approved
  enrollment or change of enrollment application from                     To request enrollment, the Subscriber must submit a
  the Subscriber                                                          Health Plan–approved enrollment or change of
                                                                          enrollment application to your Group within 30 days
Special enrollment due to new Dependents. You may                         after loss of other coverage, except that the timeframe for
enroll as a Subscriber (along with eligible Dependents),                  submitting the application is 60 days if you are
and existing Subscribers may add eligible Dependents,                     requesting enrollment due to loss of eligibility for
within 30 days after marriage, establishment of domestic                  coverage through Covered California, Medicaid,
partnership, birth, adoption, or placement in anticipation                Children's Health Insurance Program, or Access for
of adoption by submitting to your Group a Health Plan–                    Infants and Mothers Program coverage. The effective
approved enrollment application.                                          date of an enrollment resulting from loss of other
                                                                          coverage is no later than the first day of the month
                                                                          following the date your Group receives an enrollment or
The effective date of an enrollment resulting from
                                                                          change of enrollment application from the Subscriber.
marriage or establishment of domestic partnership is no
later than the first day of the month following the date
your Group receives an enrollment application from the                    Special enrollment due to court or administrative
Subscriber. Enrollments due to birth, adoption, or                        order. Within 31 days after the date of a court or
placement in anticipation of adoption are effective on the                administrative order requiring a Subscriber to provide
date of birth, date of adoption, or the date you or your                  health care coverage for a Spouse or child who meets the
Spouse have newly assumed a legal right to control                        eligibility requirements as a Dependent, the Subscriber
health care in anticipation of adoption.                                  may add the Spouse or child as a Dependent by


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 11
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 23 of 77


submitting to your Group a Health Plan–approved                           Our medical care program gives you access to all of the
enrollment or change of enrollment application.                           covered Services you may need, such as routine care
                                                                          with your own personal Plan Physician, hospital care,
The effective date of coverage resulting from a court or                  laboratory and pharmacy Services, Emergency Services,
administrative order is the first of the month following                  Urgent Care, and other benefits described in the
the date we receive the enrollment request, unless your                   "Benefits and Your Cost Share" section.
Group specifies a different effective date (if your Group
specifies a different effective date, the effective date
cannot be earlier than the date of the order).                            Routine Care
                                                                          If you need the following Services, you should schedule
Special enrollment due to eligibility for premium
                                                                          an appointment:
assistance. You may enroll as a Subscriber (along with
eligible Dependents), and existing Subscribers may add                     Preventive Care Services
eligible Dependents, if you or a dependent become                          Periodic follow-up care (regularly scheduled follow-
eligible for premium assistance through the Medi-Cal                        up care, such as visits to monitor a chronic condition)
program. Premium assistance is when the Medi-Cal
program pays all or part of premiums for employer group                    Other care that is not Urgent Care
coverage for a Medi-Cal beneficiary. To request
enrollment in your Group's health care coverage, the                      To make a non-urgent appointment, please refer to Your
Subscriber must submit a Health Plan–approved                             Guidebook for appointment telephone numbers, or go to
enrollment or change of enrollment application to your                    our website at kp.org to request an appointment online.
Group within 60 days after you or a dependent become
eligible for premium assistance. Please contact the
California Department of Health Care Services to find
                                                                          Urgent Care
out if premium assistance is available and the eligibility                An Urgent Care need is one that requires prompt medical
requirements.                                                             attention but is not an Emergency Medical Condition.
                                                                          If you think you may need Urgent Care, call the
Special enrollment due to reemployment after                              appropriate appointment or advice telephone number at a
military service. If you terminated your health care                      Plan Facility. Please refer to Your Guidebook for
coverage because you were called to active duty in the                    appointment and advice telephone numbers.
military service, you may be able to reenroll in your
Group's health plan if required by state or federal law.                  For information about Out-of-Area Urgent Care, please
Please ask your Group for more information.                               refer to "Urgent Care" in the "Emergency Services and
                                                                          Urgent Care" section.

How to Obtain Services                                                    Not Sure What Kind of Care You Need?
As a Member, you are selecting our medical care                           Sometimes it's difficult to know what kind of care you
program to provide your health care. You must receive                     need, so we have licensed health care professionals
all covered care from Plan Providers inside our Service                   available to assist you by phone 24 hours a day, seven
Area, except as described in the sections listed below for                days a week. Here are some of the ways they can help
the following Services:                                                   you:
 Authorized referrals as described under "Getting a                       They can answer questions about a health concern,
  Referral" in this "How to Obtain Services" section                        and instruct you on self-care at home if appropriate
 Emergency ambulance Services as described under                          They can advise you about whether you should get
  "Ambulance Services" in the "Benefits and Your Cost                       medical care, and how and where to get care (for
  Share" section                                                            example, if you are not sure whether your condition is
 Emergency Services, Post-Stabilization Care, and                          an Emergency Medical Condition, they can help you
  Out-of-Area Urgent Care as described in the                               decide whether you need Emergency Services or
  "Emergency Services and Urgent Care" section                              Urgent Care, and how and where to get that care)
 Hospice care as described under "Hospice Care" in                        They can tell you what to do if you need care and a
  the "Benefits and Your Cost Share" section                                Plan Medical Office is closed or you are outside our
                                                                            Service Area


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 12
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 24 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
You can reach one of these licensed health care                            Generalists in internal medicine, pediatrics, and           E
professionals by calling the appointment or advice                          family practice
telephone number listed in Your Guidebook. When you                                                                                     O
                                                                           Specialists in optometry, psychiatry, chemical
call, a trained support person may ask you questions to
                                                                            dependency, and obstetrics/gynecology
                                                                                                                                        C
help determine how to direct your call.
                                                                          Although a referral or prior authorization is not required    4
Your Personal Plan Physician                                              to receive most care from these providers, a referral may
                                                                          be required in the following situations:
Personal Plan Physicians provide primary care and play                     The provider may have to get prior authorization for
an important role in coordinating care, including hospital                  certain Services in accord with "Medical Group
stays and referrals to specialists.                                         authorization procedure for certain referrals" in this
                                                                            "Getting a Referral" section
We encourage you to choose a personal Plan Physician.
You may choose any available personal Plan Physician.                      The provider may have to refer you to a specialist
Parents may choose a pediatrician as the personal Plan                      who has a clinical background related to your illness
Physician for their child. Most personal Plan Physicians                    or condition
are Primary Care Physicians (generalists in internal
medicine, pediatrics, or family practice, or specialists in               Medical Group authorization procedure for
obstetrics/gynecology whom the Medical Group                              certain referrals
designates as Primary Care Physicians). Some specialists                  The following Services require prior authorization by the
who are not designated as Primary Care Physicians but                     Medical Group for the Services to be covered ("prior
who also provide primary care may be available as                         authorization" means that the Medical Group must
personal Plan Physicians. For example, some specialists                   approve the Services in advance):
in internal medicine and obstetrics/gynecology who are                     Durable medical equipment. If your Plan Physician
not designated as Primary Care Physicians may be                            prescribes durable medical equipment, he or she will
available as personal Plan Physicians.                                      submit a written referral to the Plan Hospital's durable
                                                                            medical equipment coordinator, who will authorize
To learn how to select a personal Plan Physician, please                    the durable medical equipment if he or she
refer to Your Guidebook or call our Member Service                          determines that your durable medical equipment
Contact Center. You can find a directory of our Plan                        coverage includes the item and that the item is listed
Physicians on our website at kp.org. For the current list                   on our formulary for your condition. If the item
of physicians that are available as Primary Care                            doesn't appear to meet our durable medical equipment
Physicians, please call the personal physician selection                    formulary guidelines, then the durable medical
department at the phone number listed in Your                               equipment coordinator will contact the Plan Physician
Guidebook. You can change your personal Plan                                for additional information. If the durable medical
Physician for any reason.                                                   equipment request still doesn't appear to meet our
                                                                            durable medical equipment formulary guidelines, it
                                                                            will be submitted to the Medical Group's designee
Getting a Referral                                                          Plan Physician, who will authorize the item if he or
                                                                            she determines that it is Medically Necessary. For
Referrals to Plan Providers
                                                                            more information about our durable medical
A Plan Physician must refer you before you can receive
                                                                            equipment formulary, please refer to "Durable
care from specialists, such as specialists in surgery,
                                                                            Medical Equipment for Home Use" in the "Benefits
orthopedics, cardiology, oncology, urology,
                                                                            and Your Cost Share" section
dermatology, and physical, occupational, and speech
therapies. Also, a Plan Physician must refer you before                    Ostomy and urological supplies. If your Plan
you can get care from Qualified Autism Service                              Physician prescribes ostomy or urological supplies,
Providers covered under "Behavioral Health Treatment                        he or she will submit a written referral to the Plan
for Pervasive Developmental Disorder or Autism" in the                      Hospital's designated coordinator, who will authorize
"Benefits and Your Cost Share" section. However, you                        the item if he or she determines that it is covered and
do not need a referral or prior authorization to receive                    the item is listed on our soft goods formulary for your
most care from any of the following Plan Providers:                         condition. If the item doesn't appear to meet our soft
                                                                            goods formulary guidelines, then the coordinator will
 Your personal Plan Physician
                                                                            contact the Plan Physician for additional information.
                                                                            If the request still doesn't appear to meet our soft


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 13
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 25 of 77


   goods formulary guidelines, it will be submitted to                    decision. If the Medical Group needs more time to make
   the Medical Group's designee Plan Physician, who                       the decision because it doesn't have information
   will authorize the item if he or she determines that it                reasonably necessary to make the decision, or because it
   is Medically Necessary. For more information about                     has requested consultation by a particular specialist, you
   our soft goods formulary, please refer to "Ostomy and                  and your treating physician will be informed about the
   Urological Supplies" in the "Benefits and Your Cost                    additional information, testing, or specialist that is
   Share" section                                                         needed, and the date that the Medical Group expects to
 Services not available from Plan Providers. If your                     make a decision.
  Plan Physician decides that you require covered
  Services not available from Plan Providers, he or she                   Your treating physician will be informed of the decision
  will recommend to the Medical Group that you be                         within 24 hours after the decision is made. If the Services
  referred to a Non–Plan Provider inside or outside our                   are authorized, your physician will be informed of the
  Service Area. The appropriate Medical Group                             scope of the authorized Services. If the Medical Group
  designee will authorize the Services if he or she                       does not authorize all of the Services, Health Plan will
  determines that they are Medically Necessary and are                    send you a written decision and explanation within two
  not available from a Plan Provider. Referrals to Non–                   business days after the decision is made. Any written
  Plan Physicians will be for a specific treatment plan,                  criteria that the Medical Group uses to make the decision
  which may include a standing referral if ongoing care                   to authorize, modify, delay, or deny the request for
  is prescribed. Please ask your Plan Physician what                      authorization will be made available to you upon request.
  Services have been authorized
                                                                          If the Medical Group does not authorize all of the
 Transgender surgery. If your treating Plan Provider                     Services requested and you want to appeal the decision,
  makes a written referral for transgender surgical                       you can file a grievance as described under "Grievances"
  Services (genital surgery or mastectomy), the Medical                   in the "Dispute Resolution" section.
  Group's Transgender Surgery Review Board will
  authorize the Services if it determines that the
                                                                          Your Cost Share. Your Cost Share for these referral
  Services meet the requirements described in the
                                                                          Services is the Cost Share required for Services provided
  Medical Group's transgender surgery guidelines,
                                                                          by a Plan Provider as described in the "Benefits and
  which are available upon request
                                                                          Your Cost Share" section.
 Transplants. If your Plan Physician makes a written
  referral for a transplant, the Medical Group's regional                 More information. This description is only a brief
  transplant advisory committee or board (if one exists)                  summary of the authorization procedure. The policies
  will authorize the Services if it determines that they                  and procedures (including a description of the
  are Medically Necessary. In cases where no                              authorization procedure or information about the
  transplant committee or board exists, the Medical                       authorization procedure applicable to some Plan
  Group will refer you to physician(s) at a transplant                    Providers other than Kaiser Foundation Hospitals and the
  center, and the Medical Group will authorize the                        Medical Group) are available upon request from our
  Services if the transplant center's physician(s)                        Member Service Contact Center. Please refer to "Post-
  determine that they are Medically Necessary. Note: A                    Stabilization Care" under "Emergency Services" in the
  Plan Physician may provide or authorize a corneal                       "Emergency Services and Urgent Care" section for
  transplant without using this Medical Group                             authorization requirements that apply to Post-
  transplant authorization procedure                                      Stabilization Care from Non–Plan Providers.

Decisions regarding requests for authorization will be                    Completion of Services from Non–Plan
made only by licensed physicians or other appropriately                   Providers
licensed medical professionals.                                           New Member. If you are currently receiving Services
                                                                          from a Non–Plan Provider in one of the cases listed
Medical Group's decision time frames. The applicable                      below under "Eligibility" and your prior plan's coverage
Medical Group designee will make the authorization                        of the provider's Services has ended or will end when
decision within the time frame appropriate for your                       your coverage with us becomes effective, you may be
condition, but no later than five business days after                     eligible for limited coverage of that Non–Plan Provider's
receiving all of the information (including additional                    Services.
examination and test results) reasonably necessary to
make the decision, except that decisions about urgent                     Terminated provider. If you are currently receiving
Services will be made no later than 72 hours after receipt                covered Services in one of the cases listed below under
of the information reasonably necessary to make the

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 14
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 26 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
"Eligibility" from a Plan Hospital or a Plan Physician (or                To qualify for this completion of Services coverage, all
                                                                                                                                        E
certain other providers) when our contract with the                       of the following requirements must be met:
provider ends (for reasons other than medical                                                                                           O
                                                                           Your Health Plan coverage is in effect on the date
disciplinary cause or criminal activity), you may be                        you receive the Service
                                                                                                                                        C
eligible for limited coverage of that terminated provider's
Services.                                                                  For new Members, your prior plan's coverage of the
                                                                            provider's Services has ended or will end when your         4
Eligibility. The cases that are subject to this completion                  coverage with us becomes effective
of Services provision are:                                                 You are receiving Services in one of the cases listed
 Acute conditions, which are medical conditions that                       above from a Non–Plan Provider on your effective
  involve a sudden onset of symptoms due to an illness,                     date of coverage if you are a new Member, or from
  injury, or other medical problem that requires prompt                     the terminated Plan Provider on the provider's
  medical attention and has a limited duration. We may                      termination date
  cover these Services until the acute condition ends                      For new Members, when you enrolled in Health Plan,
 We may cover Services for serious chronic conditions                      you did not have the option to continue with your
  until the earlier of (1) 12 months from your effective                    previous health plan or to choose another plan
  date of coverage if you are a new Member, (2) 12                          (including an out-of-network option) that would
  months from the termination date of the terminated                        cover the Services of your current Non–Plan Provider
  provider, or (3) the first day after a course of                         The provider agrees to our standard contractual terms
  treatment is complete when it would be safe to                            and conditions, such as conditions pertaining to
  transfer your care to a Plan Provider, as determined                      payment and to providing Services inside our Service
  by Kaiser Permanente after consultation with the                          Area
  Member and Non–Plan Provider and consistent with
                                                                           The Services to be provided to you would be covered
  good professional practice. Serious chronic
                                                                            Services under this Evidence of Coverage if provided
  conditions are illnesses or other medical conditions
                                                                            by a Plan Provider
  that are serious, if one of the following is true about
  the condition:                                                           You request completion of Services within 30 days
    it persists without full cure                                          (or as soon as reasonably possible) from your
                                                                            effective date of coverage if you are a new Member
    it worsens over an extended period of time
                                                                            or from the termination date of the Plan Provider
    it requires ongoing treatment to maintain
       remission or prevent deterioration                                 Your Cost Share. Your Cost Share for completion of
 Pregnancy and immediate postpartum care. We may                         Services is the Cost Share required for Services provided
  cover these Services for the duration of the pregnancy                  by a Plan Provider as described in the "Benefits and
  and immediate postpartum care                                           Your Cost Share" section.
 Terminal illnesses, which are incurable or irreversible
                                                                          More information. For more information about this
  illnesses that have a high probability of causing death
                                                                          provision, or to request the Services or a copy of our
  within a year or less. We may cover completion of
                                                                          "Completion of Covered Services" policy, please call our
  these Services for the duration of the illness
                                                                          Member Service Contact Center.
 Care for children under age 3. We may cover
  completion of these Services until the earlier of (1) 12
  months from the child's effective date of coverage                      Second Opinions
  if the child is a new Member, (2) 12 months from the
  termination date of the terminated provider, or (3) the                 If you want a second opinion, you can either ask your
  child's third birthday                                                  Plan Physician to help you arrange one, or you can make
                                                                          an appointment with another Plan Physician. If there isn't
 Surgery or another procedure that is documented as                      a Plan Physician who is an appropriately qualified
  part of a course of treatment and has been                              medical professional for your condition, the appropriate
  recommended and documented by the provider to                           Medical Group designee will authorize a consultation
  occur within 180 days of your effective date of                         with a Non–Plan Physician for a second opinion. For
  coverage if you are a new Member or within 180 days                     purposes of this "Second Opinions" provision, an
  of the termination date of the terminated provider                      "appropriately qualified medical professional" is a
                                                                          physician who is acting within his or her scope of
                                                                          practice and who possesses a clinical background related

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 15
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 27 of 77


to the illness or condition associated with the request for               under "Getting a Referral" in this "How to Obtain
a second medical opinion.                                                 Services" section.

Here are some examples of when a second opinion may                       Provider groups and hospitals. If you are assigned to a
be provided or authorized:                                                provider group or hospital whose contract with us
 Your Plan Physician has recommended a procedure                         terminates, or if you live within 15 miles of a hospital
  and you are unsure about whether the procedure is                       whose contract with us terminates, we will give you
  reasonable or necessary                                                 written notice at least 60 days before the termination (or
                                                                          as soon as reasonably possible).
 You question a diagnosis or plan of care for a
  condition that threatens substantial impairment or loss
  of life, limb, or bodily functions                                      Visiting Other Regions
 The clinical indications are not clear or are complex
  and confusing                                                           If you visit the service area of another Region
                                                                          temporarily (not more than 90 days), you can receive
 A diagnosis is in doubt due to conflicting test results
                                                                          visiting member care from designated providers in that
 The Plan Physician is unable to diagnose the                            area. Visiting member care is described in our visiting
  condition                                                               member brochure. Visiting member care and your out-
 The treatment plan in progress is not improving your                    of-pocket costs may differ from the covered Services and
  medical condition within an appropriate period of                       Cost Share described in this Evidence of Coverage.
  time, given the diagnosis and plan of care
 You have concerns about the diagnosis or plan of care                   The 90-day limit on visiting member care does not apply
                                                                          to Members who attend an accredited college or
Your Cost Share. Your Cost Share for these referral                       accredited vocational school. The service areas and
Services is the Cost Share required for Services provided                 facilities where you may obtain visiting member care
by a Plan Provider as described in the "Benefits and                      may change at any time without notice.
Your Cost Share" section.
                                                                          Please call our Member Service Contact Center for more
                                                                          information about visiting member care, including
Contracts with Plan Providers                                             facility locations in the service area of another Region,
                                                                          and to request a copy of the visiting member brochure.
How Plan Providers are paid
Health Plan and Plan Providers are independent
contractors. Plan Providers are paid in a number of ways,                 Your ID Card
such as salary, capitation, per diem rates, case rates, fee
for service, and incentive payments. To learn more about                  Each Member's Kaiser Permanente ID card has a medical
how Plan Physicians are paid to provide or arrange                        record number on it, which you will need when you call
medical and hospital care for Members, please ask your                    for advice, make an appointment, or go to a provider for
Plan Physician or call our Member Service Contact                         covered care. When you get care, please bring your
Center.                                                                   Kaiser Permanente ID card and a photo ID. Your
                                                                          medical record number is used to identify your medical
Financial liability                                                       records and membership information. Your medical
                                                                          record number should never change. Please call our
Our contracts with Plan Providers provide that you are
                                                                          Member Service Contact Center if we ever inadvertently
not liable for any amounts we owe. However, you may
                                                                          issue you more than one medical record number or if you
have to pay the full price of noncovered Services you
                                                                          need to replace your Kaiser Permanente ID card.
obtain from Plan Providers or Non–Plan Providers.
                                                                          Your ID card is for identification only. To receive
Termination of a Plan Provider's contract
                                                                          covered Services, you must be a current Member.
If our contract with any Plan Provider terminates while
                                                                          Anyone who is not a Member will be billed as a non-
you are under the care of that provider, we will retain
                                                                          Member for any Services he or she receives. If you let
financial responsibility for covered care you receive from
                                                                          someone else use your ID card, we may keep your ID
that provider until we make arrangements for the
                                                                          card and terminate your membership as described under
Services to be provided by another Plan Provider and
                                                                          "Termination for Cause" in the "Termination of
notify you of the arrangements. You may be eligible to
                                                                          Membership" section.
receive Services from a terminated provider; please refer
to "Completion of Services from Non–Plan Providers"

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 16
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 28 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Getting Assistance                                                        Plan Facilities                                               E
We want you to be satisfied with the health care you                                                                                    O
                                                                          Plan Medical Offices and Plan Hospitals for your area
receive from Kaiser Permanente. If you have any
                                                                          are listed in Your Guidebook to Kaiser Permanente
                                                                                                                                        C
questions or concerns, please discuss them with your
                                                                          Services (Your Guidebook) and on our website at kp.org.
personal Plan Physician or with other Plan Providers
who are treating you. They are committed to your
                                                                          Your Guidebook describes the types of covered Services        4
                                                                          that are available from each Plan Facility in your area,
satisfaction and want to help you with your questions.
                                                                          because some facilities provide only specific types of
                                                                          covered Services. Also, it explains how to use our
Member Services
                                                                          Services and make appointments, lists hours of
Many Plan Facilities have an office staffed with                          operation, and includes a detailed telephone directory for
representatives who can provide assistance if you need                    appointments and advice. If you have any questions
help obtaining Services. At different locations, these                    about the current locations of Plan Medical Offices
offices may be called Member Services, Patient                            and/or Plan Hospitals, please call our Member Service
Assistance, or Customer Service. In addition, our
                                                                          Contact Center.
Member Service Contact Center representatives are
available to assist you toll free 24 hours a day, seven
                                                                          At most of our Plan Facilities, you can usually receive all
days a week (except closed holidays, and closed after 5
                                                                          of the covered Services you need, including specialty
p.m. the day after Thanksgiving, after 5 p.m. on
                                                                          care, pharmacy, and lab work. You are not restricted to a
Christmas Eve, and after 5 p.m. on New Year's Eve) as
                                                                          particular Plan Facility, and we encourage you to use the
follows:
                                                                          facility that will be most convenient for you:
 English: 1-800-464-4000
                                                                           All Plan Hospitals provide inpatient Services and are
 Spanish: 1-800-788-0616                                                   open 24 hours a day, seven days a week
 Chinese dialects: 1-800-757-7585                                         Emergency Services are available from Plan Hospital
 TTY for the deaf, hard of hearing, or speech impaired                     Emergency Departments as described in Your
  from 5 a.m. to 8 p.m.: 1-800-777-1370                                     Guidebook (please refer to Your Guidebook for
                                                                            Emergency Department locations in your area)
 TTY for the deaf, hard of hearing, or speech impaired
  from 8 p.m. to 5 a.m.: 711                                               Same–day Urgent Care appointments are available at
                                                                            many locations (please refer to Your Guidebook for
For your convenience, you can also contact us through                       Urgent Care locations in your area)
our website at kp.org.                                                     Many Plan Medical Offices have evening and
                                                                            weekend appointments
Member Services representatives at our Plan Facilities                     Many Plan Facilities have a Member Services
and Member Service Contact Center can answer any                            Department (refer to Your Guidebook for locations in
questions you have about your benefits, available                           your area)
Services, and the facilities where you can receive care.
For example, they can explain your Health Plan benefits,                  Note: State law requires evidence of coverage documents
how to make your first medical appointment, what to do                    to include the following notice:
if you move, what to do if you need care while you are
traveling, and how to replace your ID card. These                         Some hospitals and other providers do not
representatives can also help you if you need to file a                   provide one or more of the following services
claim as described in the "Emergency Services and
                                                                          that may be covered under your plan
Urgent Care" section or with any issues as described in
the "Dispute Resolution" section.                                         contract and that you or your family
                                                                          member might need: family planning;
Interpreter services                                                      contraceptive services, including emergency
If you need interpreter services when you call us or when                 contraception; sterilization, including tubal
you get covered Services, please let us know. Interpreter                 ligation at the time of labor and delivery;
services, including sign language, are available during all
business hours at no cost to you. For more information
                                                                          infertility treatments; or abortion. You
on the interpreter services we offer, please call our                     should obtain more information before you
Member Service Contact Center.                                            enroll. Call your prospective doctor, medical
                                                                          group, independent practice association, or

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 17
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 29 of 77


clinic, or call the Kaiser Permanente                                     Provider provide your care, we may authorize special
Member Service Contact Center, to ensure                                  transportation services that are medically required to get
                                                                          you to the provider. This may include transportation that
that you can obtain the health care services                              is otherwise not covered.
that you need.
                                                                          Be sure to ask the Non–Plan Provider to tell you what
Please be aware that if a Service is covered but not                      care (including any transportation) we have authorized
available at a particular Plan Facility, we will make it                  because we will not cover unauthorized Post-
available to you at another facility.                                     Stabilization Care or related transportation provided by
                                                                          Non–Plan Providers. If you receive care from a Non–
                                                                          Plan Provider that we have not authorized, you may have
Emergency Services and Urgent                                             to pay the full cost of that care. If you are admitted to a
                                                                          Non–Plan Hospital, please notify us as soon as possible
Care                                                                      by calling 1-800-225-8883 or the notification telephone
                                                                          number on your Kaiser Permanente ID card.

Emergency Services                                                        Your Cost Share
If you have an Emergency Medical Condition, call 911                      Your Cost Share for covered Emergency Services and
(where available) or go to the nearest hospital                           Post-Stabilization Care is the Cost Share that you would
Emergency Department. You do not need prior                               pay if a Plan Provider had provided the Services and the
authorization for Emergency Services. When you have                       Services were not Emergency Services or Post-
an Emergency Medical Condition, we cover Emergency                        Stabilization Care. For example:
Services you receive from Plan Providers or Non–Plan                       If you receive Emergency Services in the Emergency
Providers anywhere in the world if the Services would                       Department of a Non–Plan Hospital, you pay the Cost
have been covered under the "Benefits and Your Cost                         Share for an Emergency Department visit as
Share" section (subject to the "Exclusions, Limitations,                    described under "Outpatient Care"
Coordination of Benefits, and Reductions" section)
                                                                           If we gave prior authorization for inpatient Post-
if you had received them from Plan Providers.
                                                                            Stabilization Care in a Non–Plan Hospital, you pay
                                                                            the Cost Share for hospital inpatient care as described
Emergency Services are available from Plan Hospital
                                                                            under "Hospital Inpatient Care"
Emergency Departments 24 hours a day, seven days a
week.
                                                                          Urgent Care
Post-Stabilization Care
Post-Stabilization Care is Medically Necessary Services                   Inside the Service Area
related to your Emergency Medical Condition that you                      An Urgent Care need is one that requires prompt medical
receive in a hospital (including the Emergency                            attention but is not an Emergency Medical Condition.
Department) after your treating physician determines that                 If you think you may need Urgent Care, call the
this condition is Stabilized. We cover Post-Stabilization                 appropriate appointment or advice telephone number at a
Care from a Non–Plan Provider only if we provide prior                    Plan Facility. Please refer to Your Guidebook for
authorization for the care or if otherwise required by                    appointment and advice telephone numbers.
applicable law ("prior authorization" means that we must
approve the Services in advance).                                         Out-of-Area Urgent Care
                                                                          If you need Urgent Care due to an unforeseen illness,
To request prior authorization, the provider must call                    unforeseen injury, or unforeseen complication of an
1-800-225-8883 or the notification telephone number on                    existing condition (including pregnancy), we cover
your Kaiser Permanente ID card before you receive the                     Medically Necessary Services to prevent serious
care. We will discuss your condition with the Non–Plan                    deterioration of your (or your unborn child's) health from
Provider. If we determine that you require Post-                          a Non–Plan Provider if all of the following are true:
Stabilization Care and that this care would be covered
                                                                           You receive the Services from Non–Plan Providers
if you received it from a Plan Provider, we will authorize
                                                                            while you are temporarily outside our Service Area
your care from the Non–Plan Provider or arrange to have
a Plan Provider (or other designated provider) provide                     A reasonable person would have believed that your
the care. If we decide to have a Plan Hospital, Plan                        (or your unborn child's) health would seriously
Skilled Nursing Facility, or designated Non–Plan


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 18
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 30 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   deteriorate if you delayed treatment until you returned                of-Area Urgent Care even if you receive the Services
                                                                                                                                        E
   to our Service Area                                                    from a Plan Provider, such as a Plan Pharmacy.
                                                                                                                                        O
You do not need prior authorization for Out-of-Area                       For information on how to file a claim, please see the        C
Urgent Care. We cover Out-of-Area Urgent Care you                         "Post-Service Claims and Appeals" section.
receive from Non–Plan Providers if the Services would                                                                                   4
have been covered under the "Benefits and Your Cost
Share" section (subject to the "Exclusions, Limitations,
Coordination of Benefits, and Reductions" section)
                                                                          Benefits and Your Cost Share
if you had received them from Plan Providers.
                                                                          We cover the Services described in this "Benefits and
We do not cover follow-up care from Non–Plan                              Your Cost Share" section, subject to the "Exclusions,
Providers after you no longer need Urgent Care. To                        Limitations, Coordination of Benefits, and Reductions"
obtain follow-up care from a Plan Provider, call the                      section, only if all of the following conditions are
appointment or advice telephone number listed in Your                     satisfied:
Guidebook.                                                                 You are a Member on the date that you receive the
                                                                            Services
Your Cost Share
                                                                           The Services are Medically Necessary
Your Cost Share for covered Urgent Care is the Cost
Share required for Services provided by Plan Providers                     The Services are one of the following:
as described in the "Benefits and Your Cost Share"                               health care items and services for preventive care
section. For example:                                                            health care items and services for diagnosis,
 If you receive an Urgent Care evaluation as part of                              assessment, or treatment
  covered Out-of-Area Urgent Care from a Non–Plan                                health education covered under "Health
  Provider, you pay the Cost Share for Urgent Care                                 Education" in this "Benefits and Your Cost Share"
  consultations, evaluations, and treatment as described                           section
  under "Outpatient Care"                                                        other health care items and services
 If the Out-of-Area Urgent Care you receive includes                      The Services are provided, prescribed, authorized, or
  an X-ray, you pay the Cost Share for an X-ray as                          directed by a Plan Physician except where
  described under "Outpatient Imaging, Laboratory, and                      specifically noted to the contrary in the sections listed
  Special Procedures" in addition to the Cost Share for                     below for the following Services:
  the Urgent Care evaluation
                                                                                 drugs prescribed by dentists as described under
                                                                                   "Outpatient Prescription Drugs, Supplies, and
Note: If you receive Urgent Care in an Emergency
                                                                                   Supplements" in this "Benefits and Your Cost
Department, you pay the Cost Share for an Emergency
                                                                                   Share" section
Department visit as described under "Outpatient Care."
                                                                                 emergency ambulance Services as described under
                                                                                   "Ambulance Services" in this "Benefits and Your
Payment and Reimbursement                                                          Cost Share" section
                                                                                 Emergency Services, Post-Stabilization Care, and
If you receive Emergency Services, Post-Stabilization                              Out-of-Area Urgent Care as described in the
Care, or Out-of-Area Urgent Care from a Non–Plan                                   "Emergency Services and Urgent Care" section
Provider as described in this "Emergency Services and
Urgent Care" section, or emergency ambulance Services                      You receive the Services from Plan Providers inside
described under "Ambulance Services" in the "Benefits                       our Service Area, except where specifically noted to
and Your Cost Share" section, you are not responsible                       the contrary in the sections listed below for the
for any amounts beyond your Cost Share for covered                          following Services:
Emergency Services. However, if the provider does not                            authorized referrals as described under "Getting a
agree to bill us, you may have to pay for the Services and                         Referral" in the "How to Obtain Services" section
file a claim for reimbursement. Also, you may be                                 emergency ambulance Services as described under
required to pay and file a claim for any Services                                  "Ambulance Services" in this "Benefits and Your
prescribed by a Non–Plan Provider as part of covered                               Cost Share" section
Emergency Services, Post-Stabilization Care, and Out-



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 19
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 31 of 77


    Emergency Services, Post-Stabilization Care, and                     General rules, examples, and exceptions
       Out-of-Area Urgent Care as described in the                        Your Cost Share for covered Services will be the Cost
       "Emergency Services and Urgent Care" section                       Share in effect on the date you receive the Services,
    hospice care as described under "Hospice Care" in                    except as follows:
       this "Benefits and Your Cost Share" section                         If you are receiving covered inpatient hospital or
 The Medical Group has given prior authorization for                       Skilled Nursing Facility Services on the effective date
  the Services if required under "Medical Group                             of this Evidence of Coverage, you pay the Cost Share
  authorization procedure for certain referrals" in the                     in effect on your admission date until you are
  "How to Obtain Services" section                                          discharged if the Services were covered under your
                                                                            prior Health Plan evidence of coverage and there has
The only Services we cover under this Evidence of                           been no break in coverage. However, if the Services
Coverage are those that this "Benefits and Your Cost                        were not covered under your prior Health Plan
Share" section says that we cover, subject to exclusions                    evidence of coverage, or if there has been a break in
and limitations described in this "Benefits and Your Cost                   coverage, you pay the Cost Share in effect on the date
Share" section and to all provisions in the "Exclusions,                    you receive the Services
Limitations, Coordination of Benefits, and Reductions"                     For items ordered in advance, you pay the Cost Share
section. The "Exclusions, Limitations, Coordination of                      in effect on the order date (although we will not cover
Benefits, and Reductions" section describes exclusions,                     the item unless you still have coverage for it on the
limitations, reductions, and coordination of benefits                       date you receive it) and you may be required to pay
provisions that apply to all Services that would otherwise                  the Cost Share when the item is ordered. For
be covered. When an exclusion or limitation applies only                    outpatient prescription drugs, the order date is the
to a particular benefit, it is listed in the description of that            date that the pharmacy processes the order after
benefit in this "Benefits and Your Cost Share" section.                     receiving all of the information they need to fill the
Also, please refer to:                                                      prescription
 The "Emergency Services and Urgent Care" section
  for information about how to obtain covered                             Cost Share for Services received by newborns. During
  Emergency Services, Post-Stabilization Care, and                        the 31 days of automatic coverage for newborn children
  Out-of-Area Urgent Care                                                 described under "Adding new Dependents to an existing
                                                                          account" under "When You Can Enroll and When
 Your Guidebook for the types of covered Services
                                                                          Coverage Begins" in the "Premiums, Eligibility, and
  that are available from each Plan Facility in your
                                                                          Enrollment" section the parent or guardian of the baby
  area, because some facilities provide only specific
                                                                          must pay the Cost Share indicated in this "Benefits and
  types of covered Services
                                                                          Your Cost Share" section for any Services that the baby
                                                                          receives, whether or not the baby is enrolled.
Your Cost Share
                                                                          Payment toward your Cost Share (and when you may
Your Cost Share is the amount you are required to pay                     be billed). In most cases, your provider will ask you to
for covered Services. The Cost Share for covered                          make a payment toward your Cost Share at the time you
Services is listed in this "Benefits and Your Cost Share"                 receive Services. If you receive more than one type of
section. For example, your Cost Share may be a                            Services (such as a physical exam and laboratory tests),
Copayment or Coinsurance. If your coverage includes a                     you may be required to pay separate Cost Shares for each
Plan Deductible and you receive Services that are subject                 of those Services. Keep in mind that your payment
to the Plan Deductible, your Cost Share for those                         toward your Cost Share may cover only a portion of your
Services will be Charges if you have not met the Plan                     total Cost Share for the Services you receive, and you
Deductible. Similarly, if your coverage includes a Drug                   will be billed for any additional amounts that are due.
Deductible, and you receive Services that are subject to                  The following are examples of when you may be asked
the Drug Deductible, your Cost Share will be Charges                      to pay (or you may be billed for) Cost Share amounts in
if you have not met the Drug Deductible.                                  addition to the amount you pay at check-in:
                                                                           You receive non-preventive Services during a
                                                                            preventive visit. For example, you go in for a routine
                                                                            physical maintenance exam, and at check-in you pay
                                                                            your Cost Share for the preventive exam (your Cost
                                                                            Share may be "no charge"). However, during your
                                                                            preventive exam your provider finds a problem with


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                  Page 20
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 32 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   your health and orders non-preventive Services to                      have to pay the full price of those Services. Payments
                                                                                                                                        E
   diagnose your problem (such as laboratory tests). You                  you make for noncovered Services do not apply to any
   may be asked to pay (or you will be billed for) your                   deductible or out-of-pocket maximum.                          O
   Cost Share for these additional non-preventive                                                                                       C
   diagnostic Services                                                    Drug Deductible
 You receive diagnostic Services during a treatment                      Please refer to "Outpatient Prescription Drugs, Supplies,     4
  visit. For example, you go in for treatment of an                       and Supplements" in this "Benefits and Your Cost Share"
  existing health condition, and at check-in you pay                      section for Services that are subject to the Drug
  your Cost Share for a treatment visit. However,                         Deductible and the Drug Deductible amount. When the
  during the visit your provider finds a new problem                      Cost Share Services is described as "subject to the Drug
  with your health and performs or orders diagnostic                      Deductible," your Cost Share for those Services will be
  Services (such as laboratory tests). You may be asked                   Charges if you have not met the Drug Deductible. Note:
  to pay (or you will be billed for) your Cost Share for                  When the Cost Share for the Services is described as "no
  these additional diagnostic Services                                    charge subject to the Drug Deductible," your Cost Share
                                                                          for those Services will be Charges if you have not met
 You receive treatment Services during a diagnostic                      the Drug Deductible.
  visit. For example, you go in for a diagnostic exam,
  and at check-in you pay your Cost Share for a                           Copayments and Coinsurance
  diagnostic exam. However, during the diagnostic
                                                                          The Copayment or Coinsurance you must pay for each
  exam your provider confirms a problem with your
                                                                          covered Service, after you meet any applicable
  health and performs treatment Services (such as an
                                                                          deductible, is described in this "Benefits and Your Cost
  outpatient procedure). You may be asked to pay (or
                                                                          Share" section.
  you will be billed for) your Cost Share for these
  additional treatment Services
                                                                          Calendar year out-of-pocket maximum
 You receive Services from a second provider during                      There is a limit to the total amount of Cost Share you
  your visit. For example, you go in for a diagnostic                     must pay under this Evidence of Coverage in the
  exam, and at check-in you pay your Cost Share for a                     calendar year for covered Services that you receive in the
  diagnostic exam. However, during the diagnostic                         same calendar year. The Services that apply to the
  exam your provider requests a consultation with a                       maximum are described under the "Payments that count
  specialist. You may be asked to pay (or you will be                     toward the maximum" section below. The limit is one of
  billed for) your Cost Share for the consultation with                   the following amounts:
  the specialist
                                                                           $3,000 per calendar year for self-only enrollment
In some cases, your provider will not ask you to make a                     (a Family of one Member)
payment at the time you receive Services, and you will                     $3,000 per calendar year for any one Member in
be billed for your Cost Share. The following are                            a Family of two or more Members
examples of when you will be billed:
                                                                           $6,000 per calendar year for an entire Family of two
 A Plan Provider is not able to collect Cost Share at                      or more Members
  the time you receive Services (for example, some
  Laboratory Departments are not able to collect Cost                     If you are a Member in a Family of two or more
  Shares)                                                                 Members, you reach the calendar year out-of-pocket
 You ask to be billed for some or all of your Cost                       maximum either when you meet the maximum for any
  Share                                                                   one Member, or when your Family reaches the Family
                                                                          maximum. For example, suppose you have reached the
 Medical Group authorizes a referral to a Non–Plan
                                                                          $3,000 maximum. For Services subject to the maximum,
  Provider and that provider does not collect your Cost
                                                                          you will not pay any more Cost Share during the rest of
  Share at the time you receive Services
                                                                          the calendar year, but every other Member in your
 You receive covered Emergency Services or Out-of-                       Family must continue to pay Cost Share during the
  Area Urgent Care from a Non–Plan Provider and that                      calendar year until your Family reaches the $6,000
  provider does not collect your Cost Share at the time                   maximum.
  you receive Services
                                                                          Payments that count toward the maximum. Any
Noncovered Services. If you receive Services that are                     Copayments and Coinsurance you pay for the following
not covered under this Evidence of Coverage, you may


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 21
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 33 of 77


Services, and any payments toward the Plan Deductible                     Preventive Care Services
(if applicable), apply toward the maximum:
                                                                          We cover a variety of Preventive Care Services. This
 Administered drugs
                                                                          "Preventive Care Services" section lists examples of
 Ambulance Services                                                      Preventive Care Services, but it does not explain
 Amino acid–modified products used to treat                              coverage. For coverage of Preventive Care Services,
  congenital errors of amino acid metabolism (such as                     please refer to the applicable benefit heading in this
  phenylketonuria)                                                        "Benefits and Your Cost Share" section, subject to the
                                                                          "Exclusions, Limitations, Coordination of Benefits, and
 Behavioral health treatment for pervasive                               Reductions" section. For example, for coverage of
  developmental disorder or autism                                        outpatient imaging Services, please refer to the
 Diabetic testing supplies and equipment and insulin-                    "Outpatient Imaging, Laboratory, and Special
  administration devices                                                  Procedures" section, subject to the "Exclusions,
 Emergency Department visits                                             Limitations, Coordination of Benefits, and Reductions"
                                                                          section.
 Home health care
 Hospice care                                                            The following Preventive Care Services are covered in
                                                                          other parts of this "Benefits and Your Cost Share"
 Hospital care
                                                                          section:
 Imaging, laboratory, and special procedures
                                                                           Routine physical maintenance exams, including well-
 Intensive psychiatric treatment programs                                  woman exams (refer to "Outpatient Care")
 Outpatient surgery                                                       Scheduled routine prenatal exams (refer to
 Prosthetic and orthotic devices                                           "Outpatient Care")

 Services performed during an office visit (including                     Well-child exams for children 0-23 months (refer to
  professional Services such as dialysis treatment,                         "Outpatient Care")
  health education counseling and programs, and                            Health education counseling programs (refer to
  physical, occupational, and speech therapy)                               "Health Education")
 Skilled Nursing Facility care                                            Immunizations (refer to "Outpatient Care")
 Transitional residential recovery Services for                           Routine preventive imaging and laboratory Services
  chemical dependency                                                       (refer to "Outpatient Imaging, Laboratory, and
                                                                            Special Procedures")
Copayments and Coinsurance you pay for Services that
are not listed above do not apply to your out-of-pocket
maximum. For these Services, you must pay Copayments                      Outpatient Care
or Coinsurance even if you have already reached your
out-of-pocket maximum.                                                    We cover the following outpatient care subject to the
                                                                          Cost Share indicated:
Note: If your plan includes supplemental chiropractic or                   Primary and specialty care consultations, evaluations,
acupuncture Services described in an Amendment to this                      and treatment (other than those described below in
Evidence of Coverage, those Services will not apply                         this "Outpatient Care" section): a $30 Copayment
toward the maximum. In addition, any amounts you pay                        per visit
that exceed an Allowance for a Service do not apply                        Preventive Care Services:
toward the maximum.
                                                                                 routine physical maintenance exams, including
                                                                                   well-woman exams: no charge
Keeping track of the maximum. When you pay Cost
Share that applies toward your out-of-pocket maximum,                            screening and counseling Services, such as obesity
ask for and keep the receipt. When the receipts add up to                         counseling, routine vision and hearing screenings,
your out-of-pocket maximum, please call our Member                                health education, and depression screening:
Service Contact Center to find out where to turn in your                          no charge
receipts. When you turn them in, we will give you a                              well-child preventive exams for Members through
document stating that you don't have to pay any more                              age 23 months: no charge
Cost Share for Services subject to your out-of-pocket
maximum through the end of the calendar year.


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 22
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 34 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
    after confirmation of pregnancy, the normal series                    House calls by a Plan Physician (or a Plan Provider         E
       of regularly scheduled preventive prenatal care                      who is a registered nurse) inside our Service Area
       exams: no charge                                                     when care can best be provided in your home as              O
    the first postpartum follow-up consultation and                        determined by a Plan Physician: no charge                   C
       exam: no charge                                                     Acupuncture Services (typically provided only for the
    alcohol and substance abuse screenings:                                treatment of nausea or as part of a comprehensive           4
     no charge                                                              pain management program for the treatment of
    developmental screenings to diagnose and assess                        chronic pain): a $30 Copayment per visit
     potential developmental delays: no charge                             Blood, blood products, and their administration:
    immunizations (including the vaccine)                                  no charge
     administered to you in a Plan Medical Office:                         Administered drugs (drugs, injectables, radioactive
     no charge                                                              materials used for therapeutic purposes, and allergy
    flexible sigmoidoscopies: no charge                                    test and treatment materials) prescribed in accord
    screening colonoscopies: no charge                                     with our drug formulary guidelines, if administration
                                                                            or observation by medical personnel is required and
 Allergy injections (including allergy serum): a                           they are administered to you in a Plan Medical Office
  $5 Copayment per visit                                                    or during home visits:
 Outpatient surgery: a $200 Copayment per                                       tuberculosis tests: no charge
  procedure if it is provided in an outpatient or
                                                                                 administered chemotherapy drugs: no charge
  ambulatory surgery center or in a hospital operating
  room, or if it is provided in any setting and a licensed                       all other administered drugs: no charge
  staff member monitors your vital signs as you regain                     Some types of outpatient consultations, evaluations,
  sensation after receiving drugs to reduce sensation or                    and treatment may be available as group
  to minimize discomfort. Any other outpatient surgery                      appointments, which we cover at a $15 Copayment
  is covered at a $30 Copayment per procedure                               per visit
 Outpatient procedures (other than surgery): a
  $200 Copayment per procedure if a licensed staff                        Coverage for Services related to "Outpatient
  member monitors your vital signs as you regain                          Care" described in other sections
  sensation after receiving drugs to reduce sensation or                  The following types of outpatient Services are covered
  to minimize discomfort. All outpatient procedures                       only as described under these headings in this "Benefits
  that do not require a licensed staff member to monitor                  and Your Cost Share" section:
  your vital signs as described above are covered at the                   Bariatric Surgery
  Cost Share that would otherwise apply for the
  procedure in this "Benefits and Your Cost Share"                         Behavioral Health Treatment for Pervasive
  section (for example, radiology procedures that do                        Developmental Disorder or Autism
  not require a licensed staff member to monitor your                      Chemical Dependency Services
  vital signs as described above are covered under
                                                                           Dental and Orthodontic Services
  "Outpatient Imaging, Laboratory, and Special
  Procedures")                                                             Dialysis Care
 Urgent Care consultations, evaluations, and                              Durable Medical Equipment for Home Use
  treatment: a $30 Copayment per visit                                     Family Planning Services
 Emergency Department visits: a $100 Copayment                            Health Education
  per visit. The Emergency Department Copayment
  does not apply if you are admitted directly to the                       Hearing Services
  hospital as an inpatient for covered Services, or if you                 Home Health Care
  are admitted for observation and are then admitted                       Hospice Care
  directly to the hospital as an inpatient for covered
  Services (for inpatient care, please refer to "Hospital                  Mental Health Services
  Inpatient Care" in this "Benefits and Your Cost                          Ostomy and Urological Supplies
  Share" section). However, the Emergency
                                                                           Outpatient Imaging, Laboratory, and Special
  Department Copayment does apply if you are
                                                                            Procedures
  admitted for observation but are not admitted as an
  inpatient

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 23
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 35 of 77


 Outpatient Prescription Drugs, Supplies, and                            Coverage for Services related to "Hospital
  Supplements                                                             Inpatient Care" described in other sections
 Prosthetic and Orthotic Devices                                         The following types of inpatient Services are covered
                                                                          only as described under the following headings in this
 Reconstructive Surgery                                                  "Benefits and Your Cost Share" section:
 Rehabilitative and Habilitative Services                                 Bariatric Surgery
 Services in Connection with a Clinical Trial                             Chemical Dependency Services
 Transplant Services                                                      Dental and Orthodontic Services
 Vision Services                                                          Dialysis Care
                                                                           Hospice Care
Hospital Inpatient Care                                                    Mental Health Services
We cover the following inpatient Services at a                             Prosthetic and Orthotic Devices
$400 Copayment per day in a Plan Hospital, when the                        Reconstructive Surgery
Services are generally and customarily provided by acute
care general hospitals inside our Service Area:                            Rehabilitative and Habilitative Services

 Room and board, including a private room                                 Services in Connection with a Clinical Trial
  if Medically Necessary                                                   Skilled Nursing Facility Care
 Specialized care and critical care units                                 Transplant Services
 General and special nursing care
 Operating and recovery rooms                                            Ambulance Services
 Services of Plan Physicians, including consultation
                                                                          Emergency
  and treatment by specialists
                                                                          We cover at a $75 Copayment per trip Services of a
 Anesthesia                                                              licensed ambulance anywhere in the world without prior
 Drugs prescribed in accord with our drug formulary                      authorization (including transportation through the 911
  guidelines (for discharge drugs prescribed when you                     emergency response system where available) in the
  are released from the hospital, please refer to                         following situations:
  "Outpatient Prescription Drugs, Supplies, and                            A reasonable person would have believed that the
  Supplements" in this "Benefits and Your Cost Share"                       medical condition was an Emergency Medical
  section)                                                                  Condition which required ambulance Services
 Radioactive materials used for therapeutic purposes                      Your treating physician determines that you must be
 Durable medical equipment and medical supplies                            transported to another facility because your
                                                                            Emergency Medical Condition is not Stabilized and
 Imaging, laboratory, and special procedures,
                                                                            the care you need is not available at the treating
  including MRI, CT, and PET scans                                          facility
 Blood, blood products, and their administration
 Obstetrical care and delivery (including cesarean                       If you receive emergency ambulance Services that are
  section). Note: If you are discharged within 48 hours                   not ordered by a Plan Provider, you are not responsible
  after delivery (or within 96 hours if delivery is by                    for any amounts beyond your Cost Share for covered
  cesarean section), your Plan Physician may order a                      emergency ambulance Services. However, if the provider
  follow-up visit for you and your newborn to take                        does not agree to bill us, you may have to pay for the
  place within 48 hours after discharge (for visits after                 Services and file a claim for reimbursement.
  you are released from the hospital, please refer to
  "Outpatient Care" in this "Benefits and Your Cost                       Nonemergency
  Share" section)                                                         Inside our Service Area, we cover nonemergency
                                                                          ambulance and psychiatric transport van Services at a
 Behavioral health treatment for pervasive
                                                                          $75 Copayment per trip if a Plan Physician determines
  developmental disorder or autism
                                                                          that your condition requires the use of Services that only
 Respiratory therapy                                                     a licensed ambulance (or psychiatric transport van) can
 Medical social services and discharge planning                          provide and that the use of other means of transportation


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 24
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 36 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
would endanger your health. These Services are covered                     Transportation for one companion to and from the             E
only when the vehicle transports you to or from covered                     facility up to $130 per round trip for a maximum of
Services.                                                                   two trips (the surgery and one follow-up visit),             O
                                                                            including any trips for which we provided                    C
Ambulance Services exclusion                                                reimbursement under any other evidence of coverage
 Transportation by car, taxi, bus, gurney van,                             offered by your Group
                                                                                                                                         4
  wheelchair van, and any other type of transportation                     One hotel room, double-occupancy, for you and one
  (other than a licensed ambulance or psychiatric                           companion not to exceed $100 per day for the pre-
  transport van), even if it is the only way to travel to a                 surgical visit and the follow-up visit, up to two days
  Plan Provider                                                             per trip, including any hotel accommodations for
                                                                            which we provided reimbursement under any other
                                                                            evidence of coverage offered by your Group
Bariatric Surgery
                                                                           Hotel accommodations for one companion not to
We cover hospital inpatient care related to bariatric                       exceed $100 per day for the duration of your surgery
surgical procedures (including room and board, imaging,                     stay, up to four days, including any hotel
laboratory, special procedures, and Plan Physician                          accommodations for which we provided
Services) when performed to treat obesity by                                reimbursement under any other evidence of coverage
modification of the gastrointestinal tract to reduce                        offered by your Group
nutrient intake and absorption, if all of the following
requirements are met:                                                     Coverage for Services related to "Bariatric
                                                                          Surgery" described in other sections
 You complete the Medical Group–approved pre-
                                                                          Coverage for the following Services is described under
  surgical educational preparatory program regarding
                                                                          these headings in this "Benefits and Your Cost Share"
  lifestyle changes necessary for long term bariatric
                                                                          section:
  surgery success
                                                                           Outpatient prescription drugs (refer to "Outpatient
 A Plan Physician who is a specialist in bariatric care
                                                                            Prescription Drugs, Supplies, and Supplements")
  determines that the surgery is Medically Necessary
                                                                           Outpatient administered drugs (refer to "Outpatient
For covered Services related to bariatric surgical                          Care")
procedures that you receive, you will pay the Cost Share
you would pay if the Services were not related to a
bariatric surgical procedure. For example, see                            Behavioral Health Treatment for
"Hospital Inpatient Care" in this "Benefits and Your Cost                 Pervasive Developmental Disorder or
Share" section for the Cost Share that applies for hospital               Autism
inpatient care.
                                                                          The following terms have special meaning when
If you live 50 miles or more from the facility to which                   capitalized and used in this "Behavioral Health
you are referred for a covered bariatric surgery, we will                 Treatment for Pervasive Developmental Disorder or
reimburse you for certain travel and lodging expenses                     Autism" section:
if you receive prior written authorization from the                        "Qualified Autism Service Provider" means a
Medical Group and send us adequate documentation                            provider who has the experience and competence to
including receipts. We will not, however, reimburse you                     design, supervise, provide, or administer treatment for
for any travel or lodging expenses if you were offered a                    pervasive developmental disorder or autism and is
referral to a facility that is less than 50 miles from your                 either of the following:
home. We will reimburse authorized and documented
                                                                                 a person, entity, or group that is certified by a
travel and lodging expenses as follows:
                                                                                   national entity (such as the Behavior Analyst
 Transportation for you to and from the facility up to                            Certification Board) that is accredited by the
  $130 per round trip for a maximum of three trips (one                            National Commission for Certifying Agencies
  pre-surgical visit, the surgery, and one follow-up                             a person licensed in California as a physician,
  visit), including any trips for which we provided                                physical therapist, occupational therapist,
  reimbursement under any other evidence of coverage                               psychologist, marriage and family therapist,
  offered by your Group                                                            educational psychologist, clinical social worker,
                                                                                   professional clinical counselor, speech-language
                                                                                   pathologist, or audiologist

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                        Page 25
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 37 of 77


 "Qualified Autism Service Professional" means a                          The treatment is administered by a Plan Provider who
  person who meets all of the following criteria:                           is one of the following:
    provides behavioral health treatment                                        a Qualified Autism Service Provider
    is employed and supervised by a Qualified Autism                            a Qualified Autism Service Professional
       Service Provider                                                            supervised and employed by the Qualified Autism
    provides treatment pursuant to a treatment plan                               Service Provider
       developed and approved by the Qualified Autism                            a Qualified Autism Service Paraprofessional
       Service Provider                                                            supervised and employed by a Qualified Autism
    is a behavioral health treatment provider approved                            Service Provider
       as a vendor by a California regional center to                      The treatment plan has measurable goals over a
       provide Services as an Associate Behavior                            specific timeline that is developed and approved by
       Analyst, Behavior Analyst, Behavior Management                       the Qualified Autism Service Provider for the
       Assistant, Behavior Management Consultant, or                        Member being treated
       Behavior Management Program as defined in
                                                                           The treatment plan is reviewed no less than once
       Section 54342 of Title 17 of the California Code
                                                                            every six months by the Qualified Autism Service
       of Regulations
                                                                            Provider and modified whenever appropriate
    has training and experience in providing Services
       for pervasive developmental disorder or autism                      The treatment plan requires the Qualified Autism
       pursuant to Division 4.5 (commencing with                            Service Provider to do all of the following:
       Section 4500) of the Welfare and Institutions Code                        Describe the Member's behavioral health
       or Title 14 (commencing with Section 95000) of                              impairments to be treated
       the Government Code                                                       Design an intervention plan that includes the
 "Qualified Autism Service Paraprofessional" means                                service type, number of hours, and parent
  an unlicensed and uncertified individual who meets                               participation needed to achieve the plan's goal and
  all of the following criteria:                                                   objectives, and the frequency at which the
                                                                                   Member's progress is evaluated and reported
    is employed and supervised by a Qualified Autism
       Service Provider                                                          Provide intervention plans that utilize evidence-
                                                                                   based practices, with demonstrated clinical
    provides treatment and implements Services
                                                                                   efficacy in treating pervasive developmental
       pursuant to a treatment plan developed and
                                                                                   disorder or autism
       approved by the Qualified Autism Service
       Provider                                                                  Discontinue intensive behavioral intervention
                                                                                   Services when the treatment goals and objectives
    meets the criteria set forth in the regulations
                                                                                   are achieved or no longer appropriate
       adopted pursuant to Section 4686.3 of the Welfare
       and Institutions Code                                               The treatment plan is not used for either of the
    has adequate education, training, and experience,                      following:
       as certified by a Qualified Autism Service                                for purposes of providing (or for the
       Provider                                                                    reimbursement of) respite care, day care, or
                                                                                   educational services
We cover behavioral health treatment for pervasive                               to reimburse a parent for participating in the
developmental disorder or autism (including applied                                treatment program
behavior analysis and evidence-based behavior
intervention programs) that develops or restores, to the                  You pay the following for these covered Services:
maximum extent practicable, the functioning of a person
                                                                           Individual visits: a $30 Copayment per visit
with pervasive developmental disorder or autism and that
meet all of the following criteria:                                        Group visits: a $15 Copayment per visit
 The treatment is prescribed by a Plan Physician, or is
  developed by a Plan Provider who is a psychologist                      Effective as of the date that federal proposed final
                                                                          rulemaking for essential health benefits is issued, we will
 The treatment is provided under a treatment plan                        cover Services under this "Behavioral Health Treatment
  prescribed by a Plan Provider who is a Qualified                        for Pervasive Developmental Disorder or Autism"
  Autism Service Provider                                                 section only if they are included in the essential health
                                                                          benefits that all health plans will be required by federal
                                                                          regulations to provide under section 1302(b) of the


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                      Page 26
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 38 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
federal Patient Protection and Affordable Care Act, as                    Chemical dependency Services exclusion                        E
amended by the federal Health Care and Education
                                                                           Services in a specialized facility for alcoholism, drug     O
Reconciliation Act.
                                                                            abuse, or drug addiction except as otherwise
                                                                            described in this "Chemical Dependency Services"
                                                                                                                                        C
Chemical Dependency Services                                                section
                                                                                                                                        4
Inpatient detoxification
We cover hospitalization at a $400 Copayment per day                      Dental and Orthodontic Services
in a Plan Hospital only for medical management of                         We do not cover most dental and orthodontic Services,
withdrawal symptoms, including room and board, Plan                       but we do cover some dental and orthodontic Services as
Physician Services, drugs, dependency recovery                            described in this "Dental and Orthodontic Services"
Services, education, and counseling.                                      section.
Outpatient chemical dependency care                                       Dental Services for radiation treatment
We cover the following Services for treatment of                          We cover dental evaluation, X-rays, fluoride treatment,
chemical dependency:                                                      and extractions necessary to prepare your jaw for
 Day-treatment programs                                                  radiation therapy of cancer in your head or neck if a Plan
 Intensive outpatient programs                                           Physician provides the Services or if the Medical Group
                                                                          authorizes a referral to a dentist (as described in
 Individual and group chemical dependency                                "Medical Group authorization procedure for certain
  counseling                                                              referrals" under "Getting a Referral" in the "How to
 Medical treatment for withdrawal symptoms                               Obtain Services" section).

You pay the following for these covered Services:                         Dental anesthesia
                                                                          For dental procedures at a Plan Facility, we provide
 Individual chemical dependency evaluation and
                                                                          general anesthesia and the facility's Services associated
  treatment: a $30 Copayment per visit
                                                                          with the anesthesia if all of the following are true:
 Group chemical dependency treatment: a
                                                                           You are under age 7, or you are developmentally
  $5 Copayment per visit
                                                                            disabled, or your health is compromised
Transitional residential recovery Services                                 Your clinical status or underlying medical condition
We cover chemical dependency treatment in a                                 requires that the dental procedure be provided in a
nonmedical transitional residential recovery setting                        hospital or outpatient surgery center
approved in writing by the Medical Group. We cover                         The dental procedure would not ordinarily require
these Services at a $100 Copayment per admission.                           general anesthesia
These settings provide counseling and support services in
a structured environment.                                                 We do not cover any other Services related to the dental
                                                                          procedure, such as the dentist's Services.
Coverage for Services related to "Chemical
Dependency Services" described in other                                   Dental and orthodontic Services for cleft palate
sections                                                                  We cover dental extractions, dental procedures necessary
Coverage for the following Services is described under                    to prepare the mouth for an extraction, and orthodontic
these headings in this "Benefits and Your Cost Share"                     Services, if they meet all of the following requirements:
section:
                                                                           The Services are an integral part of a reconstructive
 Outpatient self-administered drugs (refer to                              surgery for cleft palate that we are covering under
  "Outpatient Prescription Drugs, Supplies, and                             "Reconstructive Surgery" in this "Benefits and Your
  Supplements")                                                             Cost Share" section
 Outpatient laboratory (refer to "Outpatient Imaging,                     A Plan Provider provides the Services or the Medical
  Laboratory, and Special Procedures")                                      Group authorizes a referral to a Non–Plan Provider
                                                                            who is a dentist or orthodontist (as described in
                                                                            "Medical Group authorization procedure for certain
                                                                            referrals" under "Getting a Referral" in the "How to
                                                                            Obtain Services" section)

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 27
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 39 of 77


Your Cost Share for dental and orthodontic                                 You satisfy all medical criteria developed by the
Services                                                                    Medical Group and by the facility providing the
You pay the following for dental and orthodontic                            dialysis
Services covered under this "Dental and Orthodontic                        A Plan Physician provides a written referral for care
Services" section:                                                          at the facility
 Hospital inpatient care: a $400 Copayment per day
                                                                          After you receive appropriate training at a dialysis
 Outpatient consultations, evaluations, and treatment:
                                                                          facility we designate, we also cover equipment and
  a $30 Copayment per visit
                                                                          medical supplies required for home hemodialysis and
 Outpatient surgery: a $200 Copayment per                                home peritoneal dialysis inside our Service Area at
  procedure if it is provided in an outpatient or                         no charge. Coverage is limited to the standard item of
  ambulatory surgery center or in a hospital operating                    equipment or supplies that adequately meets your
  room, or if it is provided in any setting and a licensed                medical needs. We decide whether to rent or purchase
  staff member monitors your vital signs as you regain                    the equipment and supplies, and we select the vendor.
  sensation after receiving drugs to reduce sensation or                  You must return the equipment and any unused supplies
  to minimize discomfort. Any other outpatient surgery                    to us or pay us the fair market price of the equipment and
  is covered at a $30 Copayment per procedure                             any unused supply when we are no longer covering
 Outpatient procedures (other than surgery): a                           them.
  $200 Copayment per procedure if a licensed staff
  member monitors your vital signs as you regain                          You pay the following for these covered Services related
  sensation after receiving drugs to reduce sensation or                  to dialysis:
  to minimize discomfort. All outpatient procedures                        Inpatient dialysis care: a $400 Copayment per day
  that do not require a licensed staff member to monitor
  your vital signs as described above are covered at the                   One routine outpatient visit per month with the
  Cost Share that would otherwise apply for the                             multidisciplinary nephrology team for a consultation,
  procedure in this "Benefits and Your Cost Share"                          evaluation, or treatment: no charge
  section (for example, radiology procedures that do                       Hemodialysis treatment at a Plan Facility: a
  not require a licensed staff member to monitor your                       $30 Copayment per visit
  vital signs as described above are covered under
                                                                           All other outpatient consultations, evaluations, and
  "Outpatient Imaging, Laboratory, and Special
                                                                            treatment: a $30 Copayment per visit
  Procedures")
                                                                          Coverage for Services related to "Dialysis Care"
Coverage for Services related to "Dental and
                                                                          described in other sections
Orthodontic Services" described in other
                                                                          Coverage for the following Services is described under
sections
                                                                          these headings in this "Benefits and Your Cost Share"
Coverage for the following Services is described under
                                                                          section:
these headings in this "Benefits and Your Cost Share"
section:                                                                   Durable medical equipment for home use (refer to
                                                                            "Durable Medical Equipment for Home Use")
 Outpatient imaging, laboratory, and special
  procedures (refer to "Outpatient Imaging, Laboratory,                    Outpatient laboratory (refer to "Outpatient Imaging,
  and Special Procedures")                                                  Laboratory, and Special Procedures")
 Outpatient administered drugs (refer to "Outpatient                      Outpatient prescription drugs (refer to "Outpatient
  Care"), except that we cover outpatient administered                      Prescription Drugs, Supplies, and Supplements")
  drugs under "Dental anesthesia" in this "Dental and                      Outpatient administered drugs (refer to "Outpatient
  Orthodontic Services" section                                             Care")
 Outpatient prescription drugs (refer to "Outpatient
  Prescription Drugs, Supplies, and Supplements")                         Dialysis Care exclusions
                                                                           Comfort, convenience, or luxury equipment, supplies
                                                                            and features
Dialysis Care
                                                                           Nonmedical items, such as generators or accessories
We cover acute and chronic dialysis Services if all of the                  to make home dialysis equipment portable for travel
following requirements are met:
 The Services are provided inside our Service Area

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 28
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 40 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Durable Medical Equipment for Home                                        outside our Service Area, we cover the following durable
                                                                                                                                        E
Use                                                                       medical equipment (subject to the Cost Share and all
                                                                          other coverage requirements that apply to durable             O
Inside our Service Area, we cover the durable medical                     medical equipment for home use inside our Service             C
equipment specified in this "Durable Medical Equipment                    Area) when the item is dispensed at a Plan Facility:
for Home Use" section for use in your home (or another                     Standard curved handle cane                                 4
location used as your home) in accord with our durable
medical equipment formulary guidelines. Durable                            Standard crutches
medical equipment for home use is an item that is                          For diabetes blood testing, blood glucose monitors
intended for repeated use, primarily and customarily                        and their supplies (such as blood glucose monitor test
used to serve a medical purpose, generally not useful to a                  strips, lancets, and lancet devices) from a Plan
person who is not ill or injured, and appropriate for use                   Pharmacy
in the home.
                                                                           Insulin pumps and supplies to operate the pump (but
Coverage is limited to the standard item of equipment                       not including insulin or any other drugs), after
                                                                            completion of training and education on the use of the
that adequately meets your medical needs. We decide
whether to rent or purchase the equipment, and we select                    pump
the vendor. You must return the equipment to us or pay                     Nebulizers and their supplies for the treatment of
us the fair market price of the equipment when we are no                    pediatric asthma
longer covering it.
                                                                           Peak flow meters from a Plan Pharmacy
Durable medical equipment items that are
essential health benefits                                                 About our durable medical equipment formulary
Inside our Service Area, we cover the following durable                   Our durable medical equipment formulary includes the
medical equipment (including repair or replacement of                     list of durable medical equipment that has been approved
covered equipment) at 50% Coinsurance:                                    by our Durable Medical Equipment Formulary Executive
                                                                          Committee for our Members. Our durable medical
 For diabetes blood testing, blood glucose monitors                      equipment formulary was developed by a
  and their supplies (such as blood glucose monitor test                  multidisciplinary clinical and operational work group
  strips, lancets, and lancet devices)                                    with review and input from Plan Physicians and medical
 Infusion pumps (such as insulin pumps) and supplies                     professionals with durable medical equipment expertise
  to operate the pump (but not including insulin or any                   (for example: physical, respiratory, and enterostomal
  other drugs)                                                            therapists and home health). A multidisciplinary Durable
                                                                          Medical Equipment Formulary Executive Committee is
 Standard curved handle or quad cane and replacement
                                                                          responsible for reviewing and revising the durable
  supplies
                                                                          medical equipment formulary. Our durable medical
 Standard or forearm crutches and replacement                            equipment formulary is periodically updated to keep
  supplies                                                                pace with changes in medical technology and clinical
 Dry pressure pad for a mattress                                         practice. To find out whether a particular item is
                                                                          included in our durable medical equipment formulary,
 Nebulizer and supplies                                                  please call our Member Service Contact Center.
 Peak flow meters
                                                                          Our formulary guidelines allow you to obtain
 IV pole
                                                                          nonformulary durable medical equipment (equipment not
 Tracheostomy tube and supplies                                          listed on our durable medical equipment formulary for
 Enteral pump and supplies                                               your condition) if the equipment would otherwise be
                                                                          covered and the Medical Group determines that it is
 Bone stimulator                                                         Medically Necessary as described in "Medical Group
 Cervical traction (over door)                                           authorization procedure for certain referrals" under
 Phototherapy blankets for treatment of jaundice in                      "Getting a Referral" in the "How to Obtain Services"
  newborns                                                                section.

Outside the Service Area
We do not cover most durable medical equipment for
home use outside our Service Area. However, if you live

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 29
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 41 of 77


Coverage for Services related to "Durable                                 Coverage for Services related to "Family
Medical Equipment for Home Use" described in                              Planning Services" described in other sections
other sections                                                            Coverage for the following Services is described under
Coverage for the following Services is described under                    these headings in this "Benefits and Your Cost Share"
these headings in this "Benefits and Your Cost Share"                     section:
section:                                                                   Outpatient laboratory and imaging services associated
 Dialysis equipment and supplies required for home                         with family planning services (refer to "Outpatient
  hemodialysis and home peritoneal dialysis (refer to                       Imaging, Laboratory, and Special Procedures")
  "Dialysis Care")                                                         Outpatient contraceptive drugs and devices (refer to
 Diabetes urine testing supplies and insulin-                              "Outpatient Prescription Drugs, Supplies, and
  administration devices other than insulin pumps (refer                    Supplements")
  to "Outpatient Prescription Drugs, Supplies, and
  Supplements")                                                           Family Planning Services exclusions
 Durable medical equipment related to the terminal                        Reversal of voluntary sterilization
  illness for Members who are receiving covered
  hospice care (refer to "Hospice Care")
                                                                          Health Education
Durable medical equipment for home use
exclusions                                                                We cover a variety of health education counseling,
                                                                          programs, and materials that your personal Plan
 Comfort, convenience, or luxury equipment or                            Physician or other Plan Providers provide during a visit
  features                                                                covered under another part of this "Benefits and Your
 Repair or replacement of equipment due to loss or                       Cost Share" section.
  misuse
                                                                          We also cover a variety of health education counseling,
                                                                          programs, and materials to help you take an active role in
Family Planning Services                                                  protecting and improving your health, including
                                                                          programs for tobacco cessation, stress management, and
We cover the following family planning Services subject                   chronic conditions (such as diabetes and asthma). Kaiser
to the Cost Share indicated:                                              Permanente also offers health education counseling,
 Family planning counseling: no charge                                   programs, and materials that are not covered, and you
                                                                          may be required to pay a fee.
 Consultations for internally implanted time-release
  contraceptives or intrauterine devices (IUDs):
                                                                          For more information about our health education
  no charge
                                                                          counseling, programs, and materials, please contact a
 Female sterilization procedures: a $30 Copayment                        Health Education Department or our Member Service
  per visit, except that you pay a $200 Copayment per                     Contact Center, refer to Your Guidebook, or go to our
  procedure if the procedure is provided in an                            website at kp.org.
  outpatient or ambulatory surgery center or in a
  hospital operating room                                                 You pay the following for these covered Services:
 Male sterilization procedures: a $30 Copayment per                       Covered health education programs, which may
  visit, except that you pay a $200 Copayment per                           include programs provided online and counseling
  procedure if the procedure is provided in an                              over the phone: no charge
  outpatient or ambulatory surgery center or in a
  hospital operating room                                                  Individual counseling during an office visit related to
                                                                            smoking cessation: no charge
 Termination of pregnancy: a $30 Copayment per
  procedure                                                                Individual counseling during an office visit related to
                                                                            diabetes management: no charge
                                                                           Other covered individual counseling when the office
                                                                            visit is solely for health education: no charge
                                                                           Health education provided during an outpatient
                                                                            consultation or evaluation covered in another part of
                                                                            this "Benefits and Your Cost Share" section: no
                                                                            additional Cost Share beyond the Cost Share

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 30
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 42 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   required in that other part of this "Benefits and                       A Plan Physician determines that it is feasible to          E
   Your Cost Share" section                                                 maintain effective supervision and control of your
                                                                            care in your home and that the Services can be safely       O
 Covered health education materials: no charge
                                                                            and effectively provided in your home                       C
                                                                           The Services are provided inside our Service Area
Hearing Services                                                                                                                        4
                                                                          We cover only part-time or intermittent home health
We do not cover hearing aids (other than internally-
                                                                          care, as follows:
implanted devices as described in the "Prosthetic and
Orthotic Devices" section). However, we do cover the                       Up to two hours per visit for visits by a nurse,
following:                                                                  medical social worker, or physical, occupational, or
                                                                            speech therapist, and up to four hours per visit for
 Routine hearing screenings that are Preventive Care
                                                                            visits by a home health aide
  Services: no charge
                                                                           Up to three visits per day (counting all home health
 Hearing exams to determine the need for hearing
                                                                            visits)
  correction: no charge
                                                                           Up to 100 visits per calendar year (counting all home
Coverage for Services related to "Hearing                                   health visits)
Services" described in other sections
Coverage for the following Services is described under                    Note: If a visit by a nurse, medical social worker, or
these headings in this "Benefits and Your Cost Share"                     physical, occupational, or speech therapist lasts longer
section:                                                                  than two hours, then each additional increment of two
                                                                          hours counts as a separate visit. If a visit by a home
 Services related to the ear or hearing other than those
                                                                          health aide lasts longer than four hours, then each
  described in this section, such as outpatient care to
                                                                          additional increment of four hours counts as a separate
  treat an ear infection and outpatient prescription
                                                                          visit. For example, if a nurse comes to your home for
  drugs, supplies, and supplements (refer to the
                                                                          three hours and then leaves, that counts as two visits.
  applicable heading in this "Benefits and Your Cost
                                                                          Also, each person providing Services counts toward
  Share" section)
                                                                          these visit limits. For example, if a home health aide and
 Cochlear implants and osseointegrated hearing                           a nurse are both at your home during the same two hours,
  devices (refer to "Prosthetic and Orthotic Devices")                    that counts as two visits.

Hearing Services exclusions                                               Coverage for Services related to "Home Health
 Hearing aids and tests to determine their efficacy, and                 Care" described in other sections
  hearing tests to determine an appropriate hearing aid                   Coverage for the following Services is described under
                                                                          these headings in this "Benefits and Your Cost Share"
                                                                          section:
Home Health Care                                                           Behavioral health treatment for pervasive
                                                                            developmental disorder or autism (refer to
"Home health care" means Services provided in the
                                                                            "Behavioral Health Treatment for Pervasive
home by nurses, medical social workers, home health
                                                                            Developmental Disorder or Autism")
aides, and physical, occupational, and speech therapists.
We cover home health care at no charge only if all of                      Dialysis care (refer to "Dialysis Care")
the following are true:                                                    Durable medical equipment (refer to "Durable
 You are substantially confined to your home (or a                         Medical Equipment for Home Use")
  friend's or relative's home)                                             Ostomy and urological supplies (refer to "Ostomy and
 Your condition requires the Services of a nurse,                          Urological Supplies")
  physical therapist, occupational therapist, or speech                    Outpatient drugs, supplies, and supplements (refer to
  therapist (home health aide Services are not covered                      "Outpatient Prescription Drugs, Supplies, and
  unless you are also getting covered home health care                      Supplements")
  from a nurse, physical therapist, occupational
  therapist, or speech therapist that only a licensed                      Prosthetic and orthotic devices (refer to "Prosthetic
  provider can provide)                                                     and Orthotic Devices")




Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 31
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 43 of 77


Home health care exclusions                                                Respiratory therapy
 Care of a type that an unlicensed family member or                       Medical social services
  other layperson could provide safely and effectively                     Home health aide and homemaker services
  in the home setting after receiving appropriate
  training. This care is excluded even if we would                         Palliative drugs prescribed for pain control and
  cover the care if it were provided by a qualified                         symptom management of the terminal illness for up
  medical professional in a hospital or a Skilled                           to a 100-day supply in accord with our drug
  Nursing Facility                                                          formulary guidelines. You must obtain these drugs
                                                                            from Plan Pharmacies. Certain drugs are limited to a
 Care in the home if the home is not a safe and                            maximum 30-day supply in any 30-day period (please
  effective treatment setting                                               call our Member Service Contact Center for the
                                                                            current list of these drugs)
Hospice Care                                                               Durable medical equipment
                                                                           Respite care when necessary to relieve your
Hospice care is a specialized form of interdisciplinary
                                                                            caregivers. Respite care is occasional short-term
health care designed to provide palliative care and to
                                                                            inpatient care limited to no more than five
alleviate the physical, emotional, and spiritual
                                                                            consecutive days at a time
discomforts of a Member experiencing the last phases of
life due to a terminal illness. It also provides support to                Counseling and bereavement services
the primary caregiver and the Member's family. A                           Dietary counseling
Member who chooses hospice care is choosing to receive
palliative care for pain and other symptoms associated                     The following care during periods of crisis when you
with the terminal illness, but not to receive care to try to                need continuous care to achieve palliation or
cure the terminal illness. You may change your decision                     management of acute medical symptoms:
to receive hospice care benefits at any time.                                    nursing care on a continuous basis for as much as
                                                                                   24 hours a day as necessary to maintain you at
We cover the hospice Services listed below at no charge                            home
only if all of the following requirements are met:                               short-term inpatient care required at a level that
 A Plan Physician has diagnosed you with a terminal                               cannot be provided at home
  illness and determines that your life expectancy is 12
  months or less
                                                                          Mental Health Services
 The Services are provided inside our Service Area or
  inside California but within 15 miles or 30 minutes                     We cover Services specified in this "Mental Health
  from our Service Area (including a friend's or                          Services" section only when the Services are for the
  relative's home even if you live there temporarily)                     diagnosis or treatment of Mental Disorders. A "Mental
                                                                          Disorder" is a mental health condition identified as a
 The Services are provided by a licensed hospice
                                                                          "mental disorder" in the Diagnostic and Statistical
  agency that is a Plan Provider
                                                                          Manual of Mental Disorders, Fourth Edition, Text
 The Services are necessary for the palliation and                       Revision (DSM) that results in clinically significant
  management of your terminal illness and related                         distress or impairment of mental, emotional, or
  conditions                                                              behavioral functioning. We do not cover services for
                                                                          conditions that the DSM identifies as something other
If all of the above requirements are met, we cover the                    than a "mental disorder." For example, the DSM
following hospice Services, which are available on a 24-                  identifies relational problems as something other than a
hour basis if necessary for your hospice care:                            "mental disorder," so we do not cover services (such as
 Plan Physician Services                                                 couples counseling or family counseling) for relational
                                                                          problems.
 Skilled nursing care, including assessment,
  evaluation, and case management of nursing needs,                       "Mental Disorders" include the following conditions:
  treatment for pain and symptom control, provision of
  emotional support to you and your family, and                            Severe Mental Illness of a person of any age. "Severe
  instruction to caregivers                                                 Mental Illness" means the following mental disorders:
                                                                            schizophrenia, schizoaffective disorder, bipolar
 Physical, occupational, or speech therapy for                             disorder (manic-depressive illness), major depressive
  purposes of symptom control or to enable you to                           disorders, panic disorder, obsessive-compulsive
  maintain activities of daily living

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 32
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 44 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   disorder, pervasive developmental disorder or autism,                  Inpatient psychiatric hospitalization and                     E
   anorexia nervosa, or bulimia nervosa                                   intensive psychiatric treatment programs
                                                                                                                                        O
 A Serious Emotional Disturbance of a child under age                    Inpatient psychiatric hospitalization. We cover
  18. A "Serious Emotional Disturbance" of a child
                                                                                                                                        C
                                                                          inpatient psychiatric hospitalization in a Plan Hospital.
  under age 18 means a condition identified as a                          Coverage includes room and board, drugs, and Services
  "mental disorder" in the DSM, other than a primary                      of Plan Physicians and other Plan Providers who are           4
  substance use disorder or developmental disorder,                       licensed health care professionals acting within the scope
  that results in behavior inappropriate to the child's age               of their license. We cover these Services at a
  according to expected developmental norms, if the                       $400 Copayment per day.
  child also meets at least one of the following three
  criteria:                                                               Intensive psychiatric treatment programs. We cover
    as a result of the mental disorder, (1) the child has                at no charge the following intensive psychiatric
       substantial impairment in at least two of the                      treatment programs at a Plan Facility:
       following areas: self-care, school functioning,                     Short-term hospital-based intensive outpatient care
       family relationships, or ability to function in the                  (partial hospitalization)
       community; and (2) either (a) the child is at risk of
       removal from the home or has already been                           Short-term multidisciplinary treatment in an intensive
       removed from the home, or (b) the mental disorder                    outpatient psychiatric treatment program
       and impairments have been present for more than                     Short-term treatment in a crisis residential program in
       six months or are likely to continue for more than                   licensed psychiatric treatment facility with 24-hour-a-
       one year without treatment                                           day monitoring by clinical staff for stabilization of an
    the child displays psychotic features, or risk of                      acute psychiatric crisis
       suicide or violence due to a mental disorder                        Psychiatric observation for an acute psychiatric crisis
    the child meets special education eligibility
       requirements under Chapter 26.5 (commencing                        Coverage for Services related to "Mental Health
       with Section 7570) of Division 7 of Title 1 of the                 Services" described in other sections
       California Government Code                                         Coverage for the following Services is described under
                                                                          these headings in this "Benefits and Your Cost Share"
Outpatient mental health Services                                         section:
We cover the following Services when provided by Plan
                                                                           Outpatient drugs, supplies, and supplements (refer to
Physicians or other Plan Providers who are licensed
                                                                            "Outpatient Prescription Drugs, Supplies, and
health care professionals acting within the scope of their
                                                                            Supplements")
license:
                                                                           Outpatient laboratory (refer to "Outpatient Imaging,
 Individual and group mental health evaluation and
                                                                            Laboratory, and Special Procedures")
  treatment
 Psychological testing when necessary to evaluate a
  Mental Disorder                                                         Ostomy and Urological Supplies
 Outpatient Services for the purpose of monitoring                       Inside our Service Area, we cover ostomy and urological
  drug therapy                                                            supplies prescribed in accord with our soft goods
                                                                          formulary guidelines at no charge. We select the vendor,
You pay the following for these covered Services:                         and coverage is limited to the standard supply that
 Individual mental health evaluation and treatment: a                    adequately meets your medical needs.
  $30 Copayment per visit
                                                                          About our soft goods formulary
 Group mental health treatment: a $15 Copayment
                                                                          Our soft goods formulary includes the list of ostomy and
  per visit
                                                                          urological supplies that have been approved by our Soft
                                                                          Goods Formulary Executive Committee for our
Note: Outpatient intensive psychiatric treatment
                                                                          Members. Our Soft Goods Formulary Executive
programs are not covered under this "Outpatient mental
                                                                          Committee is responsible for reviewing and revising the
health Services" section (refer to "Intensive psychiatric
                                                                          soft goods formulary. Our soft goods formulary is
treatment programs" under "Inpatient psychiatric
                                                                          periodically updated to keep pace with changes in
hospitalization and intensive psychiatric treatment
                                                                          medical technology and clinical practice. To find out
programs" in this "Mental Health Services" section).

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 33
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 45 of 77


whether a particular ostomy or urological supply is                                cholesterol tests (lipid panel and profile), fasting
included in our soft goods formulary, please call our                              blood glucose tests, glucose tolerance tests, certain
Member Service Contact Center.                                                     sexually transmitted disease (STD) tests, genetic
                                                                                   testing for breast cancer susceptibility, and HIV
Our formulary guidelines allow you to obtain                                       tests: no charge
nonformulary ostomy and urological supplies (those not                           all other laboratory tests (including tests for
listed on our soft goods formulary for your condition)                             specific genetic disorders for which genetic
if they would otherwise be covered and the Medical                                 counseling is available): a $10 Copayment per
Group determines that they are Medically Necessary as                              encounter
described in "Medical Group authorization procedure for
                                                                           Routine preventive retinal photography screenings:
certain referrals" under "Getting a Referral" in the "How
                                                                            no charge
to Obtain Services" section.
                                                                           All other diagnostic procedures provided by Plan
Ostomy and urological supplies exclusion                                    Providers who are not physicians (such as EKGs and
                                                                            EEGs): a $10 Copayment per encounter except that
 Comfort, convenience, or luxury equipment or
                                                                            certain diagnostic procedures are covered at a
  features
                                                                            $200 Copayment per procedure if they are provided
                                                                            in an outpatient or ambulatory surgery center or in a
Outpatient Imaging, Laboratory, and                                         hospital operating room, or if they are provided in
                                                                            any setting and a licensed staff member monitors
Special Procedures                                                          your vital signs as you regain sensation after
We cover the following Services at the Cost Share                           receiving drugs to reduce sensation or to minimize
indicated only when prescribed as part of care covered                      discomfort
under other headings in this "Benefits and Your Cost                       Radiation therapy: no charge
Share" section:
                                                                           Ultraviolet light treatments: no charge
 Imaging Services that are Preventive Care Services:
    preventive mammograms: no charge
                                                                          Outpatient Prescription Drugs, Supplies,
    preventive abdominal aortic aneurysm ultrasound
       screenings: no charge                                              and Supplements
    bone density CT scans: no charge                                     We cover outpatient drugs, supplies, and supplements
    bone density DEXA scans: no charge                                   specified in this "Outpatient Prescription Drugs,
                                                                          Supplies, and Supplements" section when prescribed as
 All other CT scans, and all MRIs and PET scans: a
                                                                          follows and obtained at a Plan Pharmacy or through our
  $50 Copayment per procedure
                                                                          mail-order service:
 All other imaging Services, such as diagnostic and
                                                                           Items prescribed by Plan Physicians in accord with
  therapeutic X-rays, mammograms, and ultrasounds: a
                                                                            our drug formulary guidelines
  $10 Copayment per encounter except that certain
  imaging procedures are covered at a                                      Items prescribed by the following Non–Plan
  $200 Copayment per procedure if they are provided                         Providers unless a Plan Physician determines that the
  in an outpatient or ambulatory surgery center or in a                     item is not Medically Necessary or the drug is for a
  hospital operating room, or if they are provided in                       sexual dysfunction disorder:
  any setting and a licensed staff member monitors                               Dentists if the drug is for dental care
  your vital signs as you regain sensation after                                 Non–Plan Physicians if the Medical Group
  receiving drugs to reduce sensation or to minimize                               authorizes a written referral to the Non–Plan
  discomfort                                                                       Physician (in accord with "Medical Group
 Nuclear medicine: a $10 Copayment per encounter                                  authorization procedure for certain referrals" under
 Laboratory tests:                                                                "Getting a Referral" in the "How to Obtain
                                                                                   Services" section) and the drug, supply, or
    laboratory tests to monitor the effectiveness of                              supplement is covered as part of that referral
       dialysis: no charge
                                                                                 Non–Plan Physicians if the prescription was
    fecal occult blood tests: no charge                                           obtained as part of covered Emergency Services,
    routine laboratory tests and screenings that are                              Post-Stabilization Care, or Out-of-Area Urgent
       Preventive Care Services, such as cervical cancer                           Care described in the "Emergency Services and
       screenings, prostate specific antigen tests,                                Urgent Care" section (if you fill the prescription at

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 34
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 46 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
       a Plan Pharmacy, you may have to pay Charges                       specific drugs (your Plan Pharmacy can tell you if a drug
                                                                                                                                        E
       for the item and file a claim for reimbursement as                 you take is one of these drugs).
       described under "Payment and Reimbursement" in                                                                                   O
       the "Emergency Services and Urgent Care"                           About our drug formulary                                      C
       section)                                                           Our drug formulary includes the list of drugs that our
                                                                          Pharmacy and Therapeutics Committee has approved for          4
How to obtain covered items                                               our Members. Our Pharmacy and Therapeutics
You must obtain covered items at a Plan Pharmacy or                       Committee, which is primarily composed of Plan
through our mail-order service unless you obtain the item                 Physicians, selects drugs for the drug formulary based on
as part of covered Emergency Services, Post-                              a number of factors, including safety and effectiveness as
Stabilization Care, or Out-of-Area Urgent Care described                  determined from a review of medical literature. The
in the "Emergency Services and Urgent Care" section.                      Pharmacy and Therapeutics Committee meets at least
                                                                          quarterly to consider additions and deletions based on
Please refer to Your Guidebook for the locations of Plan                  new information or drugs that become available. If you
Pharmacies in your area.                                                  would like to request a copy of our drug formulary,
                                                                          please call our Member Service Contact Center. Note:
Refills. You may be able to order refills at a Plan                       The presence of a drug on our drug formulary does not
Pharmacy, through our mail-order service, or through our                  necessarily mean that your Plan Physician will prescribe
website at kp.org/rxrefill. A Plan Pharmacy or Your                       it for a particular medical condition.
Guidebook can give you more information about
obtaining refills, including the options available to you                 Our drug formulary guidelines allow you to obtain
for obtaining refills. For example, a few Plan Pharmacies                 nonformulary prescription drugs (those not listed on our
don't dispense refills and not all drugs can be mailed                    drug formulary for your condition) if they would
through our mail-order service. Please check with a Plan                  otherwise be covered and a Plan Physician determines
Pharmacy if you have a question about whether your                        that they are Medically Necessary. If you disagree with
prescription can be mailed or obtained at a Plan                          your Plan Physician's determination that a nonformulary
Pharmacy. Items available through our mail-order                          prescription drug is not Medically Necessary, you may
service are subject to change at any time without notice.                 file a grievance as described in the "Dispute Resolution"
                                                                          section. Also, our formulary guidelines may require you
Day supply limit                                                          to participate in a behavioral intervention program
The prescribing physician or dentist determines how                       approved by the Medical Group for specific conditions
much of a drug, supply, or supplement to prescribe. For                   and you may be required to pay for the program.
purposes of day supply coverage limits, Plan Physicians
determine the amount of an item that constitutes a                        General rules about coverage and your Cost
Medically Necessary 30- or 100-day supply for you.                        Share
Upon payment of the Cost Share specified in this                          We cover the following outpatient drugs, supplies, and
"Outpatient Prescription Drugs, Supplies, and                             supplements as described in this "Outpatient Prescription
Supplements" section, you will receive the supply                         Drugs, Supplies, and Supplements" section:
prescribed up to the day supply limit also specified in                    Drugs for which a prescription is required by law. We
this section. The day supply limit is either one 30-day                     also cover certain drugs that do not require a
supply in a 30-day period or one 100-day supply in a                        prescription by law if they are listed on our drug
100-day period. If you wish to receive more than the                        formulary
covered day supply limit, then you must pay Charges for
any prescribed quantities that exceed the day supply                       Disposable needles and syringes needed for injecting
limit. Note: We cover episodic drugs prescribed for the                     covered drugs and supplements
treatment of sexual dysfunction disorders up to a                          Inhaler spacers needed to inhale covered drugs
maximum of 8 doses in any 30-day period or up to 27
doses in any 100-day period.                                              Note: If Charges for the drug, supply, or supplement are
                                                                          less than the Copayment, you will pay the lesser amount.
The pharmacy may reduce the day supply dispensed at
the Cost Share specified in this "Outpatient Prescription                 Continuity drugs. If this Evidence of Coverage is
Drugs, Supplies, and Supplements" section to a 30-day                     amended to exclude a drug that we have been covering
supply in any 30-day period if the pharmacy determines                    and providing to you under this Evidence of Coverage,
that the item is in limited supply in the market or for                   we will continue to provide the drug if a prescription is
                                                                          required by law and a Plan Physician continues to

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 35
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 47 of 77


prescribe the drug for the same condition and for a use                                               Your Cost Share
approved by the federal Food and Drug Administration:                           Item
                                                                                               Plan Pharmacy      By Mail
 Generic continuity drugs: 50% Coinsurance (not                          Brand-name items
  subject to the Drug Deductible) for up to a 30-day                      and compounded                           $35 for up to a
                                                                                                $35 for up to a
  supply in any 30-day period                                             products subject                            100-day
                                                                                                100-day supply
                                                                          to the Drug                                  supply
 Brand-name continuity drugs: 50% Coinsurance
                                                                          Deductible
  subject to the Drug Deductible for up to a 30-day
  supply in any 30-day period
                                                                          Other items
                                                                          Coverage and your Cost Share listed above for most
Mail order service. Prescription refills can be mailed
                                                                          items does not apply to the items list under "Other
within 7 to 10 days at no extra cost for standard U.S.
                                                                          items." Coverage and your Cost Share for these other
postage. The appropriate Cost Share (according to your
                                                                          items is as follows:
drug coverage) will apply and must be charged to a valid
credit card.
                                                                          Base drugs, supplies, and supplements
                                                                                                        Your Cost Share
You may request mail order service in the following                               Item
ways:                                                                                          Plan Pharmacy         By Mail
                                                                          Hematopoietic
 To order online, visit kp.org/rxrefill (you can                         agents for dialysis No charge for up
  register for a secure account at kp.org/registernow) or                 (not subject to         to a 30-day      Not available
  use the kp.org app from your Web-enabled phone or                       the Drug                   supply
  mobile device                                                           Deductible)
 Call the pharmacy phone number highlighted on your                      Elemental dietary
  prescription label and select the mail delivery option                  enteral formula
 On your next visit to a Kaiser Permanente pharmacy,                     when used as a
                                                                                               No charge for up
  ask our staff how you can have your prescriptions                       primary therapy
                                                                                                  to a 30-day      Not available
  mailed to you                                                           for regional
                                                                                                     supply
                                                                          enteritis (not
Note: Not all drugs can be mailed; restrictions and                       subject to the
limitations apply.                                                        Drug Deductible)
                                                                                                                   Availability
Drug Deductible. In any calendar year, you must pay                       Generic drugs                           for mail order
Charges for any brand-name items or compounded                            listed below (not     $10 for up to a   varies by item.
products covered under this "Outpatient Prescription                      subject to the        100-day supply     Talk to your
Drugs, Supplies, and Supplements" section that are                        Drug Deductible)                             local
subject to the Drug Deductible until you meet a $250                                                                pharmacy
Drug Deductible per Member during that calendar year.
The only payments that count toward this Drug
Deductible are those you make under this Evidence of
Coverage for covered brand-name items and
compounded products that are subject to this Drug
Deductible. After you meet the Drug Deductible, you
pay the applicable Copayments or Coinsurance for these
items for the remainder of the calendar year.

Coverage and your Cost Share for most items
Drugs, supplies, and supplements are covered as follows
except for items listed under "Other items:"
                               Your Cost Share
       Item
                       Plan Pharmacy         By Mail
Generic items (not                         $10 for up to a
                        $10 for up to a
subject to the                                100-day
                        100-day supply
Drug Deductible)                               supply



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                  Page 36
              Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 48 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
                                Your Cost Share                           Diabetes supplies and amino acid–modified products            E
       Item
                        Plan Pharmacy        By Mail                                                     Your Cost Share
                                                                                 Item                                                   O
Brand-name drugs                           Availability                                         Plan Pharmacy           By Mail
and compounded                            for mail order                  Amino acid–
                                                                                                                                        C
products listed          $35 for up to a  varies by item.                 modified products
below (not              100-day supply     Talk to your                   used to treat                                                 4
subject to the                                 local                      congenital errors
Drug Deductible)                            pharmacy                      of amino acid         No charge for up
 Cancer chemotherapy drugs and certain critical                          metabolism (such         to a 30-day        Not available
  adjuncts following a diagnosis of cancer                                as                          supply
                                                                          phenylketonuria)
 Drugs for the treatment of tuberculosis                                 (not subject to
 Certain drugs for the treatment of life-threatening                     the Drug
  ventricular arrhythmia                                                  Deductible)
                                                                          Ketone test strips
 Human growth hormone for long-term treatment of
                                                                          and sugar or
  pediatric patients with growth failure from lack of
                                                                          acetone test tablets
  adequate endogenous growth hormone secretion                                                  No charge for up
                                                                          or tapes for
 Hematopoietic agents for the treatment of anemia in                                             to a 100-day        Not available
                                                                          diabetes urine
  chronic renal insufficiency                                                                         supply
                                                                          testing (not
 Immunosuppressants and ganciclovir and ganciclovir                      subject to the
  prodrugs for the treatment of cytomegalovirus when                      Drug Deductible)
  prescribed in connection with a transplant                              Insulin-
                                                                          administration
 Phosphate binders for dialysis patients for the
                                                                          devices: pen
  treatment of hyperphosphatemia in end stage renal
                                                                          delivery devices,
  disease                                                                                                             Availability
                                                                          disposable needles
                                                                                                                     for mail order
                                                                          and syringes, and
Home infusion drugs                                                                              $10 for up to a     varies by item.
                                                                          visual aids
                               Your Cost Share                                                   100-day supply       Talk to your
       Item                                                               required to ensure
                        Plan Pharmacy      By Mail                                                                        local
                                                                          proper dosage
                                                                                                                       pharmacy
Home infusion                                                             (except eyewear)
                       No charge for up
drugs (not subject                                                        (not subject to
                           to a 30-day        Not available
to the Drug                                                               the Drug
                              supply
Deductible)                                                               Deductible)
Supplies                                                                  Note: Drugs related to the treatment of diabetes (for
necessary for                                                             example, insulin) are not covered under this "Diabetes
administration of                                                         supplies and amino-acid modified products" section
home infusion               No charge          No charge
drugs (not subject                                                        Contraceptive drugs and devices
to the Drug                                                                                          Your Cost Share
Deductible)                                                                       Item
                                                                                             Plan Pharmacy        By Mail
Home infusion drugs are self-administered intravenous                     Generic oral
drugs, fluids, additives, and nutrients that require                      contraceptives,
specific types of parenteral-infusion, such as an                         contraceptive                        $10 for up to a
intravenous or intraspinal-infusion.                                      rings, and                               100-day
                                                                          contraceptive                             supply
                                                                                              $10 for up to a
                                                                          patches that                         Contraceptive
                                                                                              100-day supply
                                                                          require a                             rings are not
                                                                          prescription by                       available for
                                                                          law (not subject                       mail order
                                                                          to the Drug
                                                                          Deductible)



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 37
              Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 49 of 77


                               Your Cost Share                             Diabetes blood-testing equipment and their supplies,
       Item                                                                 and insulin pumps and their supplies (refer to
                        Plan Pharmacy      By Mail
Brand-name                                                                  "Durable Medical Equipment for Home Use")
contraceptives,
                                               $35 for up to a             Drugs covered during a covered stay in a Plan
contraceptive                                                               Hospital or Skilled Nursing Facility (refer to
                                                   100-day
rings, and                                                                  "Hospital Inpatient Care" and "Skilled Nursing
                                                    supply
contraceptive            $35 for up to a                                    Facility Care")
                                               Contraceptive
patches that             100-day supply
                                                rings are not              Drugs prescribed for pain control and symptom
require a
                                                available for               management of the terminal illness for Members who
prescription by
                                                 mail order                 are receiving covered hospice care (refer to "Hospice
law subject to the
                                                                            Care")
Drug Deductible
Contraceptive                                                              Durable medical equipment used to administer drugs
items for women                                                             (refer to "Durable Medical Equipment for Home
that do not require                                                         Use")
a prescription by          Not covered         Not available               Outpatient administered drugs (refer to "Outpatient
law when                                                                    Care")
prescribed by a
Plan Provider                                                             Outpatient prescription drugs, supplies, and
Emergency                                                                 supplements exclusions
contraception that
                                                                           Any requested packaging (such as dose packaging)
requires a
                                                                            other than the dispensing pharmacy's standard
prescription by             No charge          Not available
                                                                            packaging
law (not subject
to the Drug                                                                Compounded products unless the drug is listed on our
Deductible)                                                                 drug formulary or one of the ingredients requires a
Diaphragms and                                                              prescription by law
cervical caps (not
                               $35             Not available               Drugs prescribed to shorten the duration of the
subject to the                                                              common cold
Drug Deductible)

Infertility and sexual dysfunction drugs                                  Prosthetic and Orthotic Devices
                              Your Cost Share
        Item                                                              We do not cover most prosthetic and orthotic devices,
                      Plan Pharmacy        By Mail
                                                                          but we do cover devices as described in this "Prosthetic
Infertility drugs       Not covered      Not covered
                                                                          and Orthotic Devices" section if all of the following
GIFT drugs              Not covered      Not covered                      requirements are met:
Generic sexual                               50%
dysfunction drugs
                            50%
                                         Coinsurance                       The device is in general use, intended for repeated
                      Coinsurance for                                       use, and primarily and customarily used for medical
(not subject to                           for up to a
                      up to a 100-day                                       purposes
the Drug                                   100-day
                           supply
Deductible)                                 supply                         The device is the standard device that adequately
Brand-name                                   50%                            meets your medical needs
                            50%
sexual dysfunction                       Coinsurance                       You receive the device from the provider or vendor
                      Coinsurance for
drugs subject to                          for up to a                       that we select
                      up to a 100-day
the Drug                                   100-day
                           supply
Deductible                                  supply                        Coverage includes fitting and adjustment of these
                                                                          devices, their repair or replacement, and Services to
Coverage for Services related to "Outpatient                              determine whether you need a prosthetic or orthotic
Prescription Drugs, Supplies, and Supplements"                            device. If we cover a replacement device, then you pay
described in other sections                                               the Cost Share that you would pay for obtaining that
Coverage for the following Services is described under                    device.
these headings in this "Benefits and Your Cost Share"
section:



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 38
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 50 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Internally implanted devices                                                    Orthotic Devices" section for diabetes-related
                                                                                                                                        E
We cover prosthetic and orthotic devices, such as                               complications
pacemakers, intraocular lenses, cochlear implants,                                                                                      O
                                                                           Repair or replacement of device due to loss or misuse
osseointegrated hearing devices, and hip joints, if they                                                                                C
are implanted during a surgery that we are covering
under another section of this "Benefits and Your Cost                     Reconstructive Surgery
Share" section. We cover these devices at no charge.                                                                                    4
                                                                          We cover the following reconstructive surgery Services:
External devices
                                                                           Reconstructive surgery to correct or repair abnormal
We cover the following external prosthetic and orthotic
                                                                            structures of the body caused by congenital defects,
devices at no charge:
                                                                            developmental abnormalities, trauma, infection,
 Prosthetic devices and installation accessories to                        tumors, or disease, if a Plan Physician determines that
  restore a method of speaking following the removal                        it is necessary to improve function, or create a normal
  of all or part of the larynx (this coverage does not                      appearance, to the extent possible
  include electronic voice-producing machines, which
                                                                           Following Medically Necessary removal of all or part
  are not prosthetic devices)
                                                                            of a breast, we cover reconstruction of the breast,
 Prostheses needed after a Medically Necessary                             surgery and reconstruction of the other breast to
  mastectomy, including custom-made prostheses when                         produce a symmetrical appearance, and treatment of
  Medically Necessary and up to three brassieres                            physical complications, including lymphedemas
  required to hold a prosthesis every 12 months
 Podiatric devices (including footwear) to prevent or                    You pay the following for covered reconstructive surgery
  treat diabetes-related complications when prescribed                    Services:
  by a Plan Physician or by a Plan Provider who is a                       Outpatient consultations, evaluations, and treatment:
  podiatrist                                                                a $30 Copayment per visit
 Compression burn garments and lymphedema wraps                           Outpatient surgery: a $200 Copayment per
  and garments                                                              procedure if it is provided in an outpatient or
 Enteral formula for Members who require tube                              ambulatory surgery center or in a hospital operating
  feeding in accord with Medicare guidelines                                room, or if it is provided in any setting and a licensed
                                                                            staff member monitors your vital signs as you regain
 Prostheses to replace all or part of an external facial                   sensation after receiving drugs to reduce sensation or
  body part that has been removed or impaired as a                          to minimize discomfort. Any other outpatient surgery
  result of disease, injury, or congenital defect                           is covered at a $30 Copayment per procedure

Coverage for Services related to "Prosthetic and                           Hospital inpatient care (including room and
Orthotic Devices" described in other sections                               board, drugs, and Plan Physician Services): a
Coverage for the following Services is described under                      $400 Copayment per day
these headings in this "Benefits and Your Cost Share"
                                                                          Coverage for Services related to
section:
                                                                          "Reconstructive Surgery" described in other
 Contact lenses to treat aniridia or aphakia (refer to                   sections
  "Vision Services")                                                      Coverage for the following Services is described under
                                                                          these headings in this "Benefits and Your Cost Share"
Prosthetic and orthotic devices exclusions                                section:
 Multifocal intraocular lenses and intraocular lenses to                  Dental and orthodontic Services that are an integral
  correct astigmatism                                                       part of reconstructive surgery for cleft palate (refer to
 Nonrigid supplies, such as elastic stockings and wigs,                    "Dental and Orthodontic Services")
  except as otherwise described above in this                              Outpatient imaging and laboratory (refer to
  "Prosthetic and Orthotic Devices" section                                 "Outpatient Imaging, Laboratory, and Special
 Comfort, convenience, or luxury equipment or                              Procedures")
  features                                                                 Outpatient prescription drugs (refer to "Outpatient
 Shoes or arch supports, even if custom-made, except                       Prescription Drugs, Supplies, and Supplements")
  footwear described above in this "Prosthetic and                         Outpatient administered drugs (refer to "Outpatient
                                                                            Care")

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 39
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 51 of 77


 Prosthetics and orthotics (refer to "Prosthetic and                     Coverage for Services related to "Rehabilitative
  Orthotic Devices")                                                      and Habilitative Services" described in other
                                                                          sections
Reconstructive surgery exclusions                                          Behavioral health treatment for pervasive
 Surgery that, in the judgment of a Plan Physician                         developmental disorder or autism (refer to
  specializing in reconstructive surgery, offers only a                     "Behavioral Health Treatment for Pervasive
  minimal improvement in appearance                                         Developmental Disorder or Autism")
 Surgery that is performed to alter or reshape normal                     Home health care (refer to "Home Health Care")
  structures of the body in order to improve appearance                    Durable medical equipment (refer to "Durable
                                                                            Medical Equipment for Home Use")
Rehabilitative and Habilitative Services                                   Ostomy and urological supplies (refer to "Ostomy and
                                                                            Urological Supplies")
We cover the Services described in this "Rehabilitative
                                                                           Prosthetic and orthotic devices (refer to "Prosthetic
and Habilitative Services" section if all of the following
                                                                            and Orthotic Devices")
requirements are met:
 The Services are to address a health condition                          Rehabilitative and Habilitative Services
 The Services are to help you partially or fully acquire                 exclusions
  or improve skills and functioning needed to perform                      Items and services that are not health care items and
  activities of daily living, to the maximum extent                         services (for example, respite care, day care,
  practical                                                                 recreational care, residential treatment, social
                                                                            services, custodial care, or education services of any
We cover the following Services at the Cost Share                           kind, including vocational training)
indicated:
 Individual outpatient physical, occupational, and
  speech therapy related to pervasive developmental
                                                                          Services in Connection with a Clinical
  disorder or autism: a $30 Copayment per visit                           Trial
 Group outpatient physical, occupational, and speech                     We cover Services you receive in connection with a
  therapy related to pervasive developmental disorder                     clinical trial if all of the following requirements are met:
  or autism: a $15 Copayment per visit
                                                                           We would have covered the Services if they were not
 All other individual outpatient physical, occupational,                   related to a clinical trial
  and speech therapy: a $30 Copayment per visit
                                                                           You are eligible to participate in the clinical trial
 All other group outpatient physical, occupational, and                    according to the trial protocol with respect to
  speech therapy: a $15 Copayment per visit                                 treatment of cancer or other life-threatening condition
 Physical, occupational, and speech therapy provided                       (a condition from which the likelihood of death is
  in an organized, multidisciplinary rehabilitation day-                    probable unless the course of the condition is
  treatment program: a $30 Copayment per day                                interrupted), as determined in one of the following
                                                                            ways:
 Physical, occupational, and speech therapy provided
                                                                                 A Plan Provider makes this determination
  in a Skilled Nursing Facility (subject to the day limits
  described in the "Skilled Nursing Facility Care"                               You provide us with medical and scientific
  section): You pay the Cost Share for Skilled                                    information establishing this determination
  Nursing Facility care as described under "Skilled                        If any Plan Providers participate in the clinical trial
  Nursing Facility Care" in this "Benefits and Your                         and will accept you as a participant in the clinical
  Cost Share" section                                                       trial, you must participate in the clinical trial through
 Physical, occupational, and speech therapy provided                       a Plan Provider unless the clinical trial is outside the
  in an inpatient hospital (including treatment in an                       state where you live
  organized multidisciplinary rehabilitation program):                     The clinical trial is an Approved Clinical Trial
  You pay the Cost Share for inpatient care as
  described under "Hospital Inpatient Care" in this                       "Approved Clinical Trial" means a phase I, phase II,
  "Benefits and Your Cost Share" section                                  phase III, or phase IV clinical trial related to the
                                                                          prevention, detection, or treatment of cancer or other


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                      Page 40
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 52 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
life-threatening condition and it meets one of the                        covered under any other evidence of coverage offered by
                                                                                                                                        E
following requirements:                                                   your Group) of skilled inpatient Services in a Plan
                                                                          Skilled Nursing Facility. The skilled inpatient Services      O
 The study or investigation is conducted under an
  investigational new drug application reviewed by the                    must be customarily provided by a Skilled Nursing             C
  U.S. Food and Drug Administration                                       Facility, and above the level of custodial or intermediate
                                                                          care.
 The study or investigation is a drug trial that is                                                                                    4
  exempt from having an investigational new drug                          A benefit period begins on the date you are admitted to a
  application                                                             hospital or Skilled Nursing Facility at a skilled level of
 The study or investigation is approved or funded by at                  care. A benefit period ends on the date you have not been
  least one of the following:                                             an inpatient in a hospital or Skilled Nursing Facility,
    the National Institutes of Health                                    receiving a skilled level of care, for 60 consecutive days.
                                                                          A new benefit period can begin only after any existing
    the Centers for Disease Control and Prevention
                                                                          benefit period ends. A prior three-day stay in an acute
    the Agency for Health Care Research and Quality                      care hospital is not required.
    the Centers for Medicare & Medicaid Services
    a cooperative group or center of any of the above                    We cover the following Services:
       entities or of the Department of Defense or the                     Physician and nursing Services
       Department of Veterans Affairs
                                                                           Room and board
    a qualified non-governmental research entity
       identified in the guidelines issued by the National                 Drugs prescribed by a Plan Physician as part of your
       Institutes of Health for center support grants                       plan of care in the Plan Skilled Nursing Facility in
                                                                            accord with our drug formulary guidelines if they are
    the Department of Veterans Affairs or the
                                                                            administered to you in the Plan Skilled Nursing
       Department of Defense or the Department of
                                                                            Facility by medical personnel
       Energy, but only if the study or investigation has
       been reviewed and approved though a system of                       Durable medical equipment in accord with our
       peer review that the U.S. Secretary of Health and                    durable medical equipment formulary if Skilled
       Human Services determines meets all of the                           Nursing Facilities ordinarily furnish the equipment
       following requirements: (1) It is comparable to the                 Imaging and laboratory Services that Skilled Nursing
       National Institutes of Health system of peer review                  Facilities ordinarily provide
       of studies and investigations and (2) it assures
                                                                           Medical social services
       unbiased review of the highest scientific standards
       by qualified people who have no interest in the                     Blood, blood products, and their administration
       outcome of the review                                               Medical supplies

For covered Services related to a clinical trial, you will                 Behavioral health treatment for pervasive
pay the Cost Share you would pay if the Services were                       developmental disorder or autism
not related to a clinical trial. For example, see                          Respiratory therapy
"Hospital Inpatient Care" in this "Benefits and Your Cost
Share" section for the Cost Share that applies for hospital               Coverage for Services related to "Skilled
inpatient care.                                                           Nursing Facility Care" described in other
                                                                          sections
Services in connection with a clinical trial                              Coverage for the following Services is described under
exclusions                                                                these headings in this "Benefits and Your Cost Share"
 The investigational Service                                             section:
 Services that are provided solely to satisfy data                        Outpatient imaging, laboratory, and special
  collection and analysis needs and are not used in your                    procedures (refer to "Outpatient Imaging, Laboratory,
  clinical management                                                       and Special Procedures")
                                                                           Physical, occupational, and speech therapy (refer to
                                                                            "Rehabilitative and Habilitative Services")
Skilled Nursing Facility Care
Inside our Service Area, we cover at no charge up to
100 days per benefit period (including any days we

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 41
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 53 of 77


Transplant Services                                                        Outpatient administered drugs (refer to "Outpatient
                                                                            Care")
We cover transplants of organs, tissue, or bone marrow
if the Medical Group provides a written referral for care
to a transplant facility as described in "Medical Group                   Vision Services
authorization procedure for certain referrals" under
"Getting a Referral" in the "How to Obtain Services"                      We do not cover eyeglasses or contact lenses (except for
section.                                                                  special contact lenses described in this "Vision Services"
                                                                          section). However, we do cover the following:
After the referral to a transplant facility, the following                 Routine vision screenings that are Preventive Care
applies:                                                                    Services: no charge
 If either the Medical Group or the referral facility                     Eye exams for refraction to determine the need for
  determines that you do not satisfy its respective                         vision correction and to provide a prescription for
  criteria for a transplant, we will only cover Services                    eyeglass lenses: no charge
  you receive before that determination is made
 Health Plan, Plan Hospitals, the Medical Group, and                     Special contact lenses for aniridia and aphakia. We
  Plan Physicians are not responsible for finding,                        cover the following special contact lenses at Plan
  furnishing, or ensuring the availability of an organ,                   Medical Offices or Plan Optical Sales Offices when
  tissue, or bone marrow donor                                            prescribed by a Plan Physician or Plan Optometrist:

 In accord with our guidelines for Services for living                    Up to two Medically Necessary contact lenses per eye
  transplant donors, we provide certain donation-related                    (including fitting and dispensing) in any 12-month
  Services for a donor, or an individual identified by                      period to treat aniridia (missing iris): no charge. We
  the Medical Group as a potential donor, whether or                        will not cover an aniridia contact lens if we provided
  not the donor is a Member. These Services must be                         an allowance toward (or otherwise covered) more
  directly related to a covered transplant for you, which                   than one aniridia contact lens for that eye within the
  may include certain Services for harvesting the organ,                    previous 12 months (including when we provided an
  tissue, or bone marrow and for treatment of                               allowance toward, or otherwise covered, one or more
  complications. Our guidelines for donor Services are                      aniridia contact lenses under any other evidence of
  available by calling our Member Service Contact                           coverage offered by your Group)
  Center                                                                   Up to six Medically Necessary aphakic contact lenses
                                                                            per eye (including fitting and dispensing) per calendar
For covered transplant Services that you receive, you                       year to treat aphakia (absence of the crystalline lens
will pay the Cost Share you would pay if the Services                       of the eye) for Members through age 9: no charge.
were not related to a transplant. For example, see                          We will not cover an aphakic contact lens if we
"Hospital Inpatient Care" in this "Benefits and Your Cost                   provided an allowance toward (or otherwise covered)
Share" section for the Cost Share that applies for hospital                 more than six aphakic contact lenses for that eye
inpatient care.                                                             during the same calendar year (including when we
                                                                            provided an allowance toward, or otherwise covered,
We provide or pay for donation-related Services for                         one or more aphakic contact lenses under any other
actual or potential donors (whether or not they are                         evidence of coverage offered by your Group)
Members) in accord with our guidelines for donor
Services at no charge.                                                    Coverage for Services related to "Vision
                                                                          Services" described in other sections
Coverage for Services related to "Transplant                              Coverage for the following Services is described under
Services" described in other sections                                     other headings in this "Benefits and Your Cost Share"
Coverage for the following Services is described under                    section:
these headings in this "Benefits and Your Cost Share"                      Services related to the eye or vision other than
section:                                                                    Services covered under this "Vision Services"
 Outpatient imaging and laboratory (refer to                               section, such as outpatient surgery and outpatient
  "Outpatient Imaging, Laboratory, and Special                              prescription drugs, supplies, and supplements (refer
  Procedures")                                                              to the applicable heading in this "Benefits and Your
                                                                            Cost Share" section)
 Outpatient prescription drugs (refer to "Outpatient
  Prescription Drugs, Supplies, and Supplements")


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 42
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 54 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Vision Services exclusions                                                Cosmetic Services                                             E
 Industrial frames                                                       Services that are intended primarily to change or
                                                                          maintain your appearance, except that this exclusion
                                                                                                                                        O
 Eyeglass lenses and frames                                              does not apply to any of the following:                       C
 Contact lenses, including fitting and dispensing                         Services covered under "Reconstructive Surgery" in
  (except for special contact lenses to treat aphakia or                    the "Benefits and Your Cost Share" section                  4
  aniridia as described under this "Vision Services"
  section)                                                                 The following devices covered under "Prosthetic and
                                                                            Orthotic Devices" in the "Benefits and Your Cost
 Eye exams for the purpose of obtaining or                                 Share" section: testicular implants implanted as part
  maintaining contact lenses                                                of a covered reconstructive surgery, breast prostheses
 Low-vision devices                                                        needed after a mastectomy, and prostheses to replace
                                                                            all or part of an external facial body part

                                                                          Note: Having a mental health condition does not make
Exclusions, Limitations,                                                  cosmetic Services become reconstructive surgery.
Coordination of Benefits, and
Reductions                                                                Custodial care
                                                                          Assistance with activities of daily living (for example:
                                                                          walking, getting in and out of bed, bathing, dressing,
Exclusions                                                                feeding, toileting, and taking medicine).
The items and services listed in this "Exclusions" section
are excluded from coverage. These exclusions apply to                     This exclusion does not apply to assistance with
all Services that would otherwise be covered under this                   activities of daily living that is provided as part of
Evidence of Coverage regardless of whether the services                   covered hospice, Skilled Nursing Facility, or inpatient
are within the scope of a provider's license or certificate.              hospital care.
Additional exclusions that apply only to a particular
benefit are listed in the description of that benefit in the              Dental and orthodontic Services
"Benefits and Your Cost Share" section.                                   Dental and orthodontic Services such as X-rays,
                                                                          appliances, implants, Services provided by dentists or
Artificial insemination and conception by                                 orthodontists, dental Services following accidental injury
artificial means                                                          to teeth, and dental Services resulting from medical
All Services related to artificial insemination and                       treatment such as surgery on the jawbone and radiation
conception by artificial means, such as: ovum                             treatment.
transplants, gamete intrafallopian transfer (GIFT), semen
and eggs (and Services related to their procurement and                   This exclusion does not apply to Services covered under
storage), in vitro fertilization (IVF), and zygote                        "Dental and Orthodontic Services" in the "Benefits and
intrafallopian transfer (ZIFT).                                           Your Cost Share" section.

Certain exams and Services                                                Disposable supplies
Physical exams and other Services (1) required for                        Disposable supplies for home use, such as bandages,
obtaining or maintaining employment or participation in                   gauze, tape, antiseptics, dressings, Ace-type bandages,
employee programs, (2) required for insurance or                          and diapers, underpads, and other incontinence supplies.
licensing, or (3) on court order or required for parole or
probation. This exclusion does not apply if a Plan                        This exclusion does not apply to disposable supplies
Physician determines that the Services are Medically                      covered under "Durable Medical Equipment for Home
Necessary.                                                                Use," "Home Health Care," "Hospice Care," "Ostomy
                                                                          and Urological Supplies," and "Outpatient Prescription
Chiropractic Services                                                     Drugs, Supplies, and Supplements" in the "Benefits and
Chiropractic Services and the Services of a chiropractor,                 Your Cost Share" section.
unless you have coverage for supplemental chiropractic
Services as described in an amendment to this Evidence
of Coverage.



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 43
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 55 of 77


Experimental or investigational Services                                   Teaching and support services to develop planning
A Service is experimental or investigational if we, in                      skills such as daily activity planning and project or
consultation with the Medical Group, determine that one                     task planning
of the following is true:                                                  Items and services for the purpose of increasing
 Generally accepted medical standards do not                               academic knowledge or skills
  recognize it as safe and effective for treating the                      Teaching and support services to increase intelligence
  condition in question (even if it has been authorized
  by law for use in testing or other studies on human                      Academic coaching or tutoring for skills such as
  patients)                                                                 grammar, math, and time management

 It requires government approval that has not been                        Teaching you how to read, whether or not you have
  obtained when the Service is to be provided                               dyslexia
                                                                           Educational testing
This exclusion does not apply to any of the following:                     Teaching art, dance, horse riding, music, play or
 Experimental or investigational Services when an                          swimming, except that this exclusion for "teaching
  investigational application has been filed with the                       play" does not apply to Services that are part of a
  federal Food and Drug Administration (FDA) and the                        behavioral health therapy treatment plan and covered
  manufacturer or other source makes the Services                           under "Behavioral Health Treatment for Pervasive
  available to you or Kaiser Permanente through an                          Developmental Disorder or Autism" in the "Benefits
  FDA-authorized procedure, except that we do not                           and Your Cost Share" section
  cover Services that are customarily provided by                          Teaching skills for employment or vocational
  research sponsors free of charge to enrollees in a                        purposes
  clinical trial or other investigational treatment
  protocol                                                                 Vocational training or teaching vocational skills
 Services covered under "Services in Connection with                      Professional growth courses
  a Clinical Trial" in the "Benefits and Your Cost                         Training for a specific job or employment counseling
  Share" section
                                                                           Aquatic therapy and other water therapy, except that
                                                                            this exclusion for aquatic therapy and other water
Please refer to the "Dispute Resolution" section for
                                                                            therapy does not apply to therapy Services that are
information about Independent Medical Review related
                                                                            part of a physical therapy treatment plan and covered
to denied requests for experimental or investigational
                                                                            under "Home Health Care," "Hospice Services," or
Services.
                                                                            "Rehabilitative and Habilitative Services" in the
                                                                            "Benefits and Your Cost Share" section
Hair loss or growth treatment
Items and services for the promotion, prevention, or                      Items and services to correct refractive defects
other treatment of hair loss or hair growth.                              of the eye
                                                                          Items and services (such as eye surgery or contact lenses
Infertility Services
                                                                          to reshape the eye) for the purpose of correcting
Services related to the diagnosis and treatment of                        refractive defects of the eye such as myopia, hyperopia,
infertility.                                                              or astigmatism.

Intermediate care                                                         Massage therapy
Care in a licensed intermediate care facility. This                       Massage therapy, except that this exclusion does not
exclusion does not apply to Services covered under                        apply to therapy Services that are part of a physical
"Durable Medical Equipment," "Home Health Care," and                      therapy treatment plan and covered under "Home Health
"Hospice Care" in the "Benefits and Your Cost Share"                      Care," "Hospice Services," or "Rehabilitative and
section.                                                                  Habilitative Services" in the "Benefits and Your Cost
                                                                          Share" section.
Items and services that are not health care items
and services                                                              Oral nutrition
For example, we do not cover:                                             Outpatient oral nutrition, such as dietary supplements,
 Teaching manners and etiquette                                          herbal supplements, weight loss aids, formulas, and food.




Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 44
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 56 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
This exclusion does not apply to any of the following:                    to denied requests for experimental or investigational
                                                                                                                                        E
 Amino acid–modified products and elemental dietary                      Services.
                                                                                                                                        O
  enteral formula covered under "Outpatient
  Prescription Drugs, Supplies, and Supplements" in                       Services performed by unlicensed people                       C
  the "Benefits and Your Cost Share" section                              Services that are performed safely and effectively by
                                                                          people who do not require licenses or certificates by the     4
 Enteral formula covered under "Prosthetic and                           state to provide health care services and where the
  Orthotic Devices" in the "Benefits and Your Cost                        Member's condition does not require that the services be
  Share" section                                                          provided by a licensed health care provider.
Residential care
                                                                          This exclusion does not apply to Services covered under
Care in a facility where you stay overnight, except that                  "Behavioral Health Treatment for Pervasive
this exclusion does not apply when the overnight stay is                  Developmental Disorder or Autism" in the "Benefits and
part of covered care in a hospital, a Skilled Nursing                     Your Cost Share" section.
Facility, inpatient respite care covered in the "Hospice
Care" section, a licensed facility providing crisis                       Services related to a noncovered Service
residential Services covered under "Inpatient psychiatric
                                                                          When a Service is not covered, all Services related to the
hospitalization and intensive psychiatric treatment
                                                                          noncovered Service are excluded, except for Services we
programs" in the "Mental Health Services" section, or a
                                                                          would otherwise cover to treat complications of the
licensed facility providing transitional residential
                                                                          noncovered Service. For example, if you have a
recovery Services covered under the "Chemical
                                                                          noncovered cosmetic surgery, we would not cover
Dependency Services" section.
                                                                          Services you receive in preparation for the surgery or for
                                                                          follow-up care. If you later suffer a life-threatening
Routine foot care items and services
                                                                          complication such as a serious infection, this exclusion
Routine foot care items and services that are not                         would not apply and we would cover any Services that
Medically Necessary.                                                      we would otherwise cover to treat that complication.

Services not approved by the federal Food and                             Surrogacy
Drug Administration
                                                                          Services for anyone in connection with a Surrogacy
Drugs, supplements, tests, vaccines, devices, radioactive                 Arrangement, except for otherwise-covered Services
materials, and any other Services that by law require                     provided to a Member who is a surrogate. A "Surrogacy
federal Food and Drug Administration (FDA) approval                       Arrangement" is one in which a woman (the surrogate)
in order to be sold in the U.S. but are not approved by the               agrees to become pregnant and to surrender the baby (or
FDA. This exclusion applies to Services provided                          babies) to another person or persons who intend to raise
anywhere, even outside the U.S.                                           the child (or children), whether or not the woman
                                                                          receives payment for being a surrogate. Please refer to
This exclusion does not apply to any of the following:                    "Surrogacy arrangements" under "Reductions" in this
 Services covered under the "Emergency Services and                      "Exclusions, Limitations, Coordination of Benefits, and
  Urgent Care" section that you receive outside the U.S.                  Reductions" section for information about your
                                                                          obligations to us in connection with a Surrogacy
 Experimental or investigational Services when an
                                                                          Arrangement, including your obligations to reimburse us
  investigational application has been filed with the
                                                                          for any Services we cover and to provide information
  FDA and the manufacturer or other source makes the
                                                                          about anyone who may be financially responsible for
  Services available to you or Kaiser Permanente
                                                                          Services the baby (or babies) receive.
  through an FDA-authorized procedure, except that we
  do not cover Services that are customarily provided
                                                                          Travel and lodging expenses
  by research sponsors free of charge to enrollees in a
  clinical trial or other investigational treatment                       Travel and lodging expenses, except for the following:
  protocol                                                                 In some situations if the Medical Group refers you to
 Services covered under "Services in Connection with                       a Non–Plan Provider as described in "Medical Group
  a Clinical Trial" in the "Benefits and Your Cost                          authorization procedure for certain referrals" under
  Share" section                                                            "Getting a Referral" in the "How to Obtain Services"
                                                                            section, we may pay certain expenses that we
                                                                            preauthorize in accord with our travel and lodging
Please refer to the "Dispute Resolution" section for
information about Independent Medical Review related

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 45
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 57 of 77


   guidelines. Our travel and lodging guidelines are                      Account during a calendar year to pay for your out-of-
   available from our Member Service Contact Center                       pocket expenses for Services that are partially covered
 Reimbursement for travel and lodging expenses                           by either your other coverage or us during that calendar
  provided under "Bariatric Surgery" in the "Benefits                     year. If you are entitled to a Benefit Reserve Account,
  and Your Cost Share" section                                            we will provide you with detailed information about this
                                                                          account.

Limitations                                                               If you have any questions about coordination of benefits,
                                                                          please call our Member Service Contact Center.
We will make a good faith effort to provide or arrange
for covered Services within the remaining availability of                 Medicare coverage
facilities or personnel in the event of unusual                           If you have Medicare coverage, we will coordinate
circumstances that delay or render impractical the                        benefits with the Medicare coverage under Medicare
provision of Services under this Evidence of Coverage,                    rules. Medicare rules determine which coverage pays
such as a major disaster, epidemic, war, riot, civil                      first, or is "primary," and which coverage pays second, or
insurrection, disability of a large share of personnel at a               is "secondary." You must give us any information we
Plan Facility, complete or partial destruction of facilities,             request to help us coordinate benefits. Please call our
and labor dispute. Under these circumstances, if you                      Member Service Contact Center to find out which
have an Emergency Medical Condition, call 911 or go to                    Medicare rules apply to your situation, and how payment
the nearest hospital as described under "Emergency                        will be handled.
Services" in the "Emergency Services and Urgent Care"
section, and we will provide coverage and
reimbursement as described in that section.                               Reductions

Additional limitations that apply only to a particular                    Employer responsibility
benefit are listed in the description of that benefit in the              For any Services that the law requires an employer to
"Benefits and Your Cost Share" section.                                   provide, we will not pay the employer, and when we
                                                                          cover any such Services we may recover the value of the
                                                                          Services from the employer.
Coordination of Benefits
                                                                          Government agency responsibility
The Services covered under this Evidence of Coverage                      For any Services that the law requires be provided only
are subject to coordination of benefits rules.                            by or received only from a government agency, we will
                                                                          not pay the government agency, and when we cover any
Coverage other than Medicare coverage                                     such Services we may recover the value of the Services
If you have medical or dental coverage under another                      from the government agency.
plan that is subject to coordination of benefits, we will
coordinate benefits with the other coverage under the                     Injuries or illnesses alleged to be caused by
coordination of benefits rules of the California                          third parties
Department of Managed Health Care. Those rules are                        If you obtain a judgment or settlement from or on behalf
incorporated into this Evidence of Coverage.                              of a third party who allegedly caused an injury or illness
                                                                          for which you received covered Services, you must pay
If both the other coverage and we cover the same                          us Charges for those Services, except that the amount
Service, the other coverage and we will see that up to                    you must pay will not exceed the maximum amount
100 percent of your covered medical expenses are paid                     allowed under California Civil Code Section 3040. Note:
for that Service. The coordination of benefits rules                      This "Injuries or illnesses alleged to be caused by third
determine which coverage pays first, or is "primary," and                 parties" section does not affect your obligation to pay
which coverage pays second, or is "secondary." The                        your Cost Share for these Services, but we will credit any
secondary coverage may reduce its payment to take into                    such payments toward the amount you must pay us under
account payment by the primary coverage. You must                         this paragraph.
give us any information we request to help us coordinate
benefits.                                                                 To the extent permitted or required by law, we have the
                                                                          option of becoming subrogated to all claims, causes of
If your coverage under this Evidence of Coverage is                       action, and other rights you may have against a third
secondary, we may be able to establish a Benefit Reserve                  party or an insurer, government program, or other source
Account for you. You may draw on the Benefit Reserve                      of coverage for monetary damages, compensation, or

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 46
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 58 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
indemnification on account of the injury or illness                       from or on behalf of a third party. For Services the
                                                                                                                                        E
allegedly caused by the third party. We will be so                        provider furnished, our recovery and the provider's
subrogated as of the time we mail or deliver a written                    recovery together will not exceed the provider's General      O
notice of our exercise of this option to you or your                      Fees.                                                         C
attorney, but we will be subrogated only to the extent of
the total of Charges for the relevant Services.                           Medicare benefits
                                                                                                                                        4
                                                                          Your benefits are reduced by any benefits you have
To secure our rights, we will have a lien on the proceeds                 under Medicare except for Members whose Medicare
of any judgment or settlement you or we obtain against a                  benefits are secondary by law.
third party. The proceeds of any judgment or settlement
that you or we obtain shall first be applied to satisfy our               Surrogacy arrangements
lien, regardless of whether the total amount of the                       If you enter into a Surrogacy Arrangement, you must pay
proceeds is less than the actual losses and damages you                   us Charges for covered Services you receive related to
incurred.                                                                 conception, pregnancy, delivery, or postpartum care in
                                                                          connection with that arrangement ("Surrogacy Health
Within 30 days after submitting or filing a claim or legal                Services"), except that the amount you must pay will not
action against a third party, you must send written notice                exceed the payments or other compensation you and any
of the claim or legal action to:                                          other payee are entitled to receive under the Surrogacy
     Trover Solutions, Inc.                                               Arrangement. A "Surrogacy Arrangement" is one in
     Kaiser Permanente- Northern California                               which a woman agrees to become pregnant and to
     Subrogation Mailbox                                                  surrender the baby (or babies) to another person or
     9390 Bunsen Parkway                                                  persons who intend to raise the child (or children),
     Louisville, KY 40220                                                 whether or not the woman receives payment for being a
                                                                          surrogate. Note: This "Surrogacy arrangements" section
In order for us to determine the existence of any rights                  does not affect your obligation to pay your Cost Share
we may have and to satisfy those rights, you must                         for these Services, but we will credit any such payments
complete and send us all consents, releases,                              toward the amount you must pay us under this paragraph.
authorizations, assignments, and other documents,                         After you surrender a baby to the legal parents, you are
including lien forms directing your attorney, the third                   not obligated to pay Charges for any Services that the
party, and the third party's liability insurer to pay us                  baby receives (the legal parents are financially
directly. You may not agree to waive, release, or reduce                  responsible for any Services that the baby receives).
our rights under this provision without our prior, written
consent.                                                                  By accepting Surrogacy Health Services, you
                                                                          automatically assign to us your right to receive payments
If your estate, parent, guardian, or conservator asserts a                that are payable to you or any other payee under the
claim against a third party based on your injury or                       Surrogacy Arrangement, regardless of whether those
illness, your estate, parent, guardian, or conservator and                payments are characterized as being for medical
any settlement or judgment recovered by the estate,                       expenses. To secure our rights, we will also have a lien
parent, guardian, or conservator shall be subject to our                  on those payments and on any escrow account, trust, or
liens and other rights to the same extent as if you had                   any other account that holds those payments. Those
asserted the claim against the third party. We may assign                 payments (and amounts in any escrow account, trust, or
our rights to enforce our liens and other rights.                         other account that holds those payments) shall first be
                                                                          applied to satisfy our lien. The assignment and our lien
If you have Medicare, Medicare law may apply with                         will not exceed the total amount of your obligation to us
respect to Services covered by Medicare.                                  under the preceding paragraph.

Some providers have contracted with Kaiser Permanente                     Within 30 days after entering into a Surrogacy
to provide certain Services to Members at rates that are                  Arrangement, you must send written notice of the
typically less than the fees that the providers ordinarily                arrangement, including all of the following information:
charge to the general public ("General Fees"). However,                    Names, addresses, and telephone numbers of the
these contracts may allow the providers to recover all or                   other parties to the arrangement
a portion of the difference between the fees paid by
Kaiser Permanente and their General Fees by means of a                     Names, addresses, and telephone numbers of any
lien claim under California Civil Code Sections 3045.1–                     escrow agent or trustee
3045.6 against a judgment or settlement that you receive

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 47
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 59 of 77


 Names, addresses, and telephone numbers of the                          recover the value of any covered Services from the
  intended parents and any other parties who are                          following sources:
  financially responsible for Services the baby (or                        From any source providing a Financial Benefit or
  babies) receive, including names, addresses, and                          from whom a Financial Benefit is due
  telephone numbers for any health insurance that will
  cover Services that the baby (or babies) receive                         From you, to the extent that a Financial Benefit is
                                                                            provided or payable or would have been required to
 A signed copy of any contracts and other documents                        be provided or payable if you had diligently sought to
  explaining the arrangement                                                establish your rights to the Financial Benefit under
 Any other information we request in order to satisfy                      any workers' compensation or employer's liability law
  our rights

You must send this information to:                                        Post-Service Claims and Appeals
    Trover Solutions, Inc.
    Kaiser Permanente- Northern California
                                                                          This "Post-Service Claims and Appeals" section explains
    Surrogacy Mailbox
                                                                          how to file a claim for payment or reimbursement for
    9390 Bunsen Parkway
                                                                          Services that you have already received. Please use the
    Louisville, KY 40220
                                                                          procedures in this section in the following situations:
You must complete and send us all consents, releases,                      You have received Emergency Services, Post-
authorizations, lien forms, and other documents that are                    Stabilization Care, Out-of-Area Urgent Care, or
reasonably necessary for us to determine the existence of                   emergency ambulance Services from a Non–Plan
any rights we may have under this "Surrogacy                                Provider and you want us to pay for the Services
arrangements" section and to satisfy those rights. You                     You have received Services from a Non–Plan
may not agree to waive, release, or reduce our rights                       Provider that we did not authorize (other than
under this "Surrogacy arrangements" section without our                     Emergency Services, Out-of-Area Urgent Care, Post-
prior, written consent.                                                     Stabilization Care, or emergency Ambulance
                                                                            Services) and you want us to pay for the Services
If your estate, parent, guardian, or conservator asserts a
                                                                           You want to appeal a denial of an initial claim for
claim against a third party based on the surrogacy
                                                                            payment
arrangement, your estate, parent, guardian, or
conservator and any settlement or judgment recovered by
the estate, parent, guardian, or conservator shall be                     Please follow the procedures under "Grievances" in the
subject to our liens and other rights to the same extent as               "Dispute Resolution" section in the following situations:
if you had asserted the claim against the third party. We                  You want us to cover Services that you have not yet
may assign our rights to enforce our liens and other                        received
rights.                                                                    You want us to continue to cover an ongoing course
                                                                            of covered treatment
U.S. Department of Veterans Affairs
For any Services for conditions arising from military                      You want to appeal a written denial of a request for
service that the law requires the Department of Veterans                    Services that require prior authorization (as described
Affairs to provide, we will not pay the Department of                       under "Medical Group authorization procedure for
Veterans Affairs, and when we cover any such Services                       certain referrals")
we may recover the value of the Services from the
Department of Veterans Affairs.
                                                                          Who May File
Workers' compensation or employer's liability                             The following people may file claims:
benefits
                                                                           You may file for yourself
You may be eligible for payments or other benefits,
including amounts received as a settlement (collectively                   You can ask a friend, relative, or attorney to file a
referred to as "Financial Benefit"), under workers'                         claim for you by appointing him or her in writing as
compensation or employer's liability law. We will                           your authorized representative
provide covered Services even if it is unclear whether                     A parent may file for his or her child under age 18,
you are entitled to a Financial Benefit, but we may                         except that the child must appoint the parent as
                                                                            authorized representative if the child has the legal


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 48
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 60 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
   right to control release of information that is relevant                By calling our Member Service Contact Center at             E
   to the claim                                                             1-800-464-4000 (TTY users call 1-800-777-1370 or
                                                                            711)                                                        O
 A court-appointed guardian may file for his or her
  ward, except that the ward must appoint the court-
                                                                                                                                        C
  appointed guardian as authorized representative if the                  Other supporting information
  ward has the legal right to control release of                          When you file a claim, please include any information         4
  information that is relevant to the claim                               that clarifies or supports your position. For example,
                                                                          if you have paid for Services, please include any bills
 A court-appointed conservator may file for his or her
                                                                          and receipts that support your claim. To request that we
  conservatee
                                                                          pay a Non–Plan Provider for Services, include any bills
 An agent under a currently effective health care                        from the Non–Plan Provider. If the Non–Plan Provider
  proxy, to the extent provided under state law, may file                 states that they will file the claim, you are still
  for his or her principal                                                responsible for making sure that we receive everything
                                                                          we need to process the request for payment. When
Authorized representatives must be appointed in writing                   appropriate, we will request medical records from Plan
using either our authorization form or some other form of                 Providers on your behalf. If you tell us that you have
written notification. The authorization form is available                 consulted with a Non–Plan Provider and are unable to
from the Member Services Department at a Plan Facility,                   provide copies of relevant medical records, we will
on our website at kp.org, or by calling our Member                        contact the provider to request a copy of your relevant
Service Contact Center. Your written authorization must                   medical records. We will ask you to provide us a written
accompany the claim. You must pay the cost of anyone                      authorization so that we can request your records.
you hire to represent or help you.
                                                                          If you want to review the information that we have
                                                                          collected regarding your claim, you may request, and we
Supporting Documents                                                      will provide without charge, copies of all relevant
                                                                          documents, records, and other information. You also
You can request payment or reimbursement orally or in
                                                                          have the right to request any diagnosis and treatment
writing. Your request for payment or reimbursement, and
                                                                          codes and their meanings that are the subject of your
any related documents that you give us, constitute your
                                                                          claim. To make a request, you should follow the steps in
claim.
                                                                          the written notice sent to you about your claim.
Claim forms for Emergency Services, Post-
Stabilization Care, Out-of-Area Urgent Care, and                          Initial Claims
emergency ambulance Services
To file a claim in writing for Emergency Services, Post-                  To request that we pay a provider (or reimburse you) for
Stabilization Care, Out-of-Area Urgent Care, and                          Services that you have already received, you must file a
emergency ambulance Services, please use our claim                        claim. If you have any questions about the claims
form. You can obtain a claim form in the following                        process, please call our Member Service Contact Center.
ways:
                                                                          Submitting a claim for Emergency Services,
 By visiting our website at kp.org
                                                                          Post-Stabilization Care, Out-of-Area Urgent
 In person from any Member Services office at a Plan                     Care, and emergency ambulance Services
  Facility and from Plan Providers                                        If you have received Emergency Services, Post-
 By calling our Member Service Contact Center at                         Stabilization Care, Out-of-Area Urgent Care, or
  1-800-464-4000 or 1-800-390-3510 (TTY users call                        emergency ambulance Services from a Non–Plan
  1-800-777-1370 or 711)                                                  Provider, then as soon as possible after you received the
                                                                          Services, you must file your claim by mailing a
Claims forms for all other Services                                       completed claim form and supporting information to the
To file a claim in writing for all other Services, you may                following address:
use our Complaint or Benefit Claim/Request form. You
can obtain this form in the following ways:                                     Kaiser Foundation Health Plan, Inc.
                                                                                Claims Department
 By visiting our website at kp.org                                             P.O. Box 12923
 In person from any Member Services office at a Plan                           Oakland, CA 94604-2923
  Facility and from Plan Providers


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 49
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 61 of 77


Please call our Member Service Contact Center if you                      the applicable Cost Share), our letter will explain why
need help filing your claim.                                              we denied your claim and how you can appeal.

Submitting a claim for all other Services                                 If you later receive any bills from the Non–Plan Provider
If you have received Services from a Non–Plan                             for covered Services (other than bills for your Cost
Provider that we did not authorize (other than                            Share), please call our Member Service Contact Center
Emergency Services, Post-Stabilization Care, Out-                         for assistance.
of-Area Urgent Care, or emergency ambulance
Services), then as soon as possible after you receive the
Services, you must file your claim in one of the                          Appeals
following ways:
                                                                          If we did not decide fully in your favor on a claim for
 By delivering your claim to a Member Services office                    Emergency Services, Post-Stabilization Care, Out-of-
  at a Plan Facility (please refer to Your Guidebook for                  Area Urgent Care, or emergency ambulance Services
  addresses)                                                              from a Non–Plan Provider and you want to appeal our
 By mailing your claim to a Member Services office at                    decision, you may submit your appeal in one of the
  a Plan Facility (please refer to Your Guidebook for                     following ways:
  addresses)                                                               By mailing your appeal to the Claims Department at
 By calling our Member Service Contact Center at                           the following address:
  1-800-464-4000 (TTY users call 1-800-777-1370 or                            Kaiser Foundation Health Plan, Inc.
  711)                                                                        Special Services Unit
                                                                              P.O. Box 23280
 By visiting our website at kp.org
                                                                              Oakland, CA 94623

Please call our Member Service Contact Center if you                       By calling our Member Service Contact Center at
need help filing your claim.                                                1-800-464-4000 (TTY users call 1-800-777-1370 or
                                                                            711)
After we receive your claim
We will send you an acknowledgement letter within five                    If we did not decide fully in your favor on a claim for
days after we receive your claim.                                         Services from a Non–Plan Provider that we did not
                                                                          authorize (other than Emergency Services, Post-
After we review your claim, we will respond as follows:                   Stabilization Care, Out-of-Area Urgent Care, or
                                                                          emergency ambulance Services), you may submit
 If we have all the information we need we will send                     your appeal in one of the following ways:
  you a written decision within 30 days after we receive
                                                                           By visiting our website at kp.org
  your claim. We may extend the time for making a
  decision for an additional 15 days if circumstances                      By mailing your appeal to the Member Services
  beyond our control delay our decision, if we notify                       Department at a Plan Facility (please refer to Your
  you within 30 days after we receive your claim                            Guidebook for addresses)
 If we need more information, we will ask you for the                     In person from any Member Services office at a Plan
  information before the end of the initial 30-day                          Facility and from Plan Providers
  decision period. We will send our written decision no                    By calling our Member Service Contact Center at
  later than 15 days after the date we receive the                          1-800-464-4000 (TTY users call 1-800-777-1370 or
  additional information. If we do not receive the                          711)
  necessary information within the timeframe specified
  in our letter, we will make our decision based on the
                                                                          When you file an appeal, please include any information
  information we have within 15 days after the end of
                                                                          that clarifies or supports your position. If you want to
  that timeframe
                                                                          review the information that we have collected regarding
                                                                          your claim, you may request, and we will provide
If we pay any part of your claim, we will subtract                        without charge, copies of all relevant documents,
applicable Cost Share from any payment we make to you                     records, and other information. To make a request, you
or the Non–Plan Provider. You are not responsible for                     should contact or Member Service Contact Center.
any amounts beyond your Cost Share for covered
Emergency Services. If we deny your claim (if we do not
                                                                          Additional information regarding a claim for Services
agree to pay for all the Services you requested other than
                                                                          from a Non–Plan Provider that we did not authorize
                                                                          (other than Emergency Services, Post-Stabilization

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 50
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 62 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Care, Out-of-Area Urgent Care, or emergency                               Claims and Appeals" section. For information about
                                                                                                                                        E
ambulance Services). If we initially denied your                          external review process, see "Independent Medical
request, you must file your appeal within 180 days after                  Review (IMR)" in the "Dispute Resolution" section.            O
the date you received our denial letter. You may send us                                                                                C
information including comments, documents, and
medical records that you believe support your claim.                      Additional Review
If we asked for additional information and you did not
                                                                                                                                        4
provide it before we made our initial decision about your                 You may have certain additional rights if you remain
claim, then you may still send us the additional                          dissatisfied after you have exhausted our internal claims
information so that we may include it as part of our                      and appeals procedure, and if applicable, external
review of your appeal. Please send all additional                         review:
information to the address or fax mentioned in your                        If your Group's benefit plan is subject to the
denial letter.                                                              Employee Retirement Income Security Act (ERISA),
                                                                            you may file a civil action under section 502(a) of
Also, you may give testimony in writing or by telephone.                    ERISA. To understand these rights, you should check
Please send your written testimony to the address                           with your Group or contact the Employee Benefits
mentioned in our acknowledgement letter, sent to you                        Security Administration (part of the U.S. Department
within five days after we receive your appeal. To arrange                   of Labor) at 1-866-444-EBSA (1-866-444-3272)
to give testimony by telephone, you should call the                        If your Group's benefit plan is not subject to ERISA
phone number mentioned in our acknowledgement letter.                       (for example, most state or local government plans
                                                                            and church plans), you may have a right to request
We will add the information that you provide through                        review in state court
testimony or other means to your appeal file and we will
review it without regard to whether this information was
filed or considered in our initial decision regarding your
request for Services. You have the right to request any                   Dispute Resolution
diagnosis and treatment codes and their meanings that
are the subject of your claim.                                            We are committed to providing you with quality care and
                                                                          with a timely response to your concerns. You can discuss
We will share any additional information that we collect                  your concerns with our Member Services representatives
in the course of our review and we will send it to you.                   at most Plan Facilities, or you can call our Member
If we believe that your request should not be granted,                    Service Contact Center.
before we issue our final decision letter, we will also
share with you any new or additional reasons for that
decision. We will send you a letter explaining the                        Grievances
additional information and/or reasons. Our letters about
                                                                          This "Grievances" section describes our grievance
additional information and new or additional rationales
                                                                          procedure. A grievance is any expression of
will tell you how you can respond to the information
                                                                          dissatisfaction expressed by you or your authorized
provided if you choose to do so. If you do not respond
                                                                          representative through the grievance process. If you want
before we must issue our final decision letter, that
                                                                          to make a claim for payment or reimbursement for
decision will be based on the information in your appeal
                                                                          Services that you have already received from a Non–Plan
file.
                                                                          Provider, please follow the procedure in the "Post-
                                                                          Service Claims and Appeals" section.
We will send you a resolution letter within 30 days after
we receive your appeal. If we do not decide in your
                                                                          Here are some examples of reasons you might file a
favor, our letter will explain why and describe your
                                                                          grievance:
further appeal rights.
                                                                           You are not satisfied with the quality of care you
                                                                            received
External Review                                                            You received a written denial of Services that require
You must exhaust our internal claims and appeals                            prior authorization from the Medical Group and you
procedures before you may request external review                           want us to cover the Services
unless we have failed to comply with the claims and
appeals procedures described in this "Post-Service


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 51
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 63 of 77


 Your treating physician has said that Services are not                  How to file
  Medically Necessary and you want us to cover the                        You can file a grievance orally or in writing. Your
  Services                                                                grievance must explain your issue, such as the reasons
 You were told that Services are not covered and you                     why you believe a decision was in error or why you are
  believe that the Services should be covered                             dissatisfied about Services you received.

 You want us to continue to cover an ongoing course                      To file a grievance in writing, please use our Complaint
  of covered treatment                                                    or Benefit Claim/Request form. You can obtain the form
 You are dissatisfied with how long it took to get                       in the following ways:
  Services, including getting an appointment, in the                       By visiting our website at kp.org
  waiting room, or in the exam room
                                                                           In person from any Member Services office at a Plan
 You want to report unsatisfactory behavior by                             Facility and from Plan Providers
  providers or staff, or dissatisfaction with the
  condition of a facility                                                  By calling our Member Service Contact Center at
                                                                            1-800-464-4000 (TTY users call 1-800-777-1370 or
 We terminated your membership and you disagree                            711)
  with that termination
                                                                          You must file your grievance within 180 days following
Who may file
                                                                          the incident or action that is subject to your
The following people may file a grievance:                                dissatisfaction. You may send us information including
 You may file for yourself                                               comments, documents, and medical records that you
                                                                          believe support your grievance.
 You can ask a friend, relative, or attorney to file a
  grievance for you by appointing him or her in writing
  as your authorized representative                                       Standard procedure. You must file your grievance in
                                                                          one of the following ways:
 A parent may file for his or her child under age 18,
  except that the child must appoint the parent as                         By completing a Complaint or Benefit Claim/Request
  authorized representative if the child has the legal                      form at a Member Services office at a Plan Facility
  right to control release of information that is relevant                  (please refer to Your Guidebook for addresses)
  to the grievance                                                         By mailing your grievance to a Member Services
 A court-appointed guardian may file for his or her                        office at a Plan Facility (please refer to Your
  ward, except that the ward must appoint the court-                        Guidebook for addresses)
  appointed guardian as authorized representative if the                   By calling our Member Service Contact Center at
  ward has the legal right to control release of                            1-800-464-4000 (TTY users call 1-800-777-1370 or
  information that is relevant to the grievance                             711)
 A court-appointed conservator may file for his or her                    By completing the grievance form on our website at
  conservatee                                                               kp.org
 An agent under a currently effective health care
  proxy, to the extent provided under state law, may file                 Please call our Member Service Contact Center if you
  for his or her principal                                                need help filing a grievance.

 Your physician may act as your authorized                               We will send you an acknowledgement letter within five
  representative with your verbal consent to request an                   days after we receive your grievance. We will send you a
  urgent grievance as described under "Urgent                             resolution letter within 30 days after we receive your
  procedure" in this "Grievances" section                                 grievance. If you are requesting Services, and we do not
                                                                          decide in your favor, our letter will explain why and
Authorized representatives must be appointed in writing                   describe your further appeal rights.
using either our authorization form or some other form of
written notification. The authorization form is available                 If you want to review the information that we have
from the Member Services Department at a Plan Facility,                   collected regarding your grievance, you may request, and
on our website at kp.org, or by calling our Member                        we will provide without charge, copies of all relevant
Service Contact Center. Your written authorization must                   documents, records, and other information. To make a
accompany the grievance. You must pay the cost of                         request, you should contact our Member Service Contact
anyone you hire to represent or help you.                                 Center.


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                  Page 52
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 64 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Urgent procedure. If you want us to consider your                         potential loss of life, limb, or major bodily function), you
                                                                                                                                         E
grievance on an urgent basis, please tell us that when you                can contact the California Department of Managed
file your grievance.                                                      Health Care at any time at 1-888-HMO-2219 (TDD                 O
                                                                          1-877-688-9891) without first filing a grievance with us.      C
You must file your urgent grievance in one of the
following ways:                                                           If you want to review the information that we have             4
 By calling our Expedited Review Unit toll free at                       collected regarding your grievance, you may request, and
  1-888-987-7247 (TTY users call 1-800-777-1370 or                        we will provide without charge, copies of all relevant
  711)                                                                    documents, records, and other information. To make a
                                                                          request, you should contact our Member Service Contact
 By mailing a written request to:                                        Center.
    Kaiser Foundation Health Plan, Inc.
    Expedited Review Unit                                                 Additional information regarding pre-service
    P.O. Box 23170                                                        requests for Medically Necessary Services. You may
    Oakland, CA 94623-0170                                                give testimony in writing or by telephone. Please send
 By faxing a written request to our Expedited Review                     your written testimony to the address mentioned in our
  Unit toll free at 1-888-987-2252                                        acknowledgement letter. To arrange to give testimony by
                                                                          telephone, you should call the phone number mentioned
 By visiting a Member Services office at a Plan
                                                                          in our acknowledgement letter.
  Facility (please refer to Your Guidebook for
  addresses)
                                                                          We will add the information that you provide through
 By completing the grievance form on our website at                      testimony or other means to your grievance file and we
  kp.org                                                                  will consider it in our decision regarding your pre-
                                                                          service request for Medically Necessary Services.
We will decide whether your grievance is urgent or non-
urgent unless your attending health care provider tells us                We will share any additional information that we collect
your grievance is urgent. If we determine that your                       in the course of our review and we will send it to you.
grievance is not urgent, we will use the procedure                        If we believe that your request should not be granted,
described under "Standard procedure" in this                              before we issue our decision letter, we will also share
"Grievances" section. Generally, a grievance is urgent                    with you any new or additional reasons for that decision.
only if one of the following is true:                                     We will send you a letter explaining the additional
 Using the standard procedure could seriously                            information and/or reasons. Our letters about additional
  jeopardize your life, health, or ability to regain                      information and new or additional rationales will tell you
  maximum function                                                        how you can respond to the information provided if you
                                                                          choose to do so. If your grievance is urgent, the
 Using the standard procedure would, in the opinion of                   information will be provided to you orally and followed
  a physician with knowledge of your medical                              in writing. If you do not respond before we must issue
  condition, subject you to severe pain that cannot be                    our final decision letter, that decision will be based on
  adequately managed without extending your course                        the information in your grievance file.
  of covered treatment
 A physician with knowledge of your medical                              Additional information regarding appeals of written
  condition determines that your grievance is urgent                      denials for Services that require prior authorization.
                                                                          You must file your appeal within 180 days after the date
If we respond to your grievance on an urgent basis, we                    you received our denial letter.
will give you oral notice of our decision as soon as your
clinical condition requires, but not later than 72 hours                  You have the right to request any diagnosis and
after we received your grievance. We will send you a                      treatment codes and their meanings that are the subject of
written confirmation of our decision within 3 days after                  your appeal.
we received your grievance.
                                                                          Also, you may give testimony in writing or by telephone.
If we do not decide in your favor, our letter will explain                Please send your written testimony to the address
why and describe your further appeal rights.                              mentioned in our acknowledgement letter. To arrange to
                                                                          give testimony by telephone, you should call the phone
Note: If you have an issue that involves an imminent and                  number mentioned in our acknowledgement letter.
serious threat to your health (such as severe pain or

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 53
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 65 of 77


We will add the information that you provide through                      Medical Review (IMR) process managed by the
testimony or other means to your appeal file and we will                  California Department of Managed Health Care. The
consider it in our decision regarding your appeal.                        Department of Managed Health Care determines which
                                                                          cases qualify for IMR. This review is at no cost to you.
We will share any additional information that we collect                  If you decide not to request an IMR, you may give up the
in the course of our review and we will send it to you.                   right to pursue some legal actions against us.
If we believe that your request should not be granted,
before we issue our decision letter, we will also share                   You may qualify for IMR if all of the following are true:
with you any new or additional reasons for that decision.                  One of these situations applies to you:
We will send you a letter explaining the additional
information and/or reasons. Our letters about additional                         you have a recommendation from a provider
information and new or additional rationales will tell you                        requesting Medically Necessary Services
how you can respond to the information provided if you                           you have received Emergency Services,
choose to do so. If your appeal is urgent, the information                        emergency ambulance Services, or Urgent Care
will be provided to you orally and followed in writing.                           from a provider who determined the Services to be
If you do not respond before we must issue our final                              Medically Necessary
decision letter, that decision will be based on the                              you have been seen by a Plan Provider for the
information in your appeal file.                                                  diagnosis or treatment of your medical condition
                                                                           Your request for payment or Services has been
Department of Managed Health Care                                           denied, modified, or delayed based in whole or in part
                                                                            on a decision that the Services are not Medically
Complaints
                                                                            Necessary
The California Department of Managed Health Care                           You have filed a grievance and we have denied it or
is responsible for regulating health care service plans.                    we haven't made a decision about your grievance
If you have a grievance against your health plan, you                       within 30 days (or three days for urgent grievances).
should first telephone your health plan toll free at                        The Department of Managed Health Care (DMHC)
1-800-464-4000 (TTY users call 1-800-777-1370 or                            may waive the requirement that you first file a
711) and use your health plan's grievance process before                    grievance with us in extraordinary and compelling
contacting the department. Utilizing this grievance                         cases, such as severe pain or potential loss of life,
procedure does not prohibit any potential legal rights or                   limb, or major bodily function. If we have denied
remedies that may be available to you. If you need help                     your grievance, you must submit your request for an
with a grievance involving an emergency, a grievance                        IMR within 6 months of the date of our written
that has not been satisfactorily resolved by your health                    denial. However, the DMHC may accept your request
plan, or a grievance that has remained unresolved for                       after 6 months if they determine that circumstances
more than 30 days, you may call the department for                          prevented timely submission
assistance. You may also be eligible for an Independent
Medical Review (IMR). If you are eligible for IMR, the                    You may also qualify for IMR if the Service you
IMR process will provide an impartial review of medical                   requested has been denied on the basis that it is
decisions made by a health plan related to the medical                    experimental or investigational as described under
necessity of a proposed service or treatment, coverage                    "Experimental or investigational denials."
decisions for treatments that are experimental or
investigational in nature and payment disputes for                        If the Department of Managed Health Care determines
emergency or urgent medical services. The department                      that your case is eligible for IMR, it will ask us to send
also has a toll-free telephone number                                     your case to the Department of Managed Health Care's
(1-888-HMO-2219) and a TDD line                                           Independent Medical Review organization. The
(1-877-688-9891) for the hearing and speech                               Department of Managed Health Care will promptly
impaired. The department's Internet website                               notify you of its decision after it receives the
                                                                          Independent Medical Review organization's
http://www.hmohelp.ca.gov has complaint forms,                            determination. If the decision is in your favor, we will
IMR application forms and instructions online.
                                                                          contact you to arrange for the Service or payment.

Independent Medical Review (IMR)                                          Experimental or investigational denials
                                                                          If we deny a Service because it is experimental or
If you qualify, you or your authorized representative may                 investigational, we will send you our written explanation
have your issue reviewed through the Independent                          within three days after we received your request. We will

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                     Page 54
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 66 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
explain why we denied the Service and provide                             accrued before the effective date of this Evidence of
                                                                                                                                        E
additional dispute resolution options. Also, we will                      Coverage. Such retroactive application shall be binding
provide information about your right to request                           only on the Kaiser Permanente Parties.                        O
Independent Medical Review if we had the following                                                                                      C
information when we made our decision:                                    Scope of arbitration
 Your treating physician provided us a written                           Any dispute shall be submitted to binding arbitration         4
  statement that you have a life-threatening or seriously                 if all of the following requirements are met:
  debilitating condition and that standard therapies have                  The claim arises from or is related to an alleged
  not been effective in improving your condition, or                        violation of any duty incident to or arising out of or
  that standard therapies would not be appropriate, or                      relating to this Evidence of Coverage or a Member
  that there is no more beneficial standard therapy we                      Party's relationship to Kaiser Foundation Health Plan,
  cover than the therapy being requested. "Life-                            Inc. (Health Plan), including any claim for medical or
  threatening" means diseases or conditions where the                       hospital malpractice (a claim that medical services or
  likelihood of death is high unless the course of the                      items were unnecessary or unauthorized or were
  disease is interrupted, or diseases or conditions with                    improperly, negligently, or incompetently rendered),
  potentially fatal outcomes where the end point of                         for premises liability, or relating to the coverage for,
  clinical intervention is survival. "Seriously                             or delivery of, services or items, irrespective of the
  debilitating" means diseases or conditions that cause                     legal theories upon which the claim is asserted
  major irreversible morbidity
                                                                           The claim is asserted by one or more Member Parties
 If your treating physician is a Plan Physician, he or                     against one or more Kaiser Permanente Parties or by
  she recommended a treatment, drug, device,                                one or more Kaiser Permanente Parties against one or
  procedure, or other therapy and certified that the                        more Member Parties
  requested therapy is likely to be more beneficial to
                                                                           Governing law does not prevent the use of binding
  you than any available standard therapies and
                                                                            arbitration to resolve the claim
  included a statement of the evidence relied upon by
  the Plan Physician in certifying his or her
  recommendation                                                          Members enrolled under this Evidence of Coverage thus
                                                                          give up their right to a court or jury trial, and instead
 You (or your Non–Plan Physician who is a licensed,                      accept the use of binding arbitration except that the
  and either a board-certified or board-eligible,                         following types of claims are not subject to binding
  physician qualified in the area of practice appropriate                 arbitration:
  to treat your condition) requested a therapy that,
  based on two documents from the medical and                              Claims within the jurisdiction of the Small Claims
  scientific evidence, as defined in California Health                      Court
  and Safety Code Section 1370.4(d), is likely to be                       Claims subject to a Medicare appeal procedure as
  more beneficial for you than any available standard                       applicable to Kaiser Permanente Senior Advantage
  therapy. The physician's certification included a                         Members
  statement of the evidence relied upon by the                             Claims that cannot be subject to binding arbitration
  physician in certifying his or her recommendation.                        under governing law
  We do not cover the Services of the Non–Plan
  Provider
                                                                          As referred to in this "Binding Arbitration" section,
                                                                          "Member Parties" include:
Note: You can request IMR for experimental or
investigational denials at any time without first filing a                 A Member
grievance with us.                                                         A Member's heir, relative, or personal representative
                                                                           Any person claiming that a duty to him or her arises
Binding Arbitration                                                         from a Member's relationship to one or more Kaiser
                                                                            Permanente Parties
For all claims subject to this "Binding Arbitration"
section, both Claimants and Respondents give up the                       "Kaiser Permanente Parties" include:
right to a jury or court trial and accept the use of binding
                                                                           Kaiser Foundation Health Plan, Inc.
arbitration. Insofar as this "Binding Arbitration" section
applies to claims asserted by Kaiser Permanente Parties,                   Kaiser Foundation Hospitals
it shall apply retroactively to all unresolved claims that                 KP Cal, LLC


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 55
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 67 of 77


 The Permanente Medical Group, Inc.                                            Kaiser Foundation Health Plan, Inc.
                                                                                Legal Department
 Southern California Permanente Medical Group
                                                                                1950 Franklin St., 17th Floor
 The Permanente Federation, LLC                                                Oakland, CA 94612
 The Permanente Company, LLC
                                                                          Service on that Respondent shall be deemed completed
 Any Southern California Permanente Medical Group
                                                                          when received. All other Respondents, including
  or The Permanente Medical Group physician
                                                                          individuals, must be served as required by the California
 Any individual or organization whose contract with                      Code of Civil Procedure for a civil action.
  any of the organizations identified above requires
  arbitration of claims brought by one or more Member                     Filing fee
  Parties                                                                 The Claimants shall pay a single, nonrefundable filing
 Any employee or agent of any of the foregoing                           fee of $150 per arbitration payable to "Arbitration
                                                                          Account" regardless of the number of claims asserted in
"Claimant" refers to a Member Party or a Kaiser                           the Demand for Arbitration or the number of Claimants
Permanente Party who asserts a claim as described                         or Respondents named in the Demand for Arbitration.
above. "Respondent" refers to a Member Party or a
Kaiser Permanente Party against whom a claim is                           Any Claimant who claims extreme hardship may request
asserted.                                                                 that the Office of the Independent Administrator waive
                                                                          the filing fee and the neutral arbitrator's fees and
Rules of Procedure                                                        expenses. A Claimant who seeks such waivers shall
Arbitrations shall be conducted according to the Rules                    complete the Fee Waiver Form and submit it to the
for Kaiser Permanente Member Arbitrations Overseen                        Office of the Independent Administrator and
by the Office of the Independent Administrator ("Rules of                 simultaneously serve it upon the Respondents. The Fee
Procedure") developed by the Office of the Independent                    Waiver Form sets forth the criteria for waiving fees and
Administrator in consultation with Kaiser Permanente                      is available by calling our Member Service Contact
and the Arbitration Oversight Board. Copies of the Rules                  Center.
of Procedure may be obtained from our Member Service
Contact Center.                                                           Number of arbitrators
                                                                          The number of arbitrators may affect the Claimants'
Initiating arbitration                                                    responsibility for paying the neutral arbitrator's fees and
Claimants shall initiate arbitration by serving a Demand                  expenses (see the Rules of Procedure).
for Arbitration. The Demand for Arbitration shall include
the basis of the claim against the Respondents; the                       If the Demand for Arbitration seeks total damages of
amount of damages the Claimants seek in the arbitration;                  $200,000 or less, the dispute shall be heard and
the names, addresses, and telephone numbers of the                        determined by one neutral arbitrator, unless the parties
Claimants and their attorney, if any; and the names of all                otherwise agree in writing that the arbitration shall be
Respondents. Claimants shall include in the Demand for                    heard by two party arbitrators and one neutral arbitrator.
Arbitration all claims against Respondents that are based                 The neutral arbitrator shall not have authority to award
on the same incident, transaction, or related                             monetary damages that are greater than $200,000.
circumstances.
                                                                          If the Demand for Arbitration seeks total damages of
Serving Demand for Arbitration                                            more than $200,000, the dispute shall be heard and
Health Plan, Kaiser Foundation Hospitals, KP Cal, LLC,                    determined by one neutral arbitrator and two party
The Permanente Medical Group, Inc., Southern                              arbitrators, one jointly appointed by all Claimants and
California Permanente Medical Group, The Permanente                       one jointly appointed by all Respondents. Parties who are
Federation, LLC, and The Permanente Company, LLC,                         entitled to select a party arbitrator may agree to waive
shall be served with a Demand for Arbitration by mailing                  this right. If all parties agree, these arbitrations will be
the Demand for Arbitration addressed to that Respondent                   heard by a single neutral arbitrator.
in care of:
                                                                          Payment of arbitrators' fees and expenses
                                                                          Health Plan will pay the fees and expenses of the neutral
                                                                          arbitrator under certain conditions as set forth in the
                                                                          Rules of Procedure. In all other arbitrations, the fees and



Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                     Page 56
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 68 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
expenses of the neutral arbitrator shall be paid one-half                 Arbitration Act, the right to arbitration under this
                                                                                                                                        E
by the Claimants and one-half by the Respondents.                         "Binding Arbitration" section shall not be denied, stayed,
                                                                          or otherwise impeded because a dispute between a              O
If the parties select party arbitrators, Claimants shall be               Member Party and a Kaiser Permanente Party involves           C
responsible for paying the fees and expenses of their                     both arbitrable and nonarbitrable claims or because one
party arbitrator and Respondents shall be responsible for                 or more parties to the arbitration is also a party to a
                                                                          pending court action with a third party that arises out of
                                                                                                                                        4
paying the fees and expenses of their party arbitrator.
                                                                          the same or related transactions and presents a possibility
Costs                                                                     of conflicting rulings or findings.
Except for the aforementioned fees and expenses of the
neutral arbitrator, and except as otherwise mandated by
laws that apply to arbitrations under this "Binding                       Termination of Membership
Arbitration" section, each party shall bear the party's own
attorneys' fees, witness fees, and other expenses incurred
                                                                          Your Group is required to inform the Subscriber of the
in prosecuting or defending against a claim regardless of
                                                                          date your membership terminates. Your membership
the nature of the claim or outcome of the arbitration.
                                                                          termination date is the first day you are not covered (for
                                                                          example, if your termination date is January 1, 2015,
General provisions
                                                                          your last minute of coverage was at 11:59 p.m. on
A claim shall be waived and forever barred if (1) on the                  December 31, 2014). When a Subscriber's membership
date the Demand for Arbitration of the claim is served,                   ends, the memberships of any Dependents end at the
the claim, if asserted in a civil action, would be barred as              same time. You will be billed as a non-Member for any
to the Respondent served by the applicable statute of                     Services you receive after your membership terminates.
limitations, (2) Claimants fail to pursue the arbitration                 Health Plan and Plan Providers have no further liability
claim in accord with the Rules of Procedure with                          or responsibility under this Evidence of Coverage after
reasonable diligence, or (3) the arbitration hearing is not               your membership terminates, except as provided under
commenced within five years after the earlier of (a) the                  "Payments after Termination" in this "Termination of
date the Demand for Arbitration was served in accord                      Membership" section.
with the procedures prescribed herein, or (b) the date of
filing of a civil action based upon the same incident,
transaction, or related circumstances involved in the                     Termination Due to Loss of Eligibility
claim. A claim may be dismissed on other grounds by the
neutral arbitrator based on a showing of a good cause.                    If you meet the eligibility requirements described under
If a party fails to attend the arbitration hearing after                  "Who Is Eligible" in the "Premiums, Eligibility, and
being given due notice thereof, the neutral arbitrator may                Enrollment" section on the first day of a month, but later
proceed to determine the controversy in the party's                       in that month you no longer meet those eligibility
absence.                                                                  requirements, your membership will end at 11:59 p.m. on
                                                                          the last day of that month (except that we will notify you
The California Medical Injury Compensation Reform                         of the date that your membership ends if you become
Act of 1975 (including any amendments thereto),                           ineligible for a reason described under "Health Plan
including sections establishing the right to introduce                    eligibility requirements" in the "Who Is Eligible"
evidence of any insurance or disability benefit payment                   section). For example, if you become ineligible on
to the patient, the limitation on recovery for non-                       December 5, 2014 (except if you become ineligible for a
economic losses, and the right to have an award for                       reason described under "Health Plan eligibility
future damages conformed to periodic payments, shall                      requirements" in the "Who Is Eligible" section), your
apply to any claims for professional negligence or any                    termination date is January 1, 2015, and your last minute
other claims as permitted or required by law.                             of coverage is at 11:59 p.m. on December 31, 2014.

Arbitrations shall be governed by this "Binding
Arbitration" section, Section 2 of the Federal Arbitration
                                                                          Termination of Agreement
Act, and the California Code of Civil Procedure                           If your Group's Agreement with us terminates for any
provisions relating to arbitration that are in effect at the              reason, your membership ends on the same date. Your
time the statute is applied, together with the Rules of                   Group is required to notify Subscribers in writing if its
Procedure, to the extent not inconsistent with this                       Agreement with us terminates.
"Binding Arbitration" section. In accord with the rule
that applies under Sections 3 and 4 of the Federal

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 57
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 69 of 77


Termination for Cause                                                     after your membership terminates. Certificates are
                                                                          provided as follows:
If you intentionally commit fraud in connection with
                                                                           If your Group has an agreement with us that it will
membership, Health Plan, or a Plan Provider, we may
                                                                            provide the certificates, your Group will tell you how
terminate your membership immediately by sending
                                                                            to obtain a certificate (if you are not sure whether
written notice to the Subscriber; termination will be
                                                                            your Group is providing the certificates, please
effective on the date we send the notice. Some examples
                                                                            contact your Group)
of fraud include:
                                                                           For all other Members, we will mail the certificate to
 Misrepresenting eligibility information about you or a
                                                                            the Subscriber, and you can request a certificate at
  Dependent
                                                                            any time by calling our Member Service Contact
 Presenting an invalid prescription or physician order                     Center at 1-800-464-4000 (TTY users call 1-800-777-
 Misusing a Kaiser Permanente ID card (or letting                          1370 or 711)
  someone else use it)
                                                                          If the HIPAA requirements change, we or your Group
 Giving us incorrect or incomplete material                              will provide certificates to the extent that the new
  information. For example, you have entered into a                       requirements require.
  Surrogacy Arrangement and you fail to send us the
  information we require under "Surrogacy
  arrangements" under "Reductions" in the "Exclusions,                    Payments after Termination
  Limitations, Coordination of Benefits, and
  Reductions" section                                                     If we terminate your membership for cause or for
                                                                          nonpayment, we will:
 Failing to notify us of changes in family status or
  Medicare coverage that may affect your eligibility or                    Refund any amounts we owe your Group for
  benefits                                                                  Premiums paid after the termination date
                                                                           Pay you any amounts we have determined that we
If we terminate your membership for cause, you will not                     owe you for claims during your membership in
be allowed to enroll in Health Plan in the future. We may                   accord with the "Emergency Services and Urgent
also report criminal fraud and other illegal acts to the                    Care" and "Dispute Resolution" sections.
authorities for prosecution.
                                                                          We will deduct any amounts you owe Health Plan or
                                                                          Plan Providers from any payment we make to you.
Termination of a Product or all Products
We may terminate a particular product or all products
offered in a small or large group market as permitted or
                                                                          State Review of Membership
required by law. If we discontinue offering a particular                  Termination
product in a market, we will terminate just the particular
                                                                          If you believe that we terminated your membership
product by sending you written notice at least 90 days
                                                                          because of your ill health or your need for care, you may
before the product terminates. If we discontinue offering
                                                                          request a review of the termination by the California
all products to groups in a small or large group market,
                                                                          Department of Managed Health Care (please see
as applicable, we may terminate your Group's Agreement
                                                                          "Department of Managed Health Care Complaints" in the
by sending you written notice at least 180 days before
                                                                          "Dispute Resolution" section).
the Agreement terminates.


HIPAA Certificates of Creditable                                          Continuation of Membership
Coverage
                                                                          If your membership under this Evidence of Coverage
The Health Insurance Portability and Accountability Act
                                                                          ends, you may be eligible to maintain Health Plan
(HIPAA) requires employers or health plans to issue a
                                                                          membership without a break in coverage under this
"Certificate of Creditable Coverage" to members when
                                                                          Evidence of Coverage.
coverage terminates, when the member becomes entitled
to elect COBRA and when COBRA coverage ends, and
                                                                          If at any time you become entitled to continuation of
at any time upon request. The certificate documents
                                                                          Group coverage such as Cal-COBRA, please examine
health care coverage and you can use it to prove prior
                                                                          your coverage options carefully before declining this
creditable health care coverage if you seek new coverage

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 58
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 70 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
coverage. Under the Affordable Care Act, individual                       You must request an enrollment application by calling
                                                                                                                                        E
plan coverage is available without medical review.                        our Member Service Contact Center within 60 days of
However, the individual plan premiums and coverage                        the date of when your COBRA coverage ends.                    O
will be different from the premiums and coverage under                                                                                  C
your Group plan.                                                          Eligibility and effective date of coverage for Cal-
                                                                          COBRA when your coverage is through a small
                                                                          employer
                                                                                                                                        4
COBRA                                                                     If your group is not subject to COBRA, you may be able
                                                                          to continue uninterrupted Group coverage under this
You may be able to continue your coverage under this
                                                                          Evidence of Coverage if all of the following are true:
Evidence of Coverage for a limited time after you would
otherwise lose eligibility, if required by the federal                     Your employer meets the definition of "small
COBRA law (the Consolidated Omnibus Budget                                  employer" in Section 1357 of the California Health
Reconciliation Act). COBRA applies to most employees                        and Safety Code
(and most of their covered family Dependents) of most                      Your employer employed between 2 to 19 eligible
employers with 20 or more employees.                                        employees on at least 50 percent of its working days
                                                                            during the last calendar year
If your Group is subject to COBRA and you are eligible
for COBRA coverage, in order to enroll you must submit                     You do not have Medicare Part A
a COBRA election form to your Group within the                             You experience one of the following qualifying
COBRA election period. Please ask your Group for                            events:
details about COBRA coverage, such as how to elect                               your coverage is through a Subscriber who dies,
coverage, how much you must pay for coverage, when                                 divorces, legally separates, or gets Medicare
coverage and Premiums may change, and where to send
                                                                                 you no longer qualify as a Dependent, under the
your Premium payments.
                                                                                   terms of the "Who Is Eligible" section of this
                                                                                   Evidence of Coverage
If you enroll in COBRA and exhaust the time limit for
COBRA coverage, you may be able to continue Group                                you are a Subscriber, or your coverage is through a
coverage under state law as described under "Cal-                                  Subscriber, whose employment terminates (other
COBRA" in this "Continuation of Group Coverage"                                    than for gross misconduct) or whose hours of
section.                                                                           employment are reduced

                                                                          You must request an enrollment application by calling
Cal-COBRA                                                                 our Member Service Contact Center within 60 days of
                                                                          the date of a qualifying event described above.
If you are eligible for Cal-COBRA, you can continue
coverage as described in this "Cal-COBRA" section                         Cal-COBRA enrollment and Premiums
if you apply for coverage in compliance with Cal-                         Within 10 days of your request for an enrollment
COBRA law and pay applicable Premiums.                                    application, we will send you our application, which will
                                                                          include Premium and billing information. You must
Eligibility and effective date of coverage for Cal-                       return your completed application within 63 days of the
COBRA after COBRA                                                         date of our termination letter or of your membership
If your group is subject to COBRA and your COBRA                          termination date (whichever date is later).
coverage ends, you may be able to continue Group
coverage effective the date your COBRA coverage ends                      If we approve your enrollment application, we will send
if all of the following are true:                                         you billing information within 30 days after we receive
 Your effective date of COBRA coverage was on or                         your application. You must pay the bill within 45 days
  after January 1, 2003                                                   after the date we issue the bill. The first Premium
                                                                          payment will include coverage from your Cal-COBRA
 You have exhausted the time limit for COBRA
                                                                          effective date through our current billing cycle. You
  coverage and that time limit was 18 or 29 months
                                                                          must send us the Premium payment by the due date on
 You do not have Medicare                                                the bill to be enrolled in Cal-COBRA.

                                                                          After that first payment, your Premium payment for the
                                                                          upcoming coverage month is due on first day of that


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 59
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 71 of 77


month. The Premiums will not exceed 110 percent of the                    payment by the due date on the bill to be enrolled in Cal-
applicable Premiums charged to a similarly situated                       COBRA.
individual under the Group benefit plan except that
Premiums for disabled individuals after 18 months of                      How you may terminate your Cal-COBRA
COBRA coverage will not exceed 150 percent instead of                     coverage
110 percent.                                                              You may terminate your Cal-COBRA coverage by
                                                                          sending written notice, signed by the Subscriber, to the
Changes to Cal-COBRA coverage and Premiums                                address below. Your membership will terminate at 11:59
Your Cal-COBRA coverage is the same as for any                            p.m. on the last day of the month in which we receive
similarly situated individual under your Group's                          your notice. Also, you must include with your notice all
Agreement, and your Cal-COBRA coverage and                                amounts payable related to your Cal-COBRA coverage,
Premiums will change at the same time that coverage or                    including Premiums, for the period prior to your
Premiums change in your Group's Agreement. Your                           termination date.
Group's coverage and Premiums will change on the
renewal date of its Agreement (January 1), and may also                         Kaiser Foundation Health Plan, Inc.
change at other times if your Group's Agreement is                              California Service Center
amended. Your monthly invoice will reflect the current                          P.O. Box 23127
Premiums that are due for Cal-COBRA coverage,                                   San Diego, CA 92193-3127
including any changes. For example, if your Group
makes a change that affects Premiums retroactively, the                   Termination for nonpayment of Cal-COBRA
amount we bill you will be adjusted to reflect the                        Premiums
retroactive adjustment in Premiums. Your Group can tell                   If you do not pay your required Premiums by the due
you whether this Evidence of Coverage is still in effect                  date, we may terminate your membership as described in
and give you a current one if this Evidence of Coverage                   this "Termination for nonpayment of Cal-COBRA
has expired or been amended. You can also request one                     Premiums" section. If you intend to terminate your
from our Member Service Contact Center.                                   membership, be sure to notify us as described under
                                                                          "How you may terminate your Cal-COBRA coverage" in
Cal-COBRA open enrollment or termination of                               this "Cal-COBRA" section, as you will be responsible
another health plan                                                       for any Premiums billed to you unless you let us know
If you previously elected Cal-COBRA coverage through                      before the first of the coverage month that you want us to
another health plan available through your Group, you                     terminate your coverage.
may be eligible to enroll in Kaiser Permanente during
your Group's annual open enrollment period, or if your                    Your Premium payment for the upcoming coverage
Group terminates its agreement with the health plan you                   month is due on the first day of that month. If we do not
are enrolled in. You will be entitled to Cal-COBRA                        receive full Premium payment on or before the first day
coverage only for the remainder, if any, of the coverage                  of the coverage month, we will send a notice of
period prescribed by Cal-COBRA. Please ask your                           nonreceipt of payment (a "Late Notice") to the
Group for information about health plans available to                     Subscriber's address of record. This Late Notice will
you either at open enrollment or if your Group terminates                 include the following information:
a health plan's agreement.
                                                                           A statement that we have not received full Premium
                                                                            payment and that we will terminate the memberships
In order for you to switch from another health plan and
                                                                            of everyone in your Family for nonpayment if we do
continue your Cal-COBRA coverage with us, we must
                                                                            not receive the required Premiums within 30 days
receive your enrollment application during your Group's
                                                                            after the date of the Late Notice
open enrollment period, or within 63 days of receiving
the Group's termination notice described under "Group                      The amount of Premiums that are due
responsibilities." To request an application, please call                  The specific date and time when the memberships of
our Member Service Contact Center. We will send you                         everyone in your Family will end if we do not receive
our enrollment application and you must return your                         the Premiums
completed application before open enrollment ends or
within 63 days of receiving the termination notice                        If we terminate your Cal-COBRA coverage because we
described under "Group responsibilities." If we approve                   did not receive the required Premiums when due, your
your enrollment application, we will send you billing                     membership will end at 11:59 p.m. on the 30th day after
information within 30 days after we receive your                          the date of the Late Notice. Your coverage will continue
application. You must pay the bill within 45 days after                   during this 30 day grace period, but upon termination
the date we issue the bill. You must send us the Premium

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                   Page 60
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 72 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
you will be responsible for paying all past due                                 effective date (under this or any other plan) if you
                                                                                                                                         E
Premiums, including the Premiums for this grace period.                         were enrolled in COBRA before Cal-COBRA
                                                                                                                                         O
                                                                           The date your membership is terminated for
We will mail a Termination Notice to the Subscriber's                       nonpayment of Premiums as described under
                                                                                                                                         C
address of record if we do not receive full Premium                         "Termination for nonpayment of Cal-COBRA
payment within 30 days after the date of the Late Notice.                   Premiums" in this "Continuation of Membership"               4
The Termination Notice will include the following                           section
information:
 A statement that we have terminated the memberships                     Note: If the Social Security Administration determined
  of everyone in your Family for nonpayment of                            that you were disabled at any time during the first 60
  Premiums                                                                days of COBRA coverage, you must notify your Group
 The specific date and time when the memberships of                      within 60 days of receiving the determination from
  everyone in your Family ended                                           Social Security. Also, if Social Security issues a final
                                                                          determination that you are no longer disabled in the 35th
 The amount of Premiums that are due                                     or 36th month of Group continuation coverage, your Cal-
 Information explaining whether or not you can                           COBRA coverage will end the later of: (1) expiration of
  reinstate your memberships                                              36 months after your original COBRA effective date, or
                                                                          (2) the first day of the first month following 31 days after
 Your appeal rights
                                                                          Social Security issued its final determination. You must
                                                                          notify us within 30 days after you receive Social
If we terminate your membership, you are still                            Security's final determination that you are no longer
responsible for paying all amounts due.                                   disabled.
Reinstatement of your membership after                                    Group responsibilities
termination for nonpayment of Cal-COBRA
                                                                          Your Group is required to give Health Plan written
Premiums
                                                                          notice within 30 days after a Subscriber is no longer
If we terminate your membership for nonpayment of                         eligible for coverage due to termination of employment
Premiums, we will permit reinstatement of your                            or reduction of hours. If your Group prefers that we not
membership three times during any 12-month period                         offer Cal-COBRA coverage because your Group
if we receive the amounts owed within 15 days of the                      terminated a Subscriber's employment for gross
date of the Termination Notice. We will not reinstate                     misconduct, your Group must send written notice within
your membership if you do not obtain reinstatement of                     five days after the Subscriber's employment terminates
your terminated membership within the required 15 days,                   to:
or if we terminate your membership for nonpayment of
Premiums more than three times in a 12-month period.
                                                                                 Kaiser Foundation Health Plan
                                                                                 California Service Center
Termination of Cal-COBRA coverage
                                                                                 P.O. Box 23059
Cal-COBRA coverage continues only upon payment of                                San Diego, CA 92193-3059
applicable monthly Premiums to us at the time we
specify, and terminates on the earliest of:                               Your Group is required to notify us in writing within 30
 The date your Group's Agreement with us terminates                      days if your Group becomes subject to COBRA under
  (you may still be eligible for Cal-COBRA through                        federal law.
  another Group health plan)
 The date you get Medicare                                               If your Group's agreement with a health plan is
                                                                          terminated, your Group is required to provide written
 The date your coverage begins under any other group                     notice at least 30 days before the termination date to the
  health plan that does not contain any exclusion or                      persons whose Cal-COBRA coverage is terminating.
  limitation with respect to any pre-existing condition                   This notice must inform Cal-COBRA beneficiaries that
  you may have (or that does contain such an exclusion                    they can continue Cal-COBRA coverage by enrolling in
  or limitation, but it has been satisfied)                               any health benefit plan offered by your Group. It must
 The date you become covered, or could have become                       also include information about benefits, premiums,
  covered, under COBRA                                                    payment instructions, and enrollment forms (including
 Either the date that is 36 months after the date of your                instructions on how to continue Cal-COBRA coverage
  original Cal-COBRA qualifying event or the date that                    under the new health plan). Your Group is required to
  is 36 months after the date of your original COBRA

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 61
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 73 of 77


send this information to the person's last known address,                 or injury is expected to result in death or has lasted or is
as provided by the prior health plan. Health Plan is not                  expected to last for a continuous period of at least 12
obligated to provide this information to qualified                        months and the illness or injury makes the child unable
beneficiaries if your Group fails to provide the notice.                  to substantially engage in any of the normal activities of
These persons will be entitled to Cal-COBRA coverage                      children in good health of like age.
only for the remainder, if any, of the coverage period
prescribed by Cal-COBRA.                                                  To request continuation of coverage for your disabling
                                                                          condition, you must call our Member Service Contact
                                                                          Center within 30 days after your Group's Agreement with
Uniformed Services Employment and                                         us terminates.
Reemployment Rights Act (USERRA)
If you are called to active duty in the uniformed services,
you may be able to continue your coverage under this                      Miscellaneous Provisions
Evidence of Coverage for a limited time after you would
otherwise lose eligibility, if required by the federal                    Administration of Agreement
USERRA law. You must submit a USERRA election                             We may adopt reasonable policies, procedures, and
form to your Group within 60 days after your call to                      interpretations to promote orderly and efficient
active duty. Please contact your Group to find out how to                 administration of your Group's Agreement, including this
elect USERRA coverage and how much you must pay                           Evidence of Coverage.
your Group.
                                                                          Advance directives
                                                                          The California Health Care Decision Law offers several
Coverage for a Disabling Condition                                        ways for you to control the kind of health care you will
If you became Totally Disabled while you were a                           receive if you become very ill or unconscious, including
Member under your Group's Agreement with us and                           the following:
while the Subscriber was employed by your Group, and                       A Power of Attorney for Health Care lets you name
your Group's Agreement with us terminates and is not                        someone to make health care decisions for you when
renewed, we will cover Services for your totally                            you cannot speak for yourself. It also lets you write
disabling condition until the earliest of the following                     down your own views on life support and other
events occurs:                                                              treatments
 12 months have elapsed since your Group's                                Individual health care instructions let you express
  Agreement with us terminated                                              your wishes about receiving life support and other
 You are no longer Totally Disabled                                        treatment. You can express these wishes to your
                                                                            doctor and have them documented in your medical
 Your Group's Agreement with us is replaced by                             chart, or you can put them in writing and have that
  another group health plan without limitation as to the                    included in your medical chart
  disabling condition
                                                                          To learn more about advance directives, including how
Your coverage will be subject to the terms of this                        to obtain forms and instructions, contact the Member
Evidence of Coverage, including Cost Share, but we will                   Services Department at a Plan Facility. You can also
not cover Services for any condition other than your                      refer to Your Guidebook for more information about
totally disabling condition.                                              advance directives.

For Subscribers and adult Dependents, "Totally                            Agreement binding on Members
Disabled" means that, in the judgment of a Medical                        By electing coverage or accepting benefits under this
Group physician, an illness or injury is expected to result               Evidence of Coverage, all Members legally capable of
in death or has lasted or is expected to last for a                       contracting, and the legal representatives of all Members
continuous period of at least 12 months, and makes the                    incapable of contracting, agree to all provisions of this
person unable to engage in any employment or                              Evidence of Coverage.
occupation, even with training, education, and
experience.                                                               Amendment of Agreement
                                                                          Your Group's Agreement with us will change
For Dependent children, "Totally Disabled" means that,                    periodically. If these changes affect this Evidence of
in the judgment of a Medical Group physician, an illness


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                      Page 62
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 74 of 77
                  Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                       24 hours a day, seven days a week (except closed holidays,
         and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Coverage, your Group is required to inform you in                         provider obtain authorization from the plan or the
                                                                                                                                        E
accord with applicable law and your Group's Agreement.                    insurance issuer for prescribing a length of stay not in
                                                                          excess of 48 hours (or 96 hours).                             O
Applications and statements                                                                                                             C
You must complete any applications, forms, or                             Women's Health and Cancer Rights Act. If you have
statements that we request in our normal course of                        had or are going to have a mastectomy, you may be             4
business or as specified in this Evidence of Coverage.                    entitled to certain benefits under the Women's Health and
                                                                          Cancer Rights Act. For individuals receiving
Assignment                                                                mastectomy-related benefits, coverage will be provided
You may not assign this Evidence of Coverage or any of                    in a manner determined in consultation with the
the rights, interests, claims for money due, benefits, or                 attending physician and the patient, for all stages of
obligations hereunder without our prior written consent.                  reconstruction of the breast on which the mastectomy
                                                                          was performed, surgery and reconstruction of the other
Attorney and advocate fees and expenses                                   breast to produce a symmetrical appearance, prostheses,
In any dispute between a Member and Health Plan, the                      and treatment of physical complications of the
Medical Group, or Kaiser Foundation Hospitals, each                       mastectomy, including lymphedemas. These benefits will
party will bear its own fees and expenses, including                      be provided subject to the same Cost Share applicable to
attorneys' fees, advocates' fees, and other expenses.                     other medical and surgical benefits provided under this
                                                                          plan.
Claims review authority
                                                                          Governing law
We are responsible for determining whether you are
entitled to benefits under this Evidence of Coverage and                  Except as preempted by federal law, this Evidence of
we have the discretionary authority to review and                         Coverage will be governed in accord with California law
evaluate claims that arise under this Evidence of                         and any provision that is required to be in this Evidence
Coverage. We conduct this evaluation independently by                     of Coverage by state or federal law shall bind Members
interpreting the provisions of this Evidence of Coverage.                 and Health Plan whether or not set forth in this Evidence
We may use medical experts to help us review claims.                      of Coverage.
If coverage under this Evidence of Coverage is subject to
the Employee Retirement Income Security Act (ERISA)                       Group and Members not our agents
claims procedure regulation (29 CFR 2560.503-1), then                     Neither your Group nor any Member is the agent or
we are a "named claims fiduciary" to review claims                        representative of Health Plan.
under this Evidence of Coverage.
                                                                          Health Insurance Counseling and Advocacy
ERISA notices                                                             Program (HICAP)
This "ERISA notices" section applies only if your                         For additional information concerning benefits, contact
Group's health benefit plan is subject to the Employee                    the Health Insurance Counseling and Advocacy Program
Retirement Income Security Act (ERISA). We provide                        (HICAP) or your agent. HICAP provides health
these notices to assist ERISA-covered groups in                           insurance counseling for California senior citizens. Call
complying with ERISA. Coverage for Services described                     HICAP toll free at 1-800-434-0222 (TTY users call 711)
in these notices is subject to all provisions of this                     for a referral to a HICAP office. HICAP is a free service
Evidence of Coverage.                                                     provided by the state of California.

Newborns' and Mother's Health Protection Act.                             No waiver
Group health plans and health insurance issuers generally                 Our failure to enforce any provision of this Evidence of
may not, under Federal law, restrict benefits for any                     Coverage will not constitute a waiver of that or any other
hospital length of stay in connection with childbirth for                 provision, or impair our right thereafter to require your
the mother or newborn child to less than 48 hours                         strict performance of any provision.
following a vaginal delivery, or less than 96 hours
following a cesarean section. However, Federal law                        Nondiscrimination
generally does not prohibit the mother's or newborn's                     We do not discriminate on the basis of age, race,
attending provider, after consulting with the mother,                     ethnicity, color, national origin, cultural background,
from discharging the mother or her newborn earlier than                   ancestry, language, religion, sex, gender identity, gender
48 hours (or 96 hours as applicable). In any case, plans                  expression, sexual orientation, marital status, physical or
and issuers may not, under Federal law, require that a                    mental disability, or genetic information.


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                       Page 63
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 75 of 77


Notices                                                                   This is only a brief summary of some of our key
Our notices to you will be sent to the most recent address                privacy practices. Our Notice of Privacy Practices,
we have for the Subscriber. The Subscriber is responsible                 which provides additional information about our
for notifying us of any change in address. Subscribers                    privacy practices and your rights regarding your
who move should call our Member Service Contact                           protected health information is available and will be
Center as soon as possible to give us their new address.                  furnished to you upon request. To request a copy,
If a Member does not reside with the Subscriber, he or                    please call our Member Service Contact Center. You
she should contact our Member Service Contact Center                      can also find the notice at a Plan Facility or on our
to discuss alternate delivery options.                                    website at kp.org.

Note: When we tell your Group about changes to this                       Public policy participation
Evidence of Coverage or provide your Group other                          The Kaiser Foundation Health Plan, Inc., Board of
information that affects you, your Group is required to                   Directors establishes public policy for Health Plan. A list
notify the Subscriber within 30 days (or five days if we                  of the Board of Directors is available on our website at
terminate your Group's Agreement) after receiving the                     kp.org or from our Member Service Contact Center.
information from us.                                                      If you would like to provide input about Health Plan
                                                                          public policy for consideration by the Board, please send
Other formats for Members with disabilities                               written comments to:
You can request a copy of this Evidence of Coverage in
an alternate format (Braille, audio, electronic text file, or                   Kaiser Foundation Health Plan, Inc.
large print) by calling our Member Service Contact                              Office of Board and Corporate Governance Services
Center.                                                                         One Kaiser Plaza, 19th Floor
                                                                                Oakland, CA 94612
Overpayment recovery
We may recover any overpayment we make for Services                       Telephone access (TTY)
from anyone who receives such an overpayment or from                      If you are hearing or speech impaired and use a text
any person or organization obligated to pay for the                       telephone device (TTY, also known as TDD) to
Services.                                                                 communicate by phone, you can use the California Relay
                                                                          Service by calling 711 if a dedicated TTY number is not
Privacy practices                                                         available for the telephone number that you want to call.
Kaiser Permanente will protect the privacy of your
protected health information. We also require contracting
providers to protect your protected health information.                   Helpful Information
Your protected health information is individually-
identifiable information (oral, written, or electronic)
                                                                          Your Guidebook to Kaiser Permanente
about your health, health care services you receive, or
payment for your health care. You may generally see and
                                                                          Services (Your Guidebook)
receive copies of your protected health information,                      Please refer to Your Guidebook for helpful information
correct or update your protected health information, and                  about your coverage, such as:
ask us for an accounting of certain disclosures of your
protected health information.                                              The location of Plan Facilities in your area and the
                                                                            types of covered Services that are available from each
We may use or disclose your protected health                                facility
information for treatment, health research, payment, and                   How to use our Services and make appointments
health care operations purposes, such as measuring the
                                                                           Hours of operation
quality of Services. We are sometimes required by law to
give protected health information to others, such as                       Appointments and advice phone numbers
government agencies or in judicial actions. In addition,
protected health information is shared with your Group                    Your Guidebook provides other important information,
only with your authorization or as otherwise permitted                    such as preventive care guidelines and your Member
by law. We will not use or disclose your protected health                 rights and responsibilities. Your Guidebook is subject to
information for any other purpose without your (or your                   change and is periodically updated. You can get a copy
representative's) written authorization, except as                        of Your Guidebook by visiting our website at kp.org or
described in our Notice of Privacy Practices (see below).                 by calling our Member Service Contact Center.
Giving us authorization is at your discretion.


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                    Page 64
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 76 of 77
                   Member Service Contact Center: toll free 1-800-464-4000 (TTY users call 1-800-777-1370 or 711)
                                        24 hours a day, seven days a week (except closed holidays,
          and closed after 5 p.m. the day after Thanksgiving, after 5 p.m. on Christmas Eve, and after 5 p.m. on New Year's Eve)
Online Tools and Resources                                                                New Year's Eve)
                                                                                                                                         E
Here are some tools and resources available on our
                                                                                          Interpreter services available during all      O
                                                                                          business hours at no cost to you.              C
website at kp.org:
 A directory of Plan Facilities and Plan Physicians                      TTY             1-800-777-1370 (5 a.m. to 8 p.m.)
 Tools you can use to email your doctor's office, view                                   711 (8 p.m. to 5 a.m.)                         4
   test results, refill prescriptions, and schedule routine
   appointments                                                                           24 hours a day, seven days a week
 Health education resources                                                              (except closed holidays, and closed
                                                                                          after 5 p.m. the day after
 Appointments and advice phone numbers
                                                                                          Thanksgiving, after 5 p.m. on
                                                                                          Christmas Eve, and after 5 p.m. on
How to Reach Us                                                                           New Year's Eve)
                                                                          Write           Member Services Department at a Plan
Appointments
                                                                                          Facility (refer to Your Guidebook for
If you need to make an appointment, please call us or                                     addresses)
visit our website:
                                                                          Website         kp.org
Call            The appointment phone number at a
                Plan Facility (refer to Your Guidebook                    Authorization for Post-Stabilization Care
                or the facility directory on our website                  To request prior authorization for Post-Stabilization Care
                at kp.org for phone numbers)                              as described under "Emergency Services" in the
                                                                          "Emergency Services and Urgent Care" section:
Website         kp.org for routine (non-urgent)
                appointments with your personal Plan
                                                                          Call           1-800-225-8883 or the notification
                Physician or another Primary Care
                                                                                         telephone number on your Kaiser
                Physician
                                                                                         Permanente ID card
Not sure what kind of care you need?                                                     24 hours a day, seven days a week
If you need advice on whether to get medical care, or                     TTY            711
how and when to get care, we have licensed health care
professionals available to assist you by phone 24 hours a                                24 hours a day, seven days a week
day, 7 days a week:
                                                                          Help with claim forms for Emergency Services,
Call            The appointment or advice phone                           Post-Stabilization Care, Out-of-Area Urgent
                number at a Plan Facility (refer to Your                  Care, and emergency ambulance Services
                Guidebook or the facility directory on                    If you need a claim form to request payment or
                our website at kp.org for phone                           reimbursement for Services described in the "Emergency
                numbers)                                                  Services and Urgent Care" section or under "Ambulance
                                                                          Services" in the "Benefits and Your Cost Share" section,
Member Services                                                           or if you need help completing the form, you can reach
If you have questions or concerns about your coverage,                    us by calling or by visiting our website.
how to obtain Services, or the facilities where you can
receive care, you can reach us by calling, writing, or                    Call            1-800-464-4000 or 1-800-390-3510
visiting our website:
                                                                                          24 hours a day, seven days a week
Call            1-800-464-4000                                                            (except closed holidays, and closed
                                                                                          after 5 p.m. the day after
                1-800-788-0616 (Spanish)                                                  Thanksgiving, after 5 p.m. on
                1-800-757-7585 (Chinese dialects)                                         Christmas Eve, and after 5 p.m. on
                                                                                          New Year's Eve)
                24 hours a day, seven days a week
                (except closed holidays, and closed                       TTY             1-800-777-1370 (5 a.m. to 8 p.m.)
                after 5 p.m. the day after                                                711 (8 p.m. to 5 a.m.)
                Thanksgiving, after 5 p.m. on
                Christmas Eve, and after 5 p.m. on                                        24 hours a day, seven days a week


Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                        Page 65
             Case 4:21-cv-07872-HSG Document 34-1 Filed 02/04/22 Page 77 of 77


                (except closed holidays, and closed                             emergency ambulance Services) and you want us to
                after 5 p.m. the day after                                      pay for the care, you must submit a grievance (refer
                Thanksgiving, after 5 p.m. on                                   to "Grievances" in the "Dispute Resolution" section)
                Christmas Eve, and after 5 p.m. on                         If you have coverage with another plan or with
                New Year's Eve)                                             Medicare, we will coordinate benefits with the other
Website         kp.org                                                      coverage (refer to "Coordination of Benefits" in the
                                                                            "Exclusions, Limitations, Coordination of Benefits,
Submitting claims for Emergency Services,                                   and Reductions" section)
Post-Stabilization Care, Out-of-Area Urgent                                In some situations, you or a third party may be
Care, and emergency ambulance Services                                      responsible for reimbursing us for covered Services
If you need to submit a completed claim form for                            (refer to "Reductions" in the "Exclusions,
Services described in the "Emergency Services and                           Limitations, Coordination of Benefits, and
Urgent Care" section or under "Ambulance Services" in                       Reductions" section)
the "Benefits and Your Cost Share" section, or if you
                                                                           You must pay the full price for noncovered Services
need to submit other information that we request about
your claim, send it to our Claims Department:

Write           Kaiser Foundation Health Plan, Inc.
                Claims Department
                P.O. Box 12923
                Oakland, CA 94604-2923


Payment Responsibility
This "Payment Responsibility" section briefly explains
who is responsible for payments related to the health care
coverage described in this Evidence of Coverage.
Payment responsibility is more fully described in other
sections of the Evidence of Coverage as described below:
 Your Group is responsible for paying Premiums,
  except that you are responsible for paying Premiums
  if you have COBRA or Cal-COBRA (refer to
  "Premiums" in the "Premiums, Eligibility, and
  Enrollment" section and "COBRA" and
  "Cal-COBRA" under "Continuation of Group
  Coverage" in the "Continuation of Membership"
  section)
 Your Group may require you to contribute to
  Premiums (your Group will tell you the amount and
  how to pay)
 You are responsible for paying your Cost Share for
  covered Services (refer to "Your Cost Share" in the
  "Benefits and Your Cost Share" section)
 If you receive Emergency Services, Post-Stabilization
  Care, or Out-of-Area Urgent Care from a Non–Plan
  Provider, or if you receive emergency ambulance
  Services, you must pay the provider and file a claim
  for reimbursement unless the provider agrees to bill
  us (refer to "Payment and Reimbursement" in the
  "Emergency Services and Urgent Care" section)
 If you receive Services from Non–Plan Providers that
  we did not authorize (other than Emergency Services,
  Post-Stabilization Care, Out-of-Area Urgent Care, or

Group ID: 999999901 Kaiser Permanente for Small Businesses $30 Copayment Plan
Contract: 2 Version: 35 EOC# 4 Effective: 1/1/14-12/31/14
Date: February 13, 2015                                                                                                     Page 66
